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    Prisoner’s Name:                              JOHN FITZGERALD HANSON
    Prisoner’s Reg. Number:                       08585-062
    Place of Confinement:                         United States Penitentiary, USP Pollock
                                                  Pollock, Louisiana

                   IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA

    JOHN FITZGERALD HANSON,                       )
                                                  )
                 Petitioner,                      )
                                                  )
    v.                                            )      No. 10-CV-113-CVE-TLW
                                                  )
    WILLIAM A. SHERROD*, Warden,                  )
    U.S. Penitentiary, USP Pollock,               )
    Pollock, Louisiana;                           )
    W.A. DREW EDMONDSON,                          )
    Attorney General of Oklahoma,                 )
                                                  )
                 Respondents.                     )

                       28 U.S.C. § 2254 PETITION FOR A WRIT OF
                      HABEAS CORPUS BY A PERSON IN CUSTODY
                     PURSUANT THE JUDGMENT OF A STATE COURT

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    DATE: December 6, 2010

    *William A. Sherrod is the current Warden of U.S. Penitentiary, USP Pollock and he is
    substituted for Respondent, Joe Keffer, pursuant Fed. R. Civ. P. 25(d).
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    Prisoner’s Name:                         JOHN FITZGERALD HANSON
    Prisoner’s Reg. Number:                  08585-062
    Place of Confinement:                    United States Penitentiary, USP Pollock
                                             Pollock, Louisiana

                IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF OKLAHOMA

    JOHN FITZGERALD HANSON,                  )
                                             )
                Petitioner,                  )
                                             )
    v.                                       )      No. 10-CV-113-CVE-TLW
                                             )
    WILLIAM A. SHERROD, Warden,              )
    U.S. Penitentiary, USP Pollock,          )
    Pollock, Louisiana;                      )
    W.A. DREW EDMONDSON,                     )
    Attorney General of Oklahoma,            )
                                             )
                Respondents.                 )

                     28 U.S.C. § 2254 PETITION FOR A WRIT OF
                   HABEAS CORPUS BY A PERSON IN CUSTODY
                  PURSUANT THE JUDGMENT OF A STATE COURT

                                       ROBERT S. JACKSON
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                                       COUNSEL FOR PETITIONER,
                                       JOHN FITZGERALD HANSON


    DATE: December 6, 2010
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                                        INTRODUCTION

           Petitioner John Fitzgerald Hanson is incarcerated at the United States Penitentiary,

    Pollock, Louisiana, where he is serving a federal sentence of life + 82 years. See Case No.

    CR-99-125 (N.D. Okla.). Pursuant 28 U.S.C. § 2254, Mr. Hanson specifically petitions for

    habeas relief from his conviction and the resulting death sentence he received in the District

    Court of Tulsa County, Oklahoma. The warden of USP Pollock, William A. Sherrod, and

    the Attorney General of the State of Oklahoma, W. A. Drew Edmondson, are named as

    Respondents pursuant Rule 2(b) of the Rules Governing Section 2254 Cases. See also Doc.

    3, Order Appointing Counsel (March 1, 2010). Mr. Hanson was convicted of first degree

    murder and received a sentence of death in violation of his rights under the United States

    Constitution. Because of these Constitutional violations, he is entitled to have the Writ of

    Habeas Corpus issue on his behalf. This is Mr. Hanson’s first Petition for Writ of Habeas

    Corpus.

           Mr. Hanson presents a compelling habeas case. A few aspects of Mr. Hanson’s case

    should be mentioned from the outset. Just days before a re-sentencing trial was set to begin,

    new evidence surfaced which a state district court judge thought was significant enough to

    order an entire new trial, including guilt and sentencing, for Mr. Hanson.          Then the

    Oklahoma Court of Criminal Appeals in a Constitutionally questionable manner vacated the

    trial judge’s order and instructed her to proceed with re-sentencing only. At re-sentencing

    Mr. Hanson received ineffective assistance of counsel. Given only sentencing was at issue,



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    counsel should have been squarely focused on presenting Mr. Hanson’s case for life. Instead

    prior counsel failed to conduct reasonable mitigation investigations that would have provided

    powerful evidence, including inter alia that Mr. Hanson suffers from mental illness and

    cognitive disorder, which would have weighed in favor of a sentence less than death.

    Numerous additional Constitutional violations occurred in the various proceedings below.

    Mr. Hanson prays that this Court will grant him relief.

                                     PRIOR PROCEEDINGS

             A.   Conviction:

    Court:        District court of Tulsa County, State of Oklahoma, Judge Linda G. Morrissey.

    Case No.:     CF-1999-4583.

    Charges:      Count I: Malice or in the alternative felony murder of Mary Bowles.
                  Count II: Malice or in the alternative felony murder of Jerald Thurman.

    Plea:         Not guilty to Counts I and II.

    Trial:        Jury Trial, conducted May 7 through 23, 2001.

    Verdict:      Guilty of malice murder on Count I; Guilty of felony murder on Count II.

    Sentence:     Count I - death.
                  Count II - life without the possibility of parole.

    Counsel:      Jack E. Gordon, Jr.
                  111 South Muskogee
                  Claremore, OK 74017

             B.   Direct Appeal:

    Court:        Oklahoma Court of Criminal Appeals.



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    Case No.:     D-2001-717.

    Opinion:      Hanson v. State, 72 P.3d 40 (Okla. Crim. App. 2003).

    Result:       Count I - Conviction affirmed, remanded for re-sentencing.
                  Count II - Conviction and sentence affirmed.

    Counsel:      James Lockard                             Jamie D. Pybas
                  OIDS - Capital Direct Appeal              OIDS - Capital Direct Appeal
                  P.O. Box 926                              P.O. Box 926
                  Norman, OK 73071                          Norman, OK 73071

             C.   Application for Post Conviction Relief:

    Court:        Oklahoma Court of Criminal Appeals.

    Case No.:     PCD-2002-628.

    Opinion:      Hanson v. State, No. PCD-02-628, slip op. (Okla. Crim. App. June 17, 2003).
                  Attached hereto as Att. 12.

    Result:       Mooted and dismissed as result of granting sentencing relief on appeal.

    Counsel:      Laura Marble Arledge
                  OIDS - Capital Post-Conviction
                  P.O. Box 926
                  Norman, OK 73070

             D.   Re-sentencing Trial on Count I:

    Court:        District Court of Tulsa County, State of Oklahoma, Judge Caroline E. Wall.

    Case No.:     CF-1999-4583.

    Charges:      Re-sentencing on Count I.

    Pleas:        Not guilty to aggravating circumstances alleged by State.

    Trial:        Jury trial, conducted January 9 through 24, 2006.



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    Sentence:     Death.

    Counsel:      Jack E. Gordon, Jr.                        Steve Hightower
                  111 South Muskogee                         P.O. Box 10431
                  Claremore, OK 74017                        Tulsa, Ok 74159

             E.   Motion for Extraordinary Writ/State’s Appeal from District Court’s
                  Grant of a New Trial on Basis of Newly Discovered Evidence:

    Court:        Oklahoma Court of Criminal Appeals.

    Case No.:     PR-2005-350, both matters consolidated in single case number.

    Opinion:      Order Granting Petition for Writ of Prohibition, No. PR-2005-350 (April 26,
                  2005).

    Result:       District Court’s grant of new trial vacated as void.

    Counsel:      Jack E. Gordon, Jr.                        Steve Hightower
                  111 South Muskogee                         P.O. Box 10431
                  Claremore, OK 74017                        Tulsa, Ok 74159

             F.   Direct Appeal after Resentencing:

    Court:        Oklahoma Court of Criminal Appeals.

    Case No.:     D-2006-614.

    Opinion:      Hanson v. State, 206 P.3d 1020 (Okla. Crim. App. 2009).

    Result:       Death Sentence Affirmed.

    Certiorari:   Denied; Hanson v. Oklahoma, 130 S.Ct. 808 (Dec. 7, 2009).

    Counsel:      Jamie D. Pybas                             Kathleen Smith
                  OIDS - Capital Direct Appeal               OIDS - Capital Direct Appeal
                  P.O. Box 926                               P.O. Box 926
                  Norman, OK 73071                           Norman, OK 73071

             G.   Application for Post Conviction Relief:

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    Court:         Oklahoma Court of Criminal Appeals.

    Case No.:      PCD-2006-614.

    Opinion:       Hanson v. State, No. PCD-2006-614, slip op. (Okla. Crim. App. Jun 2, 2009).
                   Attached hereto as Att. 13.

    Result:        Denied.

    Counsel:       Robert W. Jackson                         Anastasia Cesario
                   OIDS - Capital Post-Conviction            OIDS - Capital Post-Conviction
                   P.O. Box 926                              P.O. Box 926
                   Norman, Ok 73070                          Norman, Ok 73070

             Mr. Hanson has no other matters currently pending in any other court. Transcript

    references from the 2001 trial will be referred to as “2001 TR” followed by the volume and

    page number. The 11 volume consecutively paginated transcripts from the 2006 re-sentencing

    trial will be referred to as “TR” followed by the page number. Motion and Sentencing hearing

    transcripts will be referred to as “Mot. TR” and “Sent. TR,” respectively, followed by the

    month/date/year and then the page number. The 9 volume consecutively paginated original

    record covers both the 2001 and 2006 trials and will be referenced as “O.R.” followed by the

    page number.

                                   STATEMENT OF THE CASE

             Mr. Hanson was charged by information in the District Court of Tulsa County with the

    murders of Mary Bowles and Jerald Thurman. Mr. Hanson was charged jointly with co-

    defendant Victor Miller. The two counts were charged alternatively as malice aforethought

    or felony murder. O.R. 53-58; 95-101. Mr. Hanson and co-defendant Miller’s cases were



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    severed for trial. The Honorable Linda G. Morrissey, District Judge, presided over Mr.

    Hanson’s original trial, which was held from May 7 through 23, 2001. Mr. Hanson was

    convicted of both counts. O.R. 523, 524, 525. In Count I, Mr. Hanson was sentenced to death

    for the malice aforethought murder of Mary Bowles.1 O.R. 544. Also, with respect to Count

    I, the jury found the following aggravating factors: (1) Mr. Hanson was previously convicted

    of a felony involving use or threat of force; (2) that there existed a probability that Mr. Hanson

    would pose a continuing threat to society; and (3) that Mr. Hanson knowingly created a great

    risk of death to more than one person. O.R. 542. In Count II, Mr. Hanson was sentenced to

    life without the possibility of parole for the felony murder of Jerald Thurman. O.R. 548.

    Despite finding Mr. Thurman’s death was aggravated by two factors, prior violent felony

    convictions and continuing threat, the jury still imposed a non-death sentence. O.R. 544.

           The Oklahoma Court of Criminal Appeals (“OCCA”) affirmed Mr. Hanson’s

    conviction and sentence for Count II; however, while affirming his conviction on Count I, it

    reversed the death sentence and remanded for a new sentencing trial. See Hanson v. State,

    72 P.3d 40 (Okla. Crim. App. 2003). Mr. Hanson’s death sentence was reversed for a host

    of reasons, including, inter alia, trial court error in excluding expert witness testimony; trial

    court error in not allowing the defense to voir dire jurors on whether death penalty would be



            1
            Mr. Hanson’s jury was given specific verdict forms with respect to each count and
    each theory of murder. As for Count I, the jury found Mr. Hanson guilty of both malice
    murder and felony murder. O.R. 523, 525. In this circumstance, the conviction is construed
    as being for malice murder. Alverson v. State, 983 P.2d 498, 521 (Okla. Crim. App. 1999).


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    automatically imposed; trial court error in not removing a juror for cause; the jury was not

    instructed on the continuing threat aggravating circumstance; the trial court refused to instruct

    the jury on Mr. Hanson’s proffered list of mitigating circumstances; and improper victim

    impact evidence was admitted. Id.

           At the time of the OCCA’s reversal of his death sentence, Mr. Hanson was engaged

    in state collateral proceedings and had a pending Application for Post-Conviction relief on

    file with the OCCA. This application was dismissed by the OCCA as being mooted by its

    disposition of the direct appeal case. O.R. 1270-71, Order, No. PCD-02-628 (June 17, 2003).

           Just before the re-sentencing was set to begin, the State disclosed new evidence that

    co-defendant Miller had confessed to shooting victim Mary Bowles. In response to the new

    evidence, trial counsel filed an Application for Post Conviction relief and Brief in Support of

    New Trial, which resulted in Mr. Hanson being granted a new trial. O.R. 1252-64, 1352-53.

    The State appealed and moved for a writ of prohibition against the trial court’s grant of a new

    trial, and the OCCA vacated the trial court’s order as void for lacking jurisdiction. O.R. 1418-

    20. The trial court then commenced the re-sentencing hearing, and Mr. Hanson was sentenced

    to death on Count I. O.R. 1560. The re-sentencing jury found the existence of the following

    aggravating factors: (1) Mr. Hanson was previously convicted of a violent felony; (2) Mr.

    Hanson created a great risk of death to more than one person; and (3) the murder was

    committed for purpose of avoiding arrest or prosecution. O.R. 1563.

           Mr. Hanson appealed his death sentence to the OCCA, which struck the jury’s finding



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    of the great risk of death aggravating circumstance but affirmed his sentence nonetheless. See

    Hanson v. State, 206 P.3d 1020 (Okla. Crim. App. 2009). Mr. Hanson then sought certiorari

    in the United States Supreme Court, which was denied. Hanson v. Oklahoma, 130 S.Ct. 808

    (Dec. 7, 2009) (cert. denied).

           Mr. Hanson additionally sought state collateral relief by filing an Application for Post

    Conviction Relief in the OCCA, which it denied in an unpublished opinion. Hanson v. State,

    No. PCD-2006-614 (Okla. Crim. App. June 2, 2009).

           Mr. Hanson began the instant proceedings with his motion for the appointment of

    counsel. Doc. 1. This Petition for Writ of Habeas Corpus is submitted pursuant the Court’s

    scheduling order. Doc. 12.

                                 STATEMENT OF THE FACTS

           On Tuesday, August 31, 1999 at 3:51 p.m., Mary Bowles left her job as a volunteer at

    St. Francis Hospital in Tulsa, Oklahoma. TR. 1244. Ms. Bowles was last observed by

    another hospital worker, Lucille Neville, at approximately 4:10 or 4:15 p.m. on a freeway

    service road as Ms. Bowles was presumably driving home. TR. 1233. Ms. Bowles kept a

    regular routine and would often get exercise by walking inside the Promenade Mall in the

    evenings after going home from work. TR. 1238-39.

           On August 31, 1999, Jerald Thurman placed a cell phone call at 5:50 p.m. to his




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    nephew and employee James Moseby.2 TR. 1261. Mr. Thurman owned and operated a

    trucking business that would deliver dirt from his dirt pit in Owasso, Oklahoma. TR. 1260.

    Mr. Thurman called his nephew to report that a vehicle was inside the dirt pit. TR. 1261. Mr.

    Moseby arrived at the dirt pit about 10 minutes after the phone conversation and observed Mr.

    Thurman to be unconscious having sustained multiple gunshot wounds. TR. 1262, 1268. Mr.

    Thurman never regained consciousness and died 14 days later.           O.R. 1272.     James

    Lavendusky lived across the road from the entrance to Mr. Thurman’s dirt pit. TR. 1249. At

    about 5:45 p.m. while working outside on his boat, Mr. Lavendusky heard gunshots coming

    from the dirt pit and then observed a dark grey or silver car exiting the dirt pit. TR. 1250,

    1253.

            On September 7, 1999, Tim Hayhurst was driving down “Peanut Road,” which is not

    far from Mr. Thurman’s dirt pit, and observed what he thought to be a person along the side

    of the road. TR. 1279-81. Mr. Hayhurst reported the body to the Owasso Police Department.

    TR. 1281. The body was identified as Mary Bowles. TR. 1298. Ms. Bowles’ body was in

    an advanced state of decomposition and the cause of death was determined to be multiple

    gunshot wounds. TR. 1565-66, 1585.

            The State’s theory of the case was predicated upon the testimony of Rashad Barnes.

    Barnes testified at Mr. Hanson’s first trial; however, by the time of Mr. Hanson’s re-




            2
           Mr. Moseby’s name is improperly spelled as “Moseley” in the trial transcripts. See
    TR. 1259.

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    sentencing, Barnes had been killed in an unrelated incident. See 2001 TR. Vol VII, 1153-87.

    See also Ground 1, infra. Barnes’ 2001 trial testimony was read into the record at the re-

    sentencing trial via a question and answer format. TR. 1338-76. According to Barnes,

    sometime in late August or early September 1999, Mr. Hanson showed up in Barnes’ yard

    acting nervous and talking about how something went “bad.” TR. 1342, 1346. Mr. Hanson

    allegedly told Barnes in detail how he and co-defendant Victor Miller had carjacked a lady

    at Promenade Mall; drove her out to North Tulsa to let her out, but were confronted by Jerald

    Thurman, who co-defendant Miller shot; after which Miller instructed Mr. Hanson that “You

    know what you have to do;” and Miller drove a short distance from the dirt pit where Mr.

    Hanson shot Mary Bowles. TR. 1347-50. Barnes further testified he was told that Mr.

    Hanson and co-defendant Miller then drove Bowles’ car to the Oasis Motel where it broke

    down. TR. 1350. Bowles’ vehicle was later recovered from that motel by police. TR. 1381,

    1388. The parties stipulated that Mr. Hanson had checked into the Oasis Motel between 6:05

    and 6:30 p.m. on August 31, 1999. TR. 1483, 1485. Mr. Hanson’s fingerprint was found on

    the driver’s seatbelt latch of Ms. Bowles’ vehicle. TR. 1486-87, 1595-96.

           Mr. Hanson and co-defendant Miller were apprehended at the Econolodge Hotel in

    Muskogee, Oklahoma on September 9, 1999. TR. 1443. Phyllis Miller, the wife of co-

    defendant Miller, had called authorities and reported that Mr. Hanson and co-defendant Miller

    had robbed a credit union on September 8 and were at the Econolodge. TR 1426. Co-

    defendant Miller was no stranger to criminal activity having been previously convicted of



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    murder in 1982.     TR. 1832.     The Federal Bureau of Investigation, the Tulsa Police

    Department, and the Muskogee Police Department all converged on the hotel and eventually

    arrested co-defendant Miller and Mr. Hanson. TR. 1430-33, 1434, 1443. Guns consistent

    with those used in the murders of Jerald Thurman and Mary Bowles, a five-shot .38 caliber

    revolver and a 9 millimeter semiautomatic pistol, were found inside of the Muskogee hotel

    room. TR. 1451-54, 1462, 1594-95.

           Specific facts pertaining to particular grounds for relief raised in this Petition will be

    discussed in the grounds for relief to which they relate.

                                           GROUND ONE

           MR. HANSON WAS DENIED AN ADEQUATE OPPORTUNITY TO
           CONFRONT THE WITNESSES AGAINST HIM BY THE TRIAL
           COURT’S ADMISSION OF THE TESTIMONIAL HEARSAY OF
           RASHAD BARNES.

           The State’s key witness, Rashad Barnes, testified at Mr. Hanson’s first trial; however,

    by the time of re-sentencing, Barnes was dead. Over vigorous defense objections and

    argument, the trial court admitted Barnes’ prior testimony from the original trial. In reversing

    co-defendant Miller’s case, the OCCA aptly described Barnes’ testimony:

           Hanson’s confession to Barnes was the most critical evidence in the State’s
           case. It not only was the only evidence directly connecting [Victor Miller] with
           the carjacking and subsequent murders, it was also the only evidence
           implicating [Victor Miller] as the controller of the events, the decision maker,
           and the evidence which placed responsibility for the incidents beyond the
           carjacking upon [Victor Miller]. From the record before us, we cannot
           conclude that Hanson’s statement to Barnes was so inherently reliable that
           cross-examination would have been superfluous. Under the facts presented
           here, we find the admission into evidence of Hanson’s statement to Barnes

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          violated [Victor Miller’s] Sixth Amendment right to confrontation.

    Miller v. State, 98 P.3d 738, 748 (Okla. Crim. App. 2004) (emphasis added). While Mr.

    Hanson does not present an identical claim to that presented in Miller, the OCCA’s reversal

    in that case underscores the magnitude of Rashad Barnes’ testimony. Barnes’ testimony

    implicated Mr. Hanson in the murders and specifically as the shooter of Ms. Bowles.

           In the early morning hours of Dec. 26, 2003, Barnes was shot in the back of the head

    outside Curly’s Bar in Tulsa, Oklahoma, later dying as result of the wound.3 With their most

    critical witness unavailable, the State decided to introduce Barnes’ prior recorded testimony

    from Petitioner’s first trial. O.R. 1480-82; M.Tr. 1-4-06 19, 22; TR. 1337. Defense counsel

    objected to the admission and reading of Mr. Barnes’ prior testimony into the record because

    there was no prior opportunity for full and fair cross-examination. M.Tr. 1-4-06 18, 21; TR.

    1098, 1344-46. Specifically, trial counsel did not have a “meaningful” opportunity to cross-

    examine Barnes in light of a confession by co-defendant Miller to shooting Mary Bowles,

    which surfaced only days prior to the start of Mr. Hanson’s re-sentencing trial.4 Id.

           The trial court ultimately ruled Barnes’ prior testimony admissible; however, it did

    express some concerns about Mr. Hanson’s right to confrontation:



           3
            The death of Mr. Barnes was wholly unrelated to this case, and the State has never
    alleged or insinuated that Petitioner procured the unavailability of Mr. Barnes for the re-
    sentencing trial.
           4
            In addition to the newly discovered Miller confession, Victor Miller’s testimony at
    his own trial served as another basis to conclude Mr. Hanson’s prior opportunity to cross-
    examine Barnes was Constitutionally inadequate. See also Ground Three, infra.

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           . . . I will note that in some of the readings of these death penalty cases, the
           right to confront witnesses under the constitution is paramount and certainly
           if Rashad Barnes is stated in one of the opinions by the Court of Criminal
           Appeals that his testimony was the most important piece of evidence in the
           case, and if he is now dead and not available to be cross-examined on newly
           discovered evidence, that could impact the Defendant’s right of confrontation
           in this trial.

                                                ***

           When you switch it to Rashad Barnes, his transcript is coming in, but now with
           the newly discovered statement that Ahmad Henry gave to Detective Nance,
           the right of confrontation that existed in the first trial is not fully available
           here because we don’t have the witness, all we have is a transcript. And in
           order to impeach that witness’ testimony, that’s not fully possible here because
           all we have is the transcript.

    TR. 1115, 1117 (emphasis added). Despite the trial court’s concerns, the State was

    permitted to present Barnes’ prior testimony in a question and answer format utilizing a mock

    witness. TR. 1338-76. Mr. Hanson’s Sixth Amendment right to confront the witnesses

    against him was violated by the reading of Barnes’ testimony absent a prior opportunity for

    full and fair cross examination.

           On direct appeal, the OCCA identified the correct legal standard, namely Crawford

    v. Washington, 541 U.S. 36 (2004); however, the OCCA’s application of Crawford violated

    Mr. Hanson’s constitutional rights. Hanson, 206 P.3d at 1026-27; 28 U.S.C. § 2254 (d)(1),

    (d)(2). The OCCA divided this claim into two parts and rejected both. First, as to co-

    defendant Miller’s confession to Ahmod Henry, the OCCA failed to actually determine

    whether the prior opportunity for cross-examination was adequate, and instead focused on

    what evidence was presented at the re-sentencing trial. Hanson, 206 P.3d at 1026. Second,

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    as to Victor Miller’s testimony at his own trial, the OCCA held, “[b]ecause Hanson failed

    to object to the admission of Barnes’s testimony on this basis, we review only for plain error

    and find none.” 5 Id. at 1026-27.

           The OCCA’s second rationale will be addressed first.          The Tenth Circuit has

    addressed the ramifications of a state court plain error determination on habeas review:

           A state court may deny relief for a federal claim on plain-error review because
           it finds the claim lacks merit under federal law. In such a case, there is no
           independent state ground of decision and, thus, no basis for procedural bar.
           Consistent with that conclusion, the state court’s disposition would be entitled
           to § 2254(d) deference because it was a form of merits review. On the other
           hand, a state court could deny relief for what it recognizes or assumes to be
           federal error, because of the petitioner’s failure to satisfy some independent
           state law predicate. In such a case, that non-merits predicate would constitute
           an independent state ground for decision which would warrant application of
           procedural-bar principles on federal habeas. If the state procedural bar were
           then excused for some reason, the federal court would be left to resolve the
           substantive claim de novo, unconstrained by § 2254(d).

    Cargle v. Mullin, 317 F.3d 1196, 1206 (10th Cir. 2003) (internal citations omitted).

           Assuming the OCCA’s plain error review equated to a merits review, the state court

    decision is unreasonable because Mr. Hanson’s Sixth Amendment right to confrontation was

    violated. This argument will be fully borne out below. Next, if the state court’s plain error

    review constitutes an independent state ground, and therefore, operates as a procedural bar,




           5
             Strangely, after finding no plain error, the OCCA found trial counsel’s failure to
    object was strategic. Whether tactical considerations are implicated here is not dispositive
    of the question whether a prior opportunity for cross-examination was adequate. See Fisher
    v. Gibson, 282 F.3d 1283, 1296 (10th Cir. 2002) (finding attorney conduct not insulated from
    review by labeling as strategic).

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    that bar is excused through the ineffective assistance of counsel.6          Trial counsel’s

    ineffectiveness in failing to preserve this aspect of the confrontation violation and the

    resulting prejudice overcomes any procedural default and establishes an independent basis

    for relief. See Ground Three, infra.

           I.       In Light of Material Impeachment Evidence Not Available at the
                    Time of Rashad Barnes’ Original Testimony, Mr. Hanson Was
                    Denied an Adequate Opportunity to Confront the Witness.

                Supreme Court law on this topic is clear; testimonial hearsay may not be admitted

    against a criminal defendant absent a showing of (1) unavailability of the witness and (2) an

    adequate prior opportunity to cross-examine the witness. Crawford, 541 U.S. 36; Davis v.

    Washington, 547 U.S. 813 (2006). Justice Stevens described the tension between the Sixth

    Amendment and admitting hearsay against the accused:

           When the government seeks to offer a declarant’s out-of-court statements
           against the accused, and, as in this case, the declarant is unavailable, courts
           must decide whether the Clause permits the government to deny the accused
           his usual right to force the declarant to submit to cross-examination, the
           greatest legal engine ever invented for discovery of the truth.

    Lilly v. Virginia, 527 U.S. 116, 124 (1999) (footnotes and internal citations omitted).

           The Supreme Court in Crawford detailed both the historical extent and practical

    necessity of a prior opportunity for cross-examination before admission of testimonial



          6
            There is yet another view on plain error. Plain error and fundamental error are
    synonymous. Simpson v. State, 876 P.2d 690, 692-93 (Okla. Crim. App. 1994). The
    Supreme Court has reviewed the merits of a similar claim under the rationale that the
    procedural default cannot operate independent of federal law where the state court has
    reviewed for fundamental error. Ake v. Oklahoma, 470 U.S. 68, 75 (1985).

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    hearsay. 541 U.S. 36, 53-60. As a prerequisite to admission, the prior opportunity must not

    merely have existed, but must have been adequate:

           Our later cases conform to Mattox’s holding that prior trial or preliminary
           hearing testimony is admissible only if the defendant had an adequate
           opportunity to cross-examine. See Mancusi v. Stubbs, 408 U.S. 204, 213-216,
           92 S.Ct. 2308, 33 L.Ed.2d 293 (1972); California v. Green, 399 U.S. 149, 165-
           168, 90 S.Ct. 1930, 26 L.Ed.2d 489 (1970); Pointer v. Texas, 380 U.S., at 406-
           408, 85 S.Ct. 1065; cf. Kirby v. United States, 174 U.S. 47, 55-61, 19 S.Ct.
           574, 43 L.Ed. 890 (1899). Even where the defendant had such an opportunity,
           we excluded the testimony where the government had not established
           unavailability of the witness. See Barber v. Page, 390 U.S. 719, 722-725, 88
           S.Ct. 1318, 20 L.Ed.2d 255 (1968); cf. Motes v. United States, 178 U.S. 458,
           470-471, 20 S.Ct. 993, 44 L.Ed. 1150 (1900). We similarly excluded
           accomplice confessions where the defendant had no opportunity to cross-
           examine. See Roberts v. Russell, 392 U.S. 293, 294-295, 88 S.Ct. 1921, 20
           L.Ed.2d 1100 (1968) (per curiam); Bruton v. United States, 391 U.S. 123, 126-
           128, 88 S.Ct. 1620, 20 L.Ed.2d 476 (1968); Douglas v. Alabama, 380 U.S.
           415, 418-420, 85 S.Ct. 1074, 13 L.Ed.2d 934 (1965). In contrast, we
           considered reliability factors beyond prior opportunity for cross-examination
           when the hearsay statement at issue was not testimonial. See Dutton v. Evans,
           400 U.S., at 87-89, 91 S.Ct. 210 (plurality opinion).

    Id. at 57 (emphasis added). Further, the Supreme Court has discussed what circumstances

    may render a prior opportunity for cross-examination inadequate:

           No one defense counsel will ever develop precisely the same lines of inquiry
           or frame his questions in exactly the words of another, but from this record
           counsel at the retrial did not in his proffer show any new and significantly
           material line of cross-examination that was not at least touched upon in the
           first trial.

    Mancusi v. Stubbs, 408 U.S. 204, 215 (1972) (emphasis added). See also California v.

    Green, 399 U.S. 149, 159 (holding confrontation clause not violated as long as defendant “is

    assured of full and effective cross-examination at the time of trial”).



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           Barnes’ prior trial testimony is covered by Crawford’s definition of testimonial

    hearsay. 541 U.S. at 68 (“Whatever else the term covers, it applies at a minimum to prior

    testimony at a preliminary hearing, before a grand jury, or at a formal trial .”). Second, new

    and significantly material lines of cross-examination developed prior to Mr. Hanson’s re-

    sentencing trial, thereby rendering the prior cross-examination Constitutionally inadequate.

           The extent of questioning during the first trial concerning Barnes’ involvement in the

    murder of Mary Bowles occurred in the State’s direct examination when the prosecutor

    asked, “Mr. Barnes, did you have anything to do with the death of this old lady?” To which,

    Barnes responded in the negative. TR. 1364. Barnes testified he didn’t personally know

    Victor Miller, and the only time Miller had come to his house was two months prior to the

    crimes. TR. 1368. He testified he didn’t see Victor Miller or Miller’s wife the day after Mr.

    Hanson allegedly confessed. TR. 1375.

           When Victor Miller testified at his own trial in April 2002, he implicated Rashad

    Barnes as a direct participant in the killings of Jerald Thurman and Mary Bowles, as well as

    refuted much of Barnes’ testimony at Mr. Hanson’s original trial. Miller had been to Barnes’

    house several times and the weapons were kept there. Miller, 98 P.3d at 742 n. 11. Miller

    and his wife went to Barnes’ house and retrieved keys for Mary Bowles’ Buick. Id. Miller

    wiped down the vehicle at the request of Mr. Hanson and Barnes, “because I was doing

    something for my friends and getting paid for it.” Id. Miller denied participating in the

    carjacking and murders. Id. While the silver revolver was obtained by Miller in a robbery,



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    the black automatic used to kill Mary Bowles belonged to Barnes who also “kept the guns.”

    The overall thrust of Miller’s testimony was that Mr. Hanson and Barnes were responsible

    for the homicides.7

           At Mr. Hanson’s original trial, counsel could not have had any knowledge of what co-

    defendant Miller’s testimony would be at his subsequent trial. Miller’s testimony proved

    crucial and provided powerful evidence to impeach Barnes. This impeachment material

    implicated Barnes in the offenses, which provided a possible motive that Barnes testified in

    order to conceal his own criminal liability. Additionally, trial counsel was unable to cross-

    examine Barnes about co-defendant Miller’s confession to shooting Mary Bowles. Barnes’

    testimony was the strongest evidence indicating that Mr. Hanson shot Mary Bowles. Cross-

    examination on this point was indispensable and could have convinced a jury that Mr.

    Hanson was not the triggerman. This point alone could have meant the difference between

    life and death for Mr. Hanson, given the jury at his original trial imposed a non-death

    sentence for his felony murder conviction for victim, Jerald Thurman. Because of these new

    and material lines of questioning, Mr. Hanson’s prior opportunity to cross-examine Barnes

    was not Constitutionally adequate.




           7
              Miller also utilized two jailhouse snitches, Gregory Malone and Alton White, to
    bolster his testimony. Malone claimed Barnes and Mr. Hanson were mad at Miller’s wife
    for telling on them so they put Victor Miller in the picture and took Barnes out. Miller, 98
    P.3d at 743. White, although facing capital murder charges himself, claimed Mr. Hanson
    told him Barnes took “hisself [sic] out of the place of the murder and put Mr. Miller in it.”
    Id.

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           Alternatively, the OCCA’s rationale that Mr. Hanson’s prior opportunity was not

    “constitutionally inadequate” is entirely at odds with federal law. Hanson, 206 P.3d at 1026;

    28 U.S.C. § 2254 (d)(2). Crawford and its predecessors explain the importance of cross-

    examination as a mechanism to test the veracity of witnesses. The Sixth Amendment

    “commands, not that evidence be reliable, but that reliability be assessed in a particular

    manner: by testing in the crucible of cross-examination.” Crawford, 541 U.S. at 61. Instead

    of assessing whether Mr. Hanson’s prior opportunity was Constitutionally adequate, the

    OCCA considered the evidence presented at the re-sentencing in contrast to Barnes

    testimonial hearsay. “Hanson’s resentencing jury had the evidence of Miller’s purported

    admission to the inmate and the circumstances surrounding that statement to consider and

    weigh against Barnes’ testimony about Hanson’s alleged confession to him.” Hanson, 206

    P.3d at 1026. This is simply not the inquiry mandated by Crawford. The state court made

    a backwards looking determination rather that making a contemporaneous assessment

    whether Hanson’s opportunity for cross-examination was Constitutionally adequate at the

    actual time of Barnes’ testimony.

           The OCCA’s opinion in co-defendant Miller’s case demonstrates the necessity for

    cross-examination subsequent to Miller’s testimony and discovery of Miller’s confession to

    Ahmod Henry:

           We note that every time Barnes spoke of his conversation with Hanson, his
           statements or testimony about what Hanson said became more detailed. Is a
           statement consistent when it is more or less detailed? Cross-examination of
           Hanson was crucial to test the accuracy and reliability of what Barnes said

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           Hanson said.

    Miller, 98 P.3d 738, 746 (2004). Cross-examination of Barnes at Hanson’s first trial was not

    adequate to test the accuracy and reliability of Barnes’ tale after the various impeachment

    evidence became available. Further, Barnes’ demeanor and believability was of great

    significance in this case although Mr. Hanson’s re-sentencing jury never got to observe

    either. Petitioner was deprived of his opportunity to compel Barnes “to stand face to face

    with the jury in order that they may look at him, and judge by his demeanor upon the stand

    and the manner in which he gives his testimony whether he is worthy of belief.” Mattox v.

    United States, 156 U.S. 237, 242-43 (1895).

           The admission of Barnes’ testimonial hearsay violated Mr. Hanson’s rights under the

    Sixth Amendment as well as his Eighth Amendment right to a fair and reliable sentencing

    proceeding.

           II.    Mr. Hanson Was Harmed as a Result of the Trial Court’s
                  Erroneous Admission of the Testimonial Hearsay.

           Confrontation clause violations are subject to harmless error analysis. Delaware v.

    Van Arsdall, 475 U.S. 673, 680-84 (1986). Factors to be considered in this analysis include

    “the importance of the witness’ testimony in the prosecution’s case, whether the testimony

    was cumulative, the presence or absence of evidence corroborating or contradicting the

    testimony of the witness on material points, the extent of cross-examination otherwise

    permitted, and, of course, the overall strength of the prosecution’s case.” Id. at 684.

    Considering these factors compels the conclusion that Mr. Hanson was harmed as a result

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    of the confrontation violation.

           The OCCA has acknowledged the importance and non-cumulative nature of Barnes’

    testimony. “The whole of the evidence in both stages supports Hanson’s claim that Rashad

    Barnes gave the only testimony that Hanson ever pulled the trigger on any gun the day of the

    murders.” Hanson v. State, 72 P.3d 40, 53 n. 41 (Okla. Crim. App. 2003).

           Taking out of order the fourth Van Arsdell factor, the overall strength of the State’s

    case was largely predicated upon Barnes’ testimony. The prosecutor argued in closing:

           Here’s what they can’t tell you. Rashad Barnes doesn’t have a criminal
           history. Rashad Barnes hasn’t been impeached. Rashad Barnes hasn’t been
           shown to tell a lie. None of that stuff. They have previous transcripts.
           You’ve heard the previous transcript. Rashad has consistently told the truth
           and has never been impeached. Rashad Barnes’ story is corroborated at every
           angle.

    TR. 1902-1903. Barnes testimony wasn’t as bullet-proof as the State argued. In fact, the

    OCCA found it to be unreliable in Miller. 98 P.3d at 747-48. As for the testimony being

    “corroborated at every angle,” that doesn’t appear to be the case. Trial counsel demonstrated

    many of the inconsistencies in Barnes’ testimony. TR. 1873-78. Notably, Barnes testified

    Mr. Hanson was in the back of the car at all times, but his finger print was found on the latch

    of the driver’s seat belt buckle. TR. 1486-87. Barnes testified Mary Bowles was shot while

    in the back seat; however, state’s witness Dr. Snow testified she was shot while laying on the

    ground. TR. 1729. And Barnes’ recollection of what day and at what time Mr. Hanson had

    the alleged conversation with him is belied by the rest of the evidence in the record.

           Petitioner was harmed as a result of these Constitutional violations and respectfully

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    requests this Court grant the Writ.

                                          GROUND TWO

           MR. HANSON’S RIGHT TO DUE PROCESS OF LAW WAS
           VIOLATED BY THE OKLAHOMA COURT OF CRIMINAL
           APPEALS’ REVERSAL OF THE DISTRICT COURT’S GRANT OF A
           NEW TRIAL ON THE BASIS OF NEWLY DISCOVERED EVIDENCE.

           Just prior to beginning Mr. Hanson’s re-sentencing trial, the State disclosed that co-

    defendant Victor Miller had confessed to the murder of Mary Bowles. This confession

    contradicted the State’s theory of the case and seriously undermined the validity of Mr.

    Hanson’s malice murder conviction for the death of Mary Bowles. Tulsa County District

    Court Judge Caroline Wall found co-defendant Miller’s confession significant enough that

    she ordered an entire new trial covering both guilt and sentencing. Judge Wall made the

    following findings of fact and conclusions of law:


           1.     Pursuant to Rule 2.1.A(4), Rules of the Oklahoma Court of Criminal
                  Appeals and Title 22 O.S. § 1080 et seq., this Court has jurisdiction to
                  hear this matter and to make appropriate orders.

           2.     Five (5) days before the re-sentencing trial in this case was to have
                  begun, the State found a transcription of a conversation between
                  Detective Mike Nance of the Tulsa Police Department and Ahmod
                  Henry, an inmate at the David Moss Correctional Center. That
                  conversation indicated that Victor Miller, a Co-Defendant of your
                  Petitioner, was the person who actually killed Mary Agnes Bowles.
                  That evidence was exculpatory to the Petitioner.

           3.     That conversation between Detective Nance and Ahmod Henry
                  occurred on August 26, 2003, after the decision of the Court of
                  Criminal Appeals in Petitioner’s case had been rendered and the
                  mandate issued.

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           4.     The evidence was a material fact that had not previously been
                  presented and heard. It could not have been discovered with
                  reasonable diligence by the Petitioner or his lawyer before trial. The
                  evidence is not cumulative. The evidence creates a reasonable
                  probability that, had it been introduced at trial, it would have changed
                  the outcome. The newly discovered evidence entitles the Petitioner to
                  a new trial.

    Order Granting Application for Post-Conviction Relief, O.R. 1353 (March 14, 2005)

    (emphasis added); Mot. TR. 3-14-2005, 6-7. Judge Wall’s order followed an interesting time

    line of events and much debate amongst the parties.

           Mr. Hanson’s re-sentencing trial was set to begin on January 10, 2005, and just five

    days prior, the State faxed defense counsel a police report. The report was a transcription of

    a conversation between Tulsa Police Detective Michael Nance and Ahmod Henry. Henry

    had been incarcerated in the David L. Moss Correctional Center in Tulsa in 2001 along with

    Mr. Hanson’s co-defendant Victor Miller. Henry’s conversation with detective Nance

    occurred on August 26, 2003, approximately 3 months after the OCCA reversed Mr.

    Hanson’s sentence on direct appeal. Hanson v. State, 72 P.3d 40 (Okla. Crim. App. 2003).

    During his conversation with Detective Nance, Henry related co-defendant Miller’s

    confession to the murder of Mary Bowles:

           Detective Nance:     O.K. What did your conversations [with Victor Miller] consist
                                of?

           Ahmod Henry:         Shit, we was just talking about things that happen in the lifetime,
                                and he started telling me something about some robberies, how
                                he was making money out there, saying he did a lot of robberies,
                                and he ... him and his friend was at a motel, and they got busted,

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                                 and he said he was running around killing people doing [sic] the
                                 robbery. He said he killed a bitch. That’s all he said, “I killed
                                 ... I killed a bitch.”

           Detective Nance:      O.K. Did he ... was he any more specific about who he killed or
                                 ... or ... or ... how he killed her or ... or anything like that?

           Ahmod Henry:          He (inaudible) shot her.

           Detective Nance:      You say he shot her?

           Ahmod Henry:          He killed a bitch.

           Detective Nance:      O.K. Did he tell you who he was with? You said he was with
                                 a friend.

           Ahmod Henry:          Yeah, he was with a friend. He never said his friend [sic] name.
                                 Whoever the friend was is the one that got caught at the motel
                                 with him.

           Detective Nance:      O.K. And is there anymore information that you know about
                                 this that ... that I haven’t asked you?

           Ahmod Henry:          No, sir.

           Detective Nance:      O.K. So ... so you were in segregation at David L. Moss with
                                 him in 2001, and during that time he told you that he was caught
                                 in a motel with a friend of his, that they’d been pulling robberies
                                 and killing people, and that he’d ... he’d shot and killed a bitch.

           Ahmod Henry:          Yes.

           Detective Nance:      O.K. Well then, it’s 1310 hours, and I’ll conclude the tape at
                                 this time.

    O.R. 1258-59.

           Trial counsel, in reaction to this newly discovered evidence, filed in the district court

    an Application for Post Conviction Relief and Brief in Support of New Trial on January 14th,

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    2005. O.R. 1252-1260, 1261-64. Mr. Hanson properly filed his pleadings in the district

    court as required by Rule 2.1 (A)(4) of the Rules of the Oklahoma Court of Criminal

    Appeals, and Okla. Stat. tit. 22 § 1080 (d), (f). Rule 2.1 provides the procedures for filing

    a motion for new trial. Subsection (A)(4) specifically provides “if the appeal has been

    decided, the opinion has been rendered and the mandate has been issued by this Court, then

    in all other cases of newly discovered evidence, a petitioner must proceed under the

    provisions of the Post-Conviction Procedure Act, Section 1080 to 1089 of Title 22.” And

    in turn, section 1080 provides:

           Any person who has been convicted of, or sentenced for, a crime and who
           claims: (d) that there exists evidence of material facts, not previously presented
           and heard, that requires vacation of the conviction or sentence in the interest
           of justice . . . may institute a proceeding under this act in the court in which
           the judgment and sentence on conviction was imposed to secure the
           appropriate relief.

    (emphasis added). Mr. Hanson’s Application alleged the newly discovered evidence was

    material to whether Mr. Hanson was guilty of malice murder; the evidence could not have

    been discovered with due diligence; the evidence was not cumulative; and the evidence

    created a reasonable probability that had it been introduced at trial, it would have changed

    the outcome. O.R. 1253-54.

           Shortly thereafter, the State responded with its Motion to Dismiss Defendant’s

    Applications for Post-Conviction Relief. O.R. 1265-72. The basis for the Motion to Dismiss

    was the OCCA’s June 17, 2003 order dismissing Mr. Hanson’s Original Post Conviction

    Application, which stated:

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           Hanson may re-file his Application for Post-Conviction Relief, along with any
           appropriate accompanying motions, after the resentencing hearing is
           concluded. At that time Hanson may raise all post-conviction issues allowed
           under the Post-Conviction Procedure Act, including issues resulting from the
           guilt-innocence, or conviction, phase of trial as well as those raised in the
           resentencing hearing.

    O.R. 1271. The OCCA’s order did not contemplate the situation of newly discovered

    evidence, which came to light after its dismissal of Mr. Hanson’s Original Post-Conviction

    Application.

           The state district court held a hearing on March 3, 2005, regarding co-defendant

    Miller’s newly discovered confession and the parties’ pleadings. On March 14, the court

    entered its order granting Mr. Hanson a new trial and sentencing. In addition to the position

    taken in its Motion to Dismiss, the State argued that even though Mr. Hanson’s death

    sentence had been vacated, the case remained a capital case and only the Oklahoma Court

    of Criminal Appeals could hear Capital Post-Conviction Applications pursuant Rule 9.7

    (A)(2) of the Rules of the Oklahoma Court of Criminal Appeals. Mot. TR. 3-14-05, 5-6.

    Trial counsel responded that Rule 9.7 only applies to cases in which the death penalty has

    been imposed, and not Mr. Hanson’s case where no death penalty was currently imposed.

    Id. at 6. (emphasis added).

           After the district court granted relief, the State appealed to the Oklahoma Court of

    Criminal Appeals through two avenues. On April 12, 2005, the State filed (1) an Emergency

    Application to Assume Original Jurisdiction and Petition for Writ of Prohibition or in the

    Alternative a Petition for Writ of Mandamus and Brief in Support in Case No. PR-2005-350;

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    and (2) a Petition in Error appealing from Judge Wall’s order granting Mr. Hanson’s

    Application for Post Conviction Relief in Case No. PCD-2005-351. On April 26, 2005, the

    OCCA issued its Order Consolidating Appeals and Granting Petition for Writ of Prohibition

    under Case No. PR-2005-350, in which it consolidated the State’s pleadings finding they

    should be treated as a motion for extraordinary writ. O.R.1418-20. The OCCA found that

    Judge Wall had no jurisdiction to grant Mr. Hanson’s Post-Conviction Application and

    vacated her order granting a new trial as void. Id. The OCCA specifically held:

           The State correctly argues that Judge Wall had no jurisdiction over Hanson’s
           Application for Post-Conviction Relief. The capital post-conviction statute
           clearly gives this Court, and only this Court, original jurisdiction over all
           applications for post-conviction filed in capital cases. Hanson has been
           convicted of first degree murder, and through a Bill of Particulars filed in his
           case the State is requesting the death penalty. This Court has ordered a
           resentencing hearing, which may result in imposition of the death penalty.
           This is a textbook definition of a capital case. As long as Hanson may still
           receive a death sentence in the course of proceedings ordered by this Court,
           this case remains a capital case even though Hanson’s original death sentence
           was vacated.

    O.R. 1419. Despite the adverse ruling from the OCCA, trial counsel continued to object to

    the re-sentencing going forward in light of the new evidence. O.R. 1440-43; TR 1112; Sent.

    TR. 2-7-2006, 2. Because of the OCCA’s order reversing Judge Wall, she had no choice but

    to overrule trial counsel’s motions. Even after the re-sentencing and Mr. Hanson’s resulting

    death sentence, Judge Wall still expressed strong reservations about the new evidence as well

    as the propriety of a death sentence in the case.

           In Oklahoma, a capital trial judge is statutorily required to submit a trial judge’s report



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    to the OCCA after a sentence of death has been imposed. Okla. Stat. tit. 21, § 701.13; O.R.

    1710-17. Judge Wall opined:

           Concerning the procedure, facts and law in this case, there were some
           complications in this sentencing re-trial that raised concerns in my mind as to
           whether all relevant facts and law were made available to the sentencing jury
           for consideration of the punishment.

                                                ***

           It was significant to me that the first juries did in fact appear to weight each
           Defendant’s individual level of participation when each first jury determined
           punishment. Although both Miller and Hanson were convicted of Malice
           Murder in count one, only Hanson was sentenced to death on count one, while
           Miller was sentenced to Life without Parole.

                                                ***

           [T]o sentence Hanson to death where there was newly discovered evidence
           (Miller’s alleged confession to Ahmad Henry) that was not presented to the
           trier of fact on the guilt and innocence (first stage) was troubling to me.

    Capital Felony Report of the Trial Judge, O.R. 1712, 1716. Additionally, Judge Wall

    questioned the appropriateness of the death sentence and recommended Mr. Hanson’s

    sentence be life without the possibility of parole. O.R. 1712.

           Mr. Hanson raised the instant claim on direct appeal arguing his due process rights

    were violated by the OCCA’s granting of the State’s Writ of Prohibition reversing the district

    court’s grant of a new trial. However, the OCCA declined to entertain the claim finding (1)

    that the ‘law of the case doctrine’ prevented review of the jurisdictional issue and (2) it

    would not “consider in this appeal whether discovery of Miller’s alleged confession to

    shooting Bowles entitles Hanson to a new trial for his murder conviction based on her death.

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    This appeal is for reviewing errors, if any, that occurred during Hanson’s resentencing trial.”

    Hanson, 206 P.3d at 1027-28.

           Mr. Hanson again raised the issue in state collateral proceedings with his Application

    for Post-Conviction Relief. There the OCCA again declined to revisit whether the district

    court had jurisdiction to grant a new trial because of the “law of the case” doctrine. Hanson

    v. State, No. PCD-2006-614, slip op. at 3-4 (Okla. Crim. App. June 2, 2009). The state court

    did, however, reach the merits of whether Mr. Hanson was entitled to a new trial because

    of the newly discovered evidence, i.e. co-defendant Miller’s confession.             In direct

    contravention of Judge Wall’s finding, the OCCA said there was “no reasonable probability

    that, had Miller’s statement been introduced in the first stage of Hanson’s trial, the outcome

    would have been any different.” Id. at pp. 8-9. The OCCA also said the newly discovered

    evidence did not impact the sentencing determination. Id. Both of these determinations

    violated Mr. Hanson’s Constitutional right to Due Process of law under the Fourteenth

    Amendment.

           I.     The State Court Did Not Have Jurisdiction to Reverse The Trial
                  Court’s Grant Of A New Trial.

           The OCCA applied the “law of the case” doctrine to bar review of this issue. Hanson,

    206 P.3d at 1027-28. A state procedural rule must be independent of federal law and

    adequately applied in order to bar federal review. Coleman v. Thompson, 501 U.S. 722, 729.

    (1991). Mr. Hanson does not challenge the independence of the law of the case doctrine;

    however, the doctrine is inadequate to bar this Court’s review of the instant claim. A state

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    rule is considered adequate if it is applied “evenhandedly to all similar claims.” Richie v.

    Sirmons, 563 F.Supp. 2d. 1250 (N.D. Okla. 2008), affirmed 599 F.3d 1131 (10th Cir. 2010).

    See also English v. Cody, 146 F.3d 1257 (10th Cir. 1998).

           Until Mr. Hanson’s case, the OCCA had never observed the law of the case doctrine.

    When previously confronted with the issue, the Oklahoma Court held:

           [Gilberto Martinez] has not cited to any decision of this Court which adopts
           the “law of the case” doctrine. . . . Even if the “law of the case” doctrine were
           applicable to criminal trials in Oklahoma, we find it is not applicable to this
           factual scenario.

    Martinez v. State, 984 P.2d 813, 821 (Okla. Crim. App. 1999). In addition to Martinez, the

    OCCA clearly has not followed the law of the case doctrine in other matters. See Davis v.

    State, 845 P.2d 194, 196 (Okla. Crim. App. 1993) (granting relief on direct appeal after

    acknowledging that its previous order on a extraordinary writ was incorrect). Here, the

    OCCA’s application of the law of the case doctrine cannot bar federal review of the instant

    claim; the procedural rule is certainly inadequate given its virtual non-use and resulting lack

    of guidance on when and where it will be applied.

           Because the OCCA declined to address the merits of the claim, instead barring review

    by operation of the law of the case doctrine, the State court ruling is entitled no deference

    under the AEDPA.8 The plain language of the Oklahoma Statutes and court rules provide



           8
               Mr. Hanson acknowledges the OCCA’s order granting the State’s writ or
    prohibition; however, the order lacks in-depth analysis of the court rules and statutes at issue,
    as well as being arrived at without the aid of responsive pleadings by Mr. Hanson. O.R.
    1418-1420.

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    that the state district court had proper jurisdiction to grant Mr. Hanson a new trial.

           The OCCA is a court of special and limited jurisdiction; it has exclusive appellate

    jurisdiction in criminal appeals and can only issue writs in the exercise of its appellate

    jurisdiction. Okla. Stat. tit. 20, § 40; Okla. Const. art. 7, § 4. The jurisdiction of the OCCA

    exists via the state constitution; however, it was created by statute and it can only exercise

    its jurisdiction pursuant statutory authority:

           It must be borne in mind that the Criminal Court of Appeals was created by
           statute, and is not a Constitutional Court. However, it is not such a court as
           was referred to in section 1 of said article 7, wherein such other courts,
           commissions, or boards inferior to the Supreme Court might be established by
           law.

           This court recognizes that under said section 1, art. 7, the Legislature might
           create courts inferior to the Supreme Court, and give such courts power to
           issue writs of habeas corpus and other extraordinary and remedial writs, but
           the Criminal Court of Appeals is not such a court as is referred to in the said
           section 1, but section 2 makes it a special court, with a special and a limited
           jurisdiction. That jurisdiction is by the Constitution itself fixed as purely
           appellate in criminal cases.

    State v. Davenport, 256 P. 340, 343 (Okla. 1927) (emphasis added).

           The OCCA’s powers to adjudicate appeals and the procedure for disposition of cases

    is set out in Okla. Stat. tit. 22, § 1066. The state court has the authority to reverse, affirm,

    modify, or order a new trial or re-sentencing, and after exercising that authority, the case is

    remanded to the trial court to execute on the OCCA’s mandate. Id. Upon issuance of its

    mandate, the OCCA’s jurisdiction in a particular case is extinguished. See Okla. Stat. tit. 20,

    § 44. The mandate in Mr. Hanson’s case issued on August 6, 2003, in effect restoring



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    jurisdiction in the Tulsa County District Court.

           It is of note that prior to issuing its mandate, the OCCA dismissed Mr. Hanson’s

    Original Application for Post Conviction Relief because the application was “mooted by the

    disposition of his direct appeal.” O.R. 1021. It appears, although through a semantic

    misstep, the OCCA acknowledged that it had lost jurisdiction over Mr. Hanson’s Original

    Capital Post-Conviction Application upon rendering its opinion in Hanson I. The issues in

    Mr. Hanson’s Original Application for Post Conviction Relief were not technically mooted.9

    Moot is defined as having no practical significance. B LACK’S L AW D ICTIONARY, 1024 (7th

    ed. 1999). Mr. Hanson’s application did not technically become moot, but rather, the OCCA

    lost its jurisdiction to consider the matter once Mr. Hanson’s death sentence was reversed.

           The mechanisms and procedures for filing post conviction applications in criminal

    cases are created by the Post Conviction Procedure Act, Okla. Stat. tit. 22, § 1080, et. seq.

    Section 1080 provides that persons situated such as Mr. Hanson “may institute a proceeding

    under this act in the court in which the judgment and sentence on conviction was imposed

    to secure the appropriate relief.” (emphasis added). Okla. Stat. tit. 22, § 1089 (2001) deals

    specifically with post conviction procedures in capital cases. Section 1089 provides the

    OCCA with original jurisdiction to review applications in capital cases, however, applying



           9
            The application contained guilt-innocence styled claims that were not mooted by the
    OCCA’s grant of a re-sentencing hearing. See Original Application for Post Conviction
    Relief, Propositions II & III, No. PCD-2002-628. (involving improper admission of
    handwriting evidence at guilt stage and trial court error for refusing to instruct the jury on
    second degree murder, respectively).

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    only to “a defendant who is under the sentence of death in one or more counts and whose

    death sentence has been affirmed or is being reviewed by the Court of Criminal Appeals.”

    (emphasis added). Mr. Hanson was not under the sentence of death at the time of the district

    court granting a new trial. Also, in the absence of a specific provision, the general provisions

    of Section 1080 control. Okla. Stat. tit. 22, § 1089 (D); Rojem v. State, 888 P.2d 528, 529

    (Okla. Crim. App. 1995); Duvall v. State, 871 P.2d 1386, 1389 (Okla. Crim. App. 1994).

    The plain language of the Post Conviction Procedure Act makes clear the trial court had

    proper jurisdiction to grant Mr. Hanson a new trial.

           The Rules of the Court of Criminal Appeals are in line with the statutes. Section IX

    of the rules deals specifically with appeals in capital cases. Okla. Stat. tit. 22, Ch. 18 Appx.,

    Rules of the Court of Criminal Appeals. Rule 9.1 defines capital cases as those “in which

    the death penalty has been imposed.” Rule 9.7 sets out the procedures to be followed in

    capital post-conviction cases, noting that applications shall be filed in accordance with Okla.

    Stat. tit. 22, § 1080, et. seq. Given the absence of a death sentence, the Oklahoma Court’s

    rules, and the plain language of the statutes, it was appropriate for trial counsel to file a post

    conviction application requesting a new trial in the state district court. The OCCA lacked

    jurisdiction to grant a writ of prohibition, as well as being inconsistent with the plain

    language of the statutes and its rules. See Bates v. United States, 522 U.S. 23, 29 (1997)

    (“[w]e ordinarily resist reading words or elements into a statute that do not appear on its

    face.”); Matson Nav. Co. v. U.S., 284 U.S. 352, 356 (1932) (“As the words of the section are



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    plain, we are not at liberty to add to or alter them to effect a purpose which does not appear

    on its face or from its legislative history.”); Ramah Navajo Chapter v. Lujan, 112 F.3d 1455

    (10th Cir. 1997) (“When the terms of the statute are clear and unambiguous, that language

    is controlling absent rare and exceptional circumstances.”).

           Mr. Hanson’s Constitutional right to Due Process was violated by the OCCA’s

    granting of the State’s Writ of Prohibition. The misapplication of state law, which results

    in the deprivation of a liberty interest, violates the Fourteenth Amendment and is, therefore,

    cognizable in habeas corpus. See Hicks v. Oklahoma, 447 U.S. 343, 346 (1980); Ballard v.

    Estelle, 937 F.2d 453, 456 (9th Cir. 1991). The Tulsa County District Court properly granted

    Mr. Hanson a new trial. Mr. Hanson respectfully requests this Court grant the Writ,

    reversing his conviction and sentence.

           II.    There Is a Reasonable Probability That Co-defendant Miller’s
                  Confession Would Have Changed the Outcome at the Guilt and
                  Sentencing Stages of Trial.

           Although utilizing the incorrect standard of review, the OCCA reached the merits of

    this issue in denying Mr. Hanson’s Application for Post Conviction Relief. Hanson v. State,

    No. PCD-2006-614, p. 5. Based on its incorrect determination that the trial court was

    without jurisdiction to grant a new trial, the OCCA conducted de novo review to determine

    whether the newly discovered evidence of co-defendant Miller’s confession to the Bowles

    murder warranted granting Mr. Hanson a new trial. Id. Because the trial court had proper

    jurisdiction to grant a new trial, the OCCA’s review should have been constrained by an



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    abuse of discretion standard of review. See Fisher v. State, 206 P.3d 607, 610 (Okla. Crim.

    App. 2009) (noting trial court’s findings reviewed only for an abuse of discretion). Mr.

    Hanson’s Constitutional right to Due Process was violated by the OCCA’s application of the

    wrong standard of review. See Hicks v. Oklahoma, 447 U.S. 343. Further, under either

    standard, Mr. Hanson should have received a new trial.

             In Oklahoma, in order to determine if a criminal defendant is entitled to a new trial,

    a court considers the following factors “(1) whether the evidence is material; (2) whether the

    evidence could not have been discovered before trial with reasonable diligence; (3) whether

    the evidence is cumulative; and (4) whether the evidence creates a reasonable probability

    that, had it been introduced at trial, it would have changed the outcome.” Hanson v. State,

    No. PCD-2006-614, p. 5 (citing Ellis v State, 867 P.2d 1289, 1303 (Okla. Crim. App. 1992)).

    Trial Judge Wall considered exactly these factors when ordering Mr. Hanson receive a new

    trial:

             The evidence was a material fact that had not previously been presented and
             heard. It could not have been discovered with reasonable diligence by the
             Petitioner or his lawyer before trial. The evidence is not cumulative. The
             evidence creates a reasonable probability that, had it been introduced at trial,
             it would have changed the outcome. The newly discovered evidence entitles
             the Petitioner to a new trial.

    O.R. 1353, Order Granting Application for Post-Conviction Relief. Judge’s Wall’s findings

    were not unreasonable, and if the OCCA had reviewed for an abuse of discretion, her grant

    of a new trial should have been affirmed.

             The OCCA agreed that the second and third Ellis factors were satisfied by the

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    discovery of co-defendant Miller’s confession, therefore limiting its review to whether the

    confession was material and if there was a reasonable probability it would have changed the

    outcome of Mr. Hanson’s original trial. Hanson v. State, No. PCD-2006-614, p. 5-6. The

    OCCA did not specifically address the materiality of the evidence, but must have implicitly

    found Miller’s confession material because it proceeded with some semblance of analysis as

    to whether the fourth Ellis factor was satisfied.

           After construing the evidence to support a malice murder conviction for Mr. Hanson

    even if co-defendant Miller was Bowles’ triggerman, the OCCA held “no reasonable jury

    would find Hanson guilty of anything other than First Degree Malice Aforethought murder

    for the death of Mary Bowles.” Hanson v. State, No. PCD-2006-614, p. 8. The OCCA’s

    bold statement is simply not supported. Instead of considering what weight and significance

    a jury may have given to Miller’s confession, thereby answering the inquiry of whether there

    was a reasonable probability of a different outcome, the state court usurped the jury’s role.

    If Hanson wasn’t Bowles’ triggerman, the possibility of a malice murder conviction is not

    ruled out; however, if Miller was the shooter, as he himself proclaimed, then there must be

    a reasonable probability that a jury could have found Mr. Hanson guilty of felony murder.

           Given the jury’s conviction and sentencing determinations at Mr. Hanson’s original

    trial, Trial Judge Wall was quite understandably concerned by the import of co-defendant

    Miller’s confession. See O.R. 1716, Capital Felony Report of the Trial Judge. At the

    original trial, Mr. Hanson was found guilty of the felony murder of Jerald Thurman and



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    received a life without parole sentence for that crime. It reasonably follows that Mr. Hanson

    would have received a non-death sentence for the felony murder of Mary Bowles.

           Under state law, Mr. Hanson was entitled to a new trial when he learned of co-

    defendant Miller’s confession. Mr. Hanson’s rights to Due Process and a fundamentally fair

    trial under the Fifth, Sixth, Eighth, and Fourteenth Amendments have been violated and he

    respectfully requests this Court grant the Writ.

                                        GROUND THREE

           MR. HANSON RECEIVED INEFFECTIVE ASSISTANCE OF
           COUNSEL AT TRIAL AND ON APPEAL, THEREBY VIOLATING
           HIS RIGHTS UNDER THE SIXTH AND FOURTEENTH
           AMENDMENTS OF THE UNITED STATES CONSTITUTION.

           Mr. Hanson is guaranteed the right to the effective assistance of counsel by the Sixth

    Amendment to the United States Constitution as incorporated against the States through the

    Fourteenth Amendment. Strickland v. Washington, 466 U.S. 668 (1984). The venerable

    framework by which Petitioner must demonstrate his ineffective assistance of counsel claims

    is: (1) defense counsel’s performance was deficient; and (2) Petitioner was prejudiced as

    result of the deficient performance. Id. at 687. Mr. Hanson makes both showings. In this

    case, counsel made several errors, thus calling into question the reliability of the resulting

    death sentence. Counsel’s performance was deficient for failing to call a crucial witness who

    could have undermined the State’s theory of the case; failing to adequately preserve the

    confrontation clause claim discussed in Ground One, supra; failing to object to instances of

    prosecutorial misconduct; failing to investigate and present available mitigation witnesses;

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    and failing to present evidence of serious mental illnesses and brain damage.10 As will be

    borne out below, but for prior counsel’s unprofessional errors, there is a reasonable

    probability that Mr. Hanson would not have been sentenced to death. Strickland, 466 U.S.

    at 694.

              I.     Trial Counsel Failed to Call Critical Witness, Ahmod Henry, in its Case
                     in Chief.

              While incarcerated together at David L. Moss Correctional Facility, co-defendant

    Victor Miller revealed to Ahmod Henry that Miller had in fact “shot the bitch.” TR. 1492-

    93. Henry further explained that Miller told him “I shot her.” Id. at 1493. Henry’s

    statements were revealed during cross-examination of State’s witness Detective Michael

    Nance.

              Prior to Detective Nance’s testimony, there had been much argument by the parties

    as to whether Ahmod Henry’s statement was inadmissable as hearsay and whether Detective

    Nance could testify as to the content of the statement. The trial court ultimately ruled that

    Miller’s confession to Ahmod Henry met the statutory requirements of Okla. Stat. tit. 12, §

    2804 (B)(3) (2001) as a “statement against interest.” The court specifically ruled:

              Certainly, he was facing his own interests at that point, and the making of that
              statement would be against his interests. Since the statement is coming from
              the government’s own investigators and I have no reason to indicate that it’s
              not trustworthy, because of the specific facts that are involved and especially
              the facts surrounding the eliciting of the statement and the taking of the



              10
              Appellate counsel was additionally ineffective for failing to raise trial counsel’s
    ineffectiveness for failing to investigate and present significant mental health evidence.

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           statement and the follow-up investigation on the statement, I will find it is
           admissible in this case.

    TR. 1143. The fight was still on as to whether Henry’s statement could be elicited during the

    cross-examination of Detective Nance as meeting the corroboration requirements of Okla.

    Stat. tit. 12, § 2805 (2001) for “hearsay within hearsay.” Id. at 1145-46. However, this issue

    was mooted when Detective Nance stated he had not received any information in August of

    2003 that someone other than Mr. Hanson had killed Marry Bowles. TR. 1489-90. Detective

    Nance thereby opened the door to be impeached with contents of his report detailing Miller’s

    confession to Ahmod Henry that Miller had killed Mary Bowles.

           In order to attack Ahmod Henry’s credibility, Detective Nance called him a liar and

    claimed that a “murder case” had been dismissed as result of Henry’s “work.” Id. at 1493,

    1495. Despite these accusations, trial counsel did not call Ahmod Henry as a witness during

    the defense’s case-in-chief. In addition to the trial court’s finding Henry’s statement to be

    credible and corroborated, trial counsel was aware that Henry had been re-interviewed by

    the District Attorney’s Office and had continued to maintain his original position. TR. 1138,

    1141-43. Strangely, trial counsel made the bold assertion that he preferred Henry’s statement

    to come in through Detective Nance because “there’s no telling what [Ahmod Henry] will

    do. He’s a long-time crook and known for getting funny notions.” TR. 1467-68. Even

    though Henry was readily accessible and in-custody at the Tulsa County Jail, trial counsel

    never even interviewed him to ascertain whether Henry would testify consistently with his

    previous statements. TR. 1146, 1149.

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           In addressing this claim, the OCCA held:

           Introducing Henry’s statement through Detective Nance allowed the defense
           to introduce evidence of Miller’s statement to Henry without Henry being
           subject to cross-examination. Arguably this was the best of all possibilities for
           Hanson since Henry had credibility problems and was known for being
           unreliable. Defense counsel made a sound strategy decision not to call Henry
           and we will not second guess it.

    Hanson v. State, 206 P.3d 1020,1032 (Okla. Crim. App. 2009). The OCCA’s determination

    is both an unreasonable application of clearly established federal law, and is an unreasonable

    determination of the facts in light of the evidence presented at Mr. Hanson’s re-sentencing.

    See 28 U.S.C. § 2254 (d)(1), (d)(2). The Supreme Court has recognized that both prongs of

    section 2254 can be offended when a state court makes the determination some act or

    omission of counsel was sound strategy. Wood v. Allen, 558 U.S. _, 130 S.Ct. 841, 851

    (2010). “Whether the state court reasonably determined that there was a strategic decision

    under § 2254 (d)(2) is a different question from whether the strategic decision itself was a

    reasonable exercise of professional judgment under Strickland or whether the application of

    Strickland was reasonable under § 2254 (d) (1).” Id. (emphasis added).

           The state court decision is unreasonable in light of clearly established law. While the

    OCCA identified the correct legal standard in denying Petitioner’s claim, that standard was

    unreasonably applied to the facts of this case. See Williams v. Taylor, 529 U.S. 362, 406

    (2000). It is true that counsel is generally afforded wide latitude in making tactical decisions,

    and there is a presumption that such tactical decisions be considered sound trial strategy.

    Strickland, 466 U.S. at 689-90. However, trial counsel’s so-called strategy could have been

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    by no means a reasonable exercise of professional judgment. See Wilson v. Sirmons, 536

    F.3d 1064, 1132 (10th Cir. 2008) (citing Fisher v. Gibson, 282 F.3d 1283, 1296 (10th Cir.

    2002) (holding strategic judgments are not reasonable unless backed by a reasonable

    investigation); accord Hooper v. Mullin, 314 F.3d 1162, 1170-71 (10th Cir. 2002). Trial

    counsel failed to even interview Ahmod Henry. There was no basis to conclude one way or

    the other if Henry was going to be a dangerous witness who was not worth calling in the

    defense case-in-chief.

           The OCCA’s factual finding that “counsel made a sound strategy decision” is an

    unreasonable determination of the facts. Hanson, 206 P.3d at 1032; 28 U.S.C. § 2254 (d)(2).

    Here, the record supports the finding that trial counsel did not call Ahmod Henry to the stand;

    however, the record does not support the fact that this decision was the product of strategy

    or tactical considerations. The Supreme Court has counseled that a strategic decision must

    be the result of deliberation, investigation, a reasoned choice between alternatives, and the

    like. The Court explained in Wiggins v. Smith:

           The record of the actual sentencing proceedings underscores the
           unreasonableness of counsel’s conduct by suggesting that their failure to
           investigate thoroughly resulted from inattention, not reasoned strategic
           judgment.

                                                ***

           When viewed in this light, the “strategic decision” the state courts and
           respondents all invoke to justify counsel’s limited pursuit of mitigating
           evidence resembles more a post hoc rationalization of counsel’s conduct than
           an accurate description of their deliberations prior to sentencing.



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    539 U.S. 510, 526-27 (2003). See also Strickland, 466 U.S. at 690-691; Anderson v.

    Sirmons, 476 F.3d 1131, 1145-46 (10th Cir. 2007).

           Here, trial counsel neglected to interview Ahmod Henry before deciding not to present

    him as a witness. Trial counsel had in front of him a transcribed recording of a police

    interview in which Henry reported Miller’s confession, a report of a follow-up interview

    conducted by Tulsa Co. District Attorney Tim Harris in which Henry maintained his position

    about Miller’s confession, and lastly Detective Nance’s testimony that Henry was a “liar.”

    Despite knowing Henry gave the same statement on two separate occasions during law-

    enforcement questioning, apparently without being promised any recompense, and the trial

    court’s determination that the statement appeared reliable, counsel did not interview him.

    Surely a reasonable investigation would have included interviewing Henry at least as to

    Detective Nance’s allegations when he was conveniently available in the county jail at the

    time of trial. TR. 1138, 1141-43. There simply was no strategic decision not to call Ahmod

    Henry as a witness so that his statement could have been admitted as substantive evidence.

           Without conducting any investigation, counsel’s decision not to call Henry could not

    have been strategic, nor could this decision be considered reasonable. Henry was a critical

    mitigation witness. The outcome here hinged largely on which informant was more credible,

    Ahmod Henry or Rashad Barnes.11 Henry’s testimony would have discredited Rashad



           11
              Given the jury’s imposition of a non-death sentence for the felony murder of Gerald
    Thurman, it reasonably follows that Mr. Hanson would not have been re-sentenced to death
    if his jury had doubts as to whether Mr. Hanson actually shot Mary Bowles.

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    Barnes’ story as well as countered Detective Nance’s assertions that he was a liar. But for

    counsel’s failure to call Ahmod Henry, there exists a reasonable probability that Mr. Hanson

    would not have been sentenced to death.

           The OCCA’s rationale conflicts with clearly established federal law as well as the

    record at trial. Petitioner respectfully requests the Writ issue.

           II.     Trial Counsel Failed to Raise Available Grounds in Objecting
                   to the Introduction of Rashad Barnes’ Transcript Testimony.

           The admission of Rashad Barnes transcript testimony violated Mr. Hanson’s rights

    under the Confrontation Clause of the Sixth Amendment. See Ground One, supra. When

    making his argument to the court that his prior opportunity to cross examine Barnes at Mr.

    Hanson’s original trial was inadequate, trial counsel inexplicably failed to inform the court

    that co-defendant Miller’s testimony at Miller’s own trial served as an additional basis to

    question the reliability of Barnes’ prior testimony. Trial counsel vehemently argued that the

    newly discovered statement from Ahmod Henry prevented admission of Barnes’ prior

    testimony; however, trial counsel specifically stated there was no additional basis for his

    objection. Mot. TR. 1-4-06, 18, 21; TR.1344-46.

           On direct appeal, the OCCA held “[d]efense counsel’s decision against presenting

    evidence of Miller’s trial testimony appears reasonable and strategic.” Hanson, 206 P.3d at

    1032. Habeas relief is warranted because the state court’s rationale was based on an

    unreasonable determination of the facts. See 28 U.S.C. §2254 (d)(2). There was no strategy

    on the part of trial counsel in failing to object on this basis at trial. Att. 1, Affidavit of Jack

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    E. Gordon, Jr.

           Victor Miller’s testimony at his 2002 trial provided ample impeachment material not

    known at the time of Petitioner’s original opportunity for cross-examination. However, trial

    counsel was unable to apprise the court of co-defendant Miller’s testimony and how it

    contradicted Barnes’ testimony. Trial counsel explains his omission:

           I did not inform the trial court of co-defendant Miller’s testimony as a basis for
           objecting to the admission of Mr. Barnes’ prior testimony. I had no strategic
           reason for this omission. I was not aware of the content of Mr. Miller’s
           testimony, nor had I reviewed the transcripts from his trial.

    Att. 1, ¶ 12. At a minimum, had trial counsel been familiar with Miller’s testimony, he

    would have been aware that Miller had been to Barnes’ house several times; weapons used

    in the robberies belonged to Barnes and were kept at Barnes’ house; and Miller claimed it

    was Barnes who participated in the homicides at issue. Miller, 98 P.3d at 742. In fact, in

    describing Barnes’ testimony, the OCCA stated, “Hanson’s confession to Barnes was the

    most critical evidence in the State’s case.” Id. at 748. Trial counsel would have informed

    the trial court of co-defendant Miller’s testimony had he been aware of it. Att. 1, ¶ 13. There

    is a reasonable probability had Barnes’ prior testimony not been admitted, Mr. Hanson would

    not have been sentenced to death.

           Given his aggressive presentation of the issue, it doesn’t follow that Mr. Gordon

    would simply decline to advise the trial court of extremely significant impeachment material

    that implicated Barnes in the commission of the offenses at issue. Constitutionally adequate

    counsel would have been aware of a co-defendant’s statements and would certainly have

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    gone to the trouble of at least reviewing the trial transcripts of the co-defendant’s testimony.

           Rashad Barnes testimony was critical and the strongest piece of evidence inculpating

    Mr. Hanson as the shooter of Mary Bowles. But for counsel’s failure to apprise the court of

    co-defendant Miller’s testimony, which called into question the story of Rashad Barnes, there

    is a reasonable probability that Barnes’ transcript testimony would not have been admitted

    as evidence and Mr. Hanson would not have been sentenced to death. Petitioner respectfully

    requests the Writ issue.

           III.   Trial Counsel Failed to Object to Instances of Prosecutorial
                  Misconduct.

           Counsel failed to lodge objections to numerous instances of prosecutorial misconduct.

    As discussed in Ground Four, the prosecution engaged in gross acts of misconduct, most

    notably during closing arguments. The State improperly invoked sympathy for the victims,

    argued facts not in evidence, inappropriately vouched for the credibility of Rashad Barnes,

    misled the jury about the proof necessary to establish the great risk of death aggravating

    circumstance, and made improper appeals for civic justice.

           On direct appeal, the OCCA held as to the un-objected comments “Hanson was not

    prejudiced by any of them. Clearly then, he cannot show that the outcome of his re-

    sentencing trial would have been different had counsel objected.” Hanson, 206 P.3d at 1032.

    First, as demonstrated in Ground Four, infra, Mr. Hanson was in fact prejudiced by the

    State’s misconduct. Second, the state court’s holding is contrary to clearly established

    federal law in that it does not comport with Strickland. See 28 U.S.C. § 2254 (d)(1).

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             Mr. Hanson need not affirmatively “show that the outcome of his resentencing trial

    would have been different.” Hanson, 206 P.3d at 1032. Instead, the Constitutional inquiry

    is whether a reasonable probability exists that the outcome of the proceeding would have

    been different. Strickland, 466 U.S. at 694. This precise analytical error made by the OCCA

    was contemplated by the Supreme Court:

             A state-court decision will certainly be contrary to our clearly established
             precedent if the state court applies a rule that contradicts the governing law set
             forth in our cases. Take, for example, our decision in Strickland v.
             Washington. If a state court were to reject a prisoner’s claim of ineffective
             assistance of counsel on the grounds that the prisoner had not established by
             a preponderance of the evidence that the result of his criminal proceeding
             would have been different, that decision would be “diametrically different,”
             “opposite in character or nature,” and “mutually opposed” to our clearly
             established precedent because we held in Strickland that the prisoner need only
             demonstrate a “reasonable probability that ... the result of the proceeding
             would have been different.”

    Williams v. Taylor, 529 U.S. 362, 405-06 (2000) (internal citations omitted). Here, the

    OCCA has triggered the contrary to provision of AEDPA by doing what the Williams Court

    envisioned, applying a standard diametrically opposed to that articulated by the Supreme

    Court.

             Trial counsel’s performance was deficient in failing to object to the misconduct, and

    Mr. Hanson was prejudiced as result of counsel’s omission. Petitioner respectfully requests

    the Writ issue.

             IV.    Trial Counsel Failed to Investigate and Present Available
                    Mitigation Witnesses.




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           Trial counsel’s mitigation presentation was shockingly brief.12 Counsel seemingly put

    all of his eggs in one basket by presenting Dr. Jeanne Russell solely for the purpose of

    rebutting the continuing threat aggravating circumstance. As demonstrated by appellate

    counsel, there was a wealth of mitigating evidence from multiple relatives and acquaintances

    who could have testified on Mr. Hanson’s behalf. See Application for Evidentiary Hearing

    on Sixth Amendment Claim, Case No. D-2006-126 (Aug. 28, 2007).

           Trial counsel’s mitigation presentation consisted of only calling three of Mr. Hanson’s

    in-laws and his 10 year-old son. The scope of these witnesses’ testimony was that Mr.

    Hanson was a good person, a good father, they loved him, and hoped he would be spared

    from execution. While this presentation was somewhat mitigating, trial counsel failed to

    humanize Mr. Hanson by demonstrating that he was an individual separate and apart from

    his crimes. Had counsel conducted a thorough and adequate mitigation investigation, he

    would have had a compelling mitigation case to present on Mr. Hanson’s behalf, which could

    have persuaded the jury to impose a non-death sentence.

           On direct appeal, the OCCA declined to grant relief on the basis of trial counsel’s

    inadequate mitigation presentation. The OCCA’s rationale was:

           We cannot find a strong possibility that trial counsel was ineffective for failing
           to use these witnesses. Nor are we persuaded that presenting additional
           character evidence of the same type would have changed the outcome of the



          12
            With the exception of expert Dr. Jeanne Russell, only 4 mitigation witnesses were
    presented during Mr. Hanson’s case-in-chief, totaling 35 transcript pages. O.R. 1778-1813.


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           trial. Hanson’s application for an evidentiary hearing is denied and his claim
           of ineffective assistance of counsel is rejected.

    Hanson, 206 P.3d 1020, 1032. The state court’s disposition is an unreasonable application

    of and contrary to clearly established federal law. 28 U.S.C. § 2254 (d)(1), (d)(2). As an

    initial matter, it appears the OCCA required Mr. Hanson to affirmatively prove that

    additional mitigating evidence “would have changed the outcome of the trial.” Hanson, 206

    P.3d at 1032. However, the Constitutional inquiry is whether a more thorough mitigation

    investigation and presentation would have created a reasonable possibility that Mr. Hanson

    would have received a sentence less than death. Strickland, 466 U.S. 668, 687 (1984).

           The Supreme Court has recognized time and again the importance and necessity of

    adequate mitigating evidence in capital cases. See Eddings v. Oklahoma, 455 U.S. 104

    (1982); Lockett v. Ohio, 438 U.S. 586 (1978); see also Romano v. Gibson, 239 F.3d 1156,

    1180 (10th Cir. 2001). Likewise, the Court has held that capital trial counsel is expected to

    thoroughly investigate and present a mitigation case. Williams v. Taylor, 529 U.S. 362, 396-

    99 (holding trial counsel’s failure to present and explain all of the available evidence

    constituted deficient performance); Wiggins v. Smith, 539 U.S. 510, 527-28 (2005)

    (determining trial attorney rendered ineffective assistance where he had conducted some

    investigation, but not a thorough and adequate mitigation investigation); Rompilla v. Beard,

    545 U.S. 374, (2005) (noting deficient performance where defense counsel failed to review

    prosecutor’s file that would have led to discovery of sources of significant mitigation);

    Porter v. McCollum, 558 U.S. __ , 130 S.Ct. 447, 452-53 (2009) (reversing death sentence

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    where penalty phase counsel failed to investigate character and background of defendant);

    Sears v. Upton, 561 U.S. __, 130 S.Ct. 3259 (2010) (holding defendant prejudiced as result

    of facially inadequate mitigation investigation).

           Here, trial counsel’s mitigation investigation was severely deficient because he failed

    to investigate and ultimately present powerful mitigating evidence. Of the four mitigation

    witnesses who testified on Mr. Hanson’s behalf, only his son Marquelle was an immediate

    family member. Certainly, the jury as well as Mr. Hanson could have benefitted from

    hearing some of his blood relatives and acquaintances describe his character and background.

    In his Application for Evidentiary Hearing on Sixth Amendment Claim, Mr. Hanson provided

    the OCCA with thirteen (13) affidavits of family members, relatives, and acquaintances who

    could have testified on his behalf. Most notable were the powerful affidavits from immediate

    family members: Charlotte Ward (mother), Stephen Hanson (brother), and Charmyn Clariett

    (sister). It is inexplicable why trial counsel did not include these peoplewho knew Mr.

    Hanson best in his mitigation presentation. This available mitigation could have compelled

    a jury to spare Mr. Hanson’s life.

           Mr. Hanson is aware that counsel is not Constitutionally required to present all

    available mitigating evidence; however, counsel must humanize and individualize his client

    by presenting the “fullest information possible” such that this Court must “scrutinize

    carefully any decision by counsel which deprives a capital defendant of all mitigation

    evidence.” Mayes v. Gibson, 210 F.3d 1284, 1288 (10th Cir. 2000). Here, counsel had no



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    reasonable basis for failing to present and/or adequately investigate Mr. Hanson’s case in

    mitigation. Powerful and compelling mitigation evidence was readily accessible.

           For example, Mr. Hanson’s older brother, Stephen, could have explained how John

    was his younger brother, a follower, and how he looked up to Stephen. Att. 2, Affidavit of

    Stephen Hanson (Nov. 5, 2010). Mr. Hanson’s parents were often not around and left

    Stephen, as the oldest, in charge. Id. at ¶ 2. Father Elmer Hanson was a long distance truck

    driver and Mother Charlotte Hanson worked full time. Id. Mr. Hanson and his brother were

    both devastated by their father’s death. Id. at ¶ 6. Stephen could have also explained how

    co-defendant Miller was once his cellmate, how Miller was dangerous, and how John was

    susceptible to being misled by people like Miller. Id. at ¶ 8.

           Mr. Hanson’s cousin could have confirmed what Stephen Hanson had to say and

    importantly revealed that Stephen was himself a poor role model who shaped Mr. Hanson’s

    life for the worst. Att. 3, Declaration of Marsha Hollingsworth (Nov. 14, 2010). Mrs.

    Hollingsworth relates:

           Watching John grow up, I realized he was a follower and not a leader. Others,
           especially his brother Steve, could get him to do things he wouldn’t have done
           on his own. Sometimes I’d have to tell John not to be listening to Steve - he
           didn’t have any business running anybody.

                                               ***

           Steve had gone out to California in the early 1980’s and found out about the
           Crips gang. When Steve came back to Tulsa he had blue bandanna tied around
           his head, and started the Crips gang there.

                                                ***

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           Uncle Elmer took care of everything for John and Steve. When Elmer died,
           they had no idea how to fend for themselves or even how to put in a day’s
           work. I think John and Steve got caught up in crime because they had no skills
           or other means of supporting themselves.

    Att. 3, ¶¶ 10, 14, 12. This is exactly the sort of information that could have humanized and

    explained Mr. Hanson to his jury.

           Mr. Hanson’s mother’s best friend, Marilyn Wright, could have explained the difficult

    circumstances inside the Hanson household. Att. 4, Affidavit of Marilyn Wright (Nov. 5,

    2010). John had a very difficult time with his parent’s divorce about the time he was ten (10)

    years old. Id. at ¶ 3. John bore the brunt of a heated rift between his mother and paternal

    grandmother, Flossie Hanson. Id. at ¶ 4. Flossie would treat John poorly and made up

    stories about how he wasn’t really his father’s child. Id. With Elmer Hanson often on the

    road with his work, Charlotte was at a loss when it came to parenting, often having Marilyn

    Wright come over to resolve mundane situations. Id. at ¶ 5. Because of the various troubles

    at home, John felt unloved. Id. at ¶ 7. Another cousin, Sylvia Ann Waldon, could have also

    explained and given examples of the dynamic in the Hanson Family, including John’s poor

    treatment by his grandmother and the devastating effect Elmer’s death had on John. Att. 5,

    Declaration of Sylvia Ann Waldon (Oct. 28, 2010).

           In the context of this case, a re-sentencing trial, counsel’s greatest concern should

    have been presenting Mr. Hanson’s case for life. Counsel should have presented the

    strongest mitigation case possible, yet failed to do so. Mr. Hanson was prejudiced as a result.



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    Petitioner respectfully requests this Court issue the Writ.

           V.     Appellate Counsel Was Ineffective for Failing to Raise Trial
                  Counsel’s Ineffectiveness in Neglecting to Present Evidence of
                  Mental Illness and Brain Damage.

           Mr. Hanson suffers from multiple mental illnesses and brain dysfunction; however,

    his jury was never able to weigh any of these factors in mitigation because of the ineffective

    assistance of trial counsel, direct appeal counsel, and ostensibly post-conviction counsel.13

    Under the bi-pronged Strickland analysis, prior counsels’ performance was both

    professionally unreasonable and prejudicial. 466 U.S. 668. Counsels’ failures to raise this

    issue was not reasonable or strategic.

           Mr. Hanson has been diagnosed with four types of major mental illness and a

    personality disorder:   Dysthymia, Major Depressive Disorder, Post Traumatic Stress

    Disorder, Cognitive (brain) Disorder, and Paranoid Personality Disorder, respectively. Att.6,

    pp. 1, 10-11, Psychiatric Evaluation Conduced by Dr. Donna Schwartz-Watts; Att. 7,

    Curriculum Vitae of Dr. Schwartz-Watts. Dr. Schwartz-Watts diagnoses are compelling

    mitigation evidence that could have been presented at the time of re-sentencing if appropriate

    experts had been consulted. Id. at 7, 14. A psychiatrist such as Dr. Watts could have

    explained to Mr. Hanson's jury how he is genetically predisposed to developing mental



           13
             In addition to counsels’ deficiencies being independent constitutional violations,
    assuming arguendo Respondent claims procedural default or some variant thereof bars
    presentation of this claim, counsels’ ineffective assistance below may serve as cause to
    overcome any default. See Murray v. Carrier, 477 U.S. 478, 488-89 (1986); see also
    Preliminary Statement Concerning Procedural Default, infra.

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    illness, and how:

           Mr. Hanson was suffering from depression at the time of his offenses. He was
           homeless and had no social supports. Persons with depression can be irritable,
           impulsive, and use poor judgment. His cognitive disorder was also present at
           the time of his offense and would have contributed to his impulsivity and poor
           judgment.

    Id. at 1, 11, 14. In addition to Dr. Schwarts -Watts, long-time friend and roommate Tremaine

    Wright confirms Mr. Hanson's conditions including depression:

           John got really depressed. He would talk about suicide and how he felt no one
           cared about him. John slept a lot, sometimes for two days straight. I can
           remember him getting up, going to the bathroom, taking a shower, then going
           right back to sleep.

    Att. 8, ¶ 9, Affidavit of Tremaine Wright (Nov. 5, 2010). Mr. Wright also observed Mr.

    Hanson's chronic headaches which are signs of cognitive dysfunction. Id. at ¶ 11. Despite

    the availability of this powerful mitigating material that could have humanized Mr. Hanson

    and reduced his level of culpability in the eyes of the jury, it was not presented at his

    re-sentencing.

           The United States Supreme Court in its last term addressed a strikingly similar

    situation in finding attorneys Constitutionally ineffective for failing to adequately investigate

    a capital client’s mental health and cognitive impairments. See Sears v. Upton, 561 U.S. __,

    130 S.Ct. 3259 (2010). In addition to cognitive impairments, Mr. Sears shares similar traits

    with Mr. Hanson: “grandiose self-conception and . . . magical thinking;” “Sear’s brother . .

    . introduced Sears to a life of crime”; and “diminished judgement and reasoning skills.” Id.,

    130 S.Ct. at 3263-64.      Unfortunately, like Mr. Hanson, Mr. Sears trial and appellate

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    attorneys failed to investigate his mental health and cognitive issues.

           In finding Sears’ counsel ineffective, the Supreme Court re-emphasized that

    Constitutionally adequate counsel must conduct such investigations in a capital case:

           This point is plain in Williams: We rejected any suggestion that a decision to
           focus on one potentially reasonable trial strategy [] was “justified by a tactical
           decision” when “counsel did not fulfill their obligation to conduct a thorough
           investigation of the defendant’s background.” 529 U.S., at 396.

                                                 ***

           Moreover, the reasonableness of the theory is not relevant when evaluating the
           impact of evidence that would have been available and likely introduced, had
           counsel completed a constitutionally adequate investigation before settling on
           a particular mitigation theory.

    Sears, 130 S.Ct. at 3265 n. 10. The Court in Sears further explained that when conducting

    Strickland’s prejudice inquiry in instances such as Mr. Hanson’s a reviewing court must

    “consider the totality of the available mitigation evidence – both that adduced at trial, and the

    evidence adduced in the habeas proceeding – and reweig[h] it against the evidence in

    aggravation.” Id. at 3266 (citing Porter v. McCollum, 130 S.Ct. 447, 453-54). Mr. Hanson’s

    mental illnesses and cognitive disorder are powerful mitigating evidence of which his jury

    should have been apprised.

           Trial counsel was ineffective for failing to conduct an adequate mental health

    investigation. While Dr. Jeanne Russell Ed.D. was retained for the limited purpose of

    rebutting the continuing threat aggravating circumstance alleged by the State, her services

    did not obviate the need for additional mental health investigation. In fact, Dr. Russell’s



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    Social History - Risk Assessment report completed on December 31, 2004, raised multiple

    red flags that trial counsel should have noticed. See Att. 9, Report of Dr. Jeanne Russell.

    Dr. Russell’s report was filled with strong indicators of mental health disorders:

           . . . [Mr. Hanson] has difficulty staying on tasks with circumstantial speech.
           Mr. Hanson’s content of thought focuses on global problems rather than those
           of immediate concern such as his case. He spends a good deal of time testing
           this examiner to ensure she understands his concerns and point of view in
           relation to the world. He is guarded and acknowledges he trusts no one,
           believing most people mean him harm or fail to understand the world as it
           really is.

           . . . At the very least he exhibits paranoid thoughts which impair his ability
           to trust anyone. He denies homicidal or suicidal ideation and there is no
           evidence of hallucinations. Judgment and insight are poor as evidenced by
           his unwillingness or difficulty in focusing on his defense in this case.

                                                 ***

           He endorsed a number of extreme and bizarre thoughts, suggesting the
           presence of delusions and/or hallucination. He apparently believes that he
           has special mystical powers or a special “mission” in life that others do not
           understand or accept.

                                                 ***

           Mr. Hanson recalls feeling depressed and wanting to die for several years
           following his father’s death. The Wards believe he was mistreated
           emotionally by his father and his paternal grandmother as they believe his
           older brother was clearly favored.

                                                 ***

           . . . These results suggest he has the ability to use his intellectual reasoning to
           problem solve unless impaired by psychological problems. Psychological
           testing suggests he is experiencing low morale and a depressed mood. It
           further suggests he feels estranged and alienated from people and is suspicious
           of the actions of others.

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           It is important to note that Mr. Hanson has not been previously diagnosed with
           a mental illness nor does he believe he suffers from any such illness. This
           cannot be ruled out at this time and if present does not rise to the level of
           impairing his ability to appreciate the serious nature of his charge or to work
           with his attorney in mounting a defense.

    Att. 9, pp. 5, 6, 10, 11 (emphasis added). Trial counsel failed to recognize the above red

    flags. Att. 1, Affidavit of Jack E. Gordon, Jr., ¶ 5.

           After receiving Dr. Russell’s report, Mr. Gordon did not pursue “additional testing or

    retain another expert to conduct a general psychological/psychiatric examination or a

    neuropsychological examination.” Id. at ¶ 6. Further, Mr. Gordon had no strategic reason

    for not conducting additional mental health investigation. Id. Mr. Gordon recognizes the

    significance of presenting mental health evidence as part of a mitigation case and would have

    certainly presented such evidence to Mr. Hanson’s jury had he conducted an adequate

    investigation. Id. at ¶¶ 7, 8.

           Appellate counsel was ineffective for failing to recognize trial counsel’s

    ineffectiveness and ultimately failing to raise an appropriate claim in Mr. Hanson’s direct

    appeal proceedings. Attorney Jamie D. Pybas prepared both of Mr. Hanson’s direct appeals.

    Att. 10, ¶ 1, Affidavit of Jamie D. Pybas.              Ms. Pybas considered retaining a

    neuropsychologist to examine Mr. Hanson during the course of preparing his appeal in

    Hanson I. Id. at ¶ 2.

           The process for retaining experts at the Oklahoma Indigent Defense System (“OIDS”)

    is somewhat complex and likely contributed to counsels’ failures to ever retain an appropriate

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    professional or otherwise adequately investigate Mr. Hanson’s mental health issues. See Id.

    at ¶¶ 3-8. While preparing the appeal in Hanson I, Attorney Pybas consulted OIDS in-house

    Head of Psychological Services, Kathy LaFortune, Ph.D. Ms. LaFortune declined to approve

    the use of a neuropsychologist in Mr. Hanson’s case. Id. at ¶ 6. Ms. LaFortune’s negative

    recommendation was based upon a “screening” examination of Mr. Hanson, which she

    conducted prior to his 2001 trial at the request of trial attorney, Jack Gordon. Id. at ¶¶ 3, 6.

           Because Ms. LaFortune was involved in Mr. Hanson’s case at both the trial and direct

    appeal levels, Mr. Hanson did not have independent appellate counsel who was in a position

    to raise a trial counsel ineffectiveness claim for not investigating and presenting this strong

    mental health evidence. Functionally, with respect to this issue, Mr. Hanson’s trial and

    appellate counsel were the same. The Supreme Court and the Tenth Circuit Court of Appeals

    have both recognized the practical problems created when trial and appeal counsel are not

    independent. See Kimmelman v. Morrison, 477 U.S. 365 (1986); Cannon v. Mullin, 383 F.3d

    1152, 1173 (10th Cir. 2004). English v. Cody, 146 F.3d 1257 (10th Cir. 1998). Here,

    Attorney Pybas did not have the ability to independently evaluate trial counsel’s performance

    because of OIDS’s procedures for retaining professional experts where she had to consult the

    same “screening” psychologist that had previously advised trial counsel.

           An intervening event occurred prior to Attorney Pybas preparing the appeal in Hanson

    II; Dr. Russell prepared her Social History - Risk Assessment report, which contained the

    numerous red flags, discussed above, indicating significant mental illness and brain



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    dysfunction. Att. 9. Trial Attorney Gordon failed to catch these red flags and then Attorney

    Pybas was stymied from conducting an adequate mental health investigation because of her

    previous experiences in this case. Attorney Pybas relates, “after pursuing the issue in Hanson

    I, I did not again request to retain a neuropsychologist in Hanson II after already being

    denied on one occasion.” Att. 10, ¶ 8. Numerous difficulties plague the expert retention

    process at OIDS:

           In my experience, a negative recommendation from Psychological Services
           [Kathy LaFortune] generally results in an attorney dropping their Request for
           Professional Services. . . . I am unaware of any attorney at OIDS
           successfully disputing a negative recommendation from Ms. LaFortune.

                                                ***

           The process of retaining an expert has traditionally been one of the most
           frustrating parts of my job. In fact, during the tenure of the past Executive
           Director, I am aware of attorneys being terminated from employment with
           OIDS due in part to disputes over the retention of professional experts.

    Att. 10, at ¶¶ 4-5 (emphasis added). Given her prior experiences with the retention of

    experts, Attorney Pybas was implicitly prevented from conducting an adequate investigation

    and/or retaining an appropriate mental health professional while preparing the appeal in

    Hanson II. See Cuyler v. Sullivan, 446 U.S. 335, 342-45 (1980).

           Post-conviction counsel14 was ostensibly ineffective15 for failing to raise an appellate

    and trial ineffectiveness proposition relating to the inadequate mental health investigation in


           14
             Post-conviction counsel, Robert W. Jackson, and undersigned Habeas Counsel,
    Robert S. Jackson are unrelated; their sharing of similar names is merely a coincidence.
           15
                See Preliminary Statement Concerning Procedural Default, infra.

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    Mr. Hanson’s Application for Post-Conviction Relief. Post-conviction counsel should have

    been able to independently evaluate trial and appellate counsels’ performance. However, he

    relied on the work his colleagues below instead of conducting his own investigation of Mr.

    Hanson’s psychological impairments. See Att. 11, Affidavit of Robert W. Jackson (Nov. 17,

    2010). Post-Conviction Counsel’s “thought process was that previous defense teams had

    already investigated those issues.” Id. at ¶ 4. This was a costly misperception for Mr.

    Hanson because an adequate investigation of his mental impairments, including retention of

    appropriate professionals, was never conducted by trial or appellate counsel. While a

    “Doctor” had been involved in the case, Dr. Russell’s work was specifically limited to

    rebutting the continuing threat aggravating circumstance. Additional professionals were

    necessary to assess Mr. Hanson’s mental health issues. See Att. 11 at ¶ 5. Mr. Hanson has

    been prejudiced as result of post-conviction counsel’s failure to investigate Mr. Hanson’s

    mental health and raise a related legal proposition. In effect, Mr. Hanson was represented

    by the same law firm on direct appeal and post-conviction, and because of Ms. LaFortune,

    the taint extended back to trial as well. See Anderson v. Sirmons, 476 F.3d 1131, 1140-

    41(10th Cir. 2007). This calls into question the adequacy of any procedural default that

    might arise on a return to state court and provides uniquely compelling cause.

          Prior counsels’ investigations were Constitutionally deficient. Had Mr. Hanson’s jury

    been given the opportunity to consider his significant mental illnesses and cognitive

    impairment, there is a reasonable probability he would not have been sentenced to death.



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    Petitioner respectfully requests this Court grant the Writ.

                                         GROUND FOUR

           MR. HANSON’S TRIAL WAS RIFE WITH PROSECUTORIAL
           MISCONDUCT SUCH THAT HE WAS DENIED A FAIR TRIAL AND
           A RELIABLE SENTENCE IN VIOLATION OF THE SIXTH, EIGHTH,
           AND FOURTEENTH AMENDMENTS.

           The prosecutors in Mr. Hanson’s case acting on behalf of the State of Oklahoma

    engaged in misconduct that denied Mr. Hanson his Due Process rights to a fair trial and a fair

    sentencing proceeding. See Donnelly v. DeChristoforo, 416 U.S. 637, 643-48 (1974)

    (finding misconduct that does not infringe upon a specific constitutional right still violates

    Due Process as it denies the accused a fundamentally fair trial); Duckett v. Mullin, 306 F.3d

    982, 988 (10th Cir. 2002). This type of misconduct creates issues of unreliability and

    warrants this Court granting Mr. Hanson relief. See Woodson v. North Carolina, 428 U.S.

    280 (1976); Gardner v. Florida, 430 U.S. 349 (1977). The misconduct began at the guilt

    stage and extended through the prosecutors’ closing arguments at Mr. Hanson’s re-

    sentencing hearing.

           I.     Guilt or Innocence – The Evidence.

           There is absolutely no question that Mary Bowles and Jerald Thurman were shot,

    killed, and their bodies left in secluded areas. However, the identity of the person(s)

    responsible for these two murders remained to be discovered until the State “found” its key

    witness, Rashad Barnes. See 2001 TR.Vol. VII, 1154-65.

           Barnes was the linchpin of the State’s case that John Hanson shot and killed Bowles.

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    Without Barnes’ testimony, the State had no direct evidence that Mr. Hanson shot and killed

    Bowles. At best, the State would have been left with the following circumstantial evidence:

    Mr. Hanson’s fingerprint on the driver’s seatbelt latch; his co-defendant’s fingerprint on the

    front passenger’s seatbelt latch; the guns used for the Bowles’ and Thurman’s murders found

    in the motel room occupied by Mr. Hanson and his co-defendant from which no fingerprints

    were recovered; and various witnesses who had seen Mr. Hanson and his co-defendant carry

    a gun similar to the one used to kill Bowles. Without direct evidence to prove Mr. Hanson

    killed Bowles, the State pursued “justice” with a “win at all cost” attitude. See Berger v.

    U.S., 295 U.S. 78, 88 (1935).

                  a.     Inflaming the Passions and Prejudice of the Jury and
                         Garnering Sympathy for Mary Bowles.

           Throughout the first stage of Mr. Hanson’s trial, the prosecutors made concerted

    efforts to inflame the passions and prejudice of the jury and garner sympathy for Bowles by

    stressing her saintly life, sympathetic character, and the heinous, atrocious, and cruel facts

    of her murder, even though the “heinous, atrocious or cruel” aggravating circumstance was

    not charged. See Darden v. Wainwright, 477 U.S. 168, 191-92 (1986) (“The prosecutor

    should refrain from argument which would divert the jury from its duty to decide the case on

    the evidence, by injecting issues broader than guilt or innocence ... [and] should not use

    arguments calculated to inflame the passions or prejudices of the jury”); United States v.

    Young, 470 U.S. 1, 8 n.5 (1985) (discussing ABA Standards for Criminal Justice 3-5.8(c) –

    “The prosecutor should not use arguments calculated to inflame the passions or prejudices

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    of the jury); Spears v. Mullins, 343 F.3d 1215, 1226-30 (10th Cir. 2003) (finding the

    introduction of evidence not relevant to aggravating circumstance deprived petitioner of fair

    trial); Moore v. Gibson, 195 F.3d 1152, 1172 (10th Cir. 1999) (“This court does not

    condone prosecutorial remarks encouraging the jury to allow sympathy to influence its

    decision.”).

           Bowles’ sympathetic character and life as a volunteer permeated the entire trial.

    During voir dire and opening statements, prosecutors informed the perspective jurors that

    Bowles was old and frail, but “was a very active volunteer in the community [and] spent

    years volunteering at St. Francis Hospital.” 2001 TR.Vol. II, 181; 2001 TR. Vol. III, 288;

    2001 TR. Vol. VI, 1003, 1027. At trial, approximately one-third of the total testimony

    provided by the prosecutors’ first five witnesses concerned Bowles’ life as a volunteer. See

    e.g. 2001 TR. Vol. VI, 1037-1066. These witnesses informed the jury that Bowles had been

    a volunteer in the critically ill newborn unit at St. Francis Hospital for about twelve years

    (2001 TR. Vol. VI, 1037-38, 1050-51, 1060, 1062, 1064); was an officer in the auxiliary, a

    volunteer organization (2001 TR.Vol. VI, 1037, 1044); was “someone that wanted to do good

    for other people” (2001 TR. Vol. VI, p. 1044); was a volunteer for the philharmonic (Id.);

    and was a volunteer at the Quota Club, which helped deaf children learn to read and did

    fundraising for deaf children (2001 TR. Vol. VI, 1060). Finally, during first-stage closing

    arguments, the prosecutor emphasized Bowles’ defenseless and sympathetic character to

    garner sympathy. Samples of the prosecution’s rhetoric include telling the jury that:



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          !      volunteer Bowles “had no idea what that gun-totin’, trigger pullin’
                 carjacker had in store for her;”

          !      two grown men with firearms took this seventy-seven year old lady;

          !      “[t]hey got her because she was old and weak;” and

          !      Hanson “st[ood] over an old lady [] pump[ing] smoking rounds into her
                 chest.”

    2001 TR. Vol. X, 1711-12, 1721, 1747. The prosecution concluded by telling the jury that

    Bowles was a “little, sweet old lady” and giving an emotionally embellished accounting.

          [Barnes] told you what he remembered...but they don’t like it because it puts
          [Hanson] in the place of standing with this pistol over a little old lady that he
          laid on top of. [Hanson] felt her frail little body under his....

          [T]wo people are dead, because they wanted to take something else.... They
          were going to take and they were going to take and whoever they had to burn
          they was [sic.] going to burn, because this is their world. It’s a world where
          jackals reign. They travel in packs and they drag down the weak.... And two
          people paid the ultimate price with their lives.

          And after they did that, they drove down to the Oasis and something
          intervened. Think about it. Five miles from where they just killed this little
          old lady, the volunteer in her church, the volunteer at St. Francis.

    Id. at 1748-49. The prosecutor also introduced impermissible victim impact evidence, by

    means of an uncharged “heinous, atrocious or cruel” aggravating circumstance to generate

    sympathy for Bowles. See Payne v. Tennessee, 501 U.S. 808 (1991) (holding victim impact

    evidence is proper only for sentencing determination).

          The prosecutor presented evidence during Mr. Hanson’s guilt-stage that Bowles’

    murder was heinous, atrocious, and cruel even though it never charged Mr. Hanson with this



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    aggravating circumstance. The prosecutor knew that this evidence would inflame the

    passions and prejudices of the jury and garner sympathy for Bowles. See OUJI-CR 4-73.16

    In particular, the jury heard how Hanson, wielding a gun, “jacked” Bowles and threw her

    onto the backseat of her car and then laid on top of her to prevent her from escaping; how

    Hanson punched her and told her to shut up when Bowles was reaching out in love; how

    Bowles knew Hanson was going to kill her; how Hanson pulled Bowles out of the car, took

    her to a ditch on a secluded road, shot her at least five times, and then covered her with

    brush; and how Bowles was laying on the ground immobile with fear when she was shot.

    2001 TR. Vol. VI, 1005-07, 1008-10, 1016-17, 1020; 2001 TR. Vol. VII, 1128, 1131, 1160-

    61, 1163, 1207, 1236-37; 2001 TR. Vol. VIII, 1511-22; 2001 TR. Vol. IX, 1635; 2001 TR.,

    Vol. X 1712–14, 1716, 1748. The prosecutor summed up its heinous, atrocious, and cruel

    evidence as follows:

           What did she see? From her back laying beside the road, she saw his face –
           that face – looking down the end of his gun as he popped at least six rounds
           into her body. That’s what she saw. That’s the last thing she saw was him
           standing over her with this gun.

    2001 TR. Vol. X, 1745. This misconduct was wholly irrelevant to Mr. Hanson’s guilt for the

    charged offense. In reality, the prosecutor’s repeated references to how Bowles suffered,

    knew she was going to be killed, and begged for her life was improper aggravating




          16
             The heinous, atrocious, and cruel aggravator is directed to those crimes where the
    death of the victim was preceded by torture or serious physical abuse of the victim. See
    OUJI-CR 4-73.

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    circumstance evidence, which should not be presented in the guilt-stage of a capital trial. See

    Payne v. Tennessee, 501 U.S. 808 (noting victim impact evidence is proper only for

    sentencing determination); Thornburg v. Mullin, 422 F.3d 1113 (10th Cir. 2005) (holding

    argument during guilt-stage closing that victims were good people and would never be able

    to be with their families for Christmas was improper); Spears v. Mullin, 343 F.3d 1215,

    1226-30 (10th Cir. 2003) (finding the introduction of evidence not relevant to aggravating

    circumstance deprived petitioner of fair trial); Duckett v. Mullin, 306 F.3d 982, 991-92 (10th

    Cir. 2002) (condemning prosecutor’s guilt-stage closing argument was condemned because

    it sought sympathy for a victim).

           Mr. Hanson was prejudiced by the prosecutor’s improper victim impact evidence. It

    is hard to imagine a more sympathetic victim than a little old lady, such as Bowles, who

    volunteered her time to help those who are less fortunate than herself. The prosecutor

    exploited the fact that the crime involved a sympathetic victim by injecting improper

    arguments and evidence to emphasize the victim’s characteristics. Because the evidence of

    Mr. Hanson’s guilt was circumstantial and weak, these improper tactics led to his conviction,

    a conviction based upon the status of the victim rather than the facts and circumstances of

    the offense.

           The OCCA’s decision that the prosecutor’s descriptions “accurately describe[d] the

    evidence, or are within the wide latitude afforded in argument” ignores the principles that the

    prosecution should not inflame the passions and prejudice of the jury and submit victim



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    impact evidence during the guilt stage. See Hanson v. State, 72 P.3d 40, 49-50 (Okla. Crim

    App. 2003). See also Payne v. Tennessee, 501 U.S. 808; Darden v. Wainwright, 477 U.S.

    168, 191-94 (1986). This Court must issue the Writ and order a new trial because the

    OCCA’s decision is an unreasonable application of clearly established law and involved an

    unreasonable determination of the facts. See 28 U.S.C. § 2254 (d).

                  b.     Tipping the Scales – Garnering More Sympathy By Name
                         Calling.

           Mr. Hanson’s trial attorney failed to object to the prosecution’s repeated instances of

    name-calling. As a result, Mr. Hanson was denied his right to a fair trial. See Strickland v.

    Washington, 466 U.S. 668 (1984); Malicoat v. Mullin, 426 F.3d 1241, 1256 (10th Cir. 2005)

    (noting prosecutor attempted to inflame the passions and prejudice of the jury by name-

    calling); Ground Three, supra.

           During first-stage closing arguments, the prosecutor emphasized Bowles’ saintly life

    and the value of her life by name-calling. 2001 TR.Vol. X, 1711-12. The prosecutor called

    Mr. Hanson a “two-time, cold-blooded murderer” and jackal. Id. at 1744, 1746, 1749. This

    name-calling was wholly irrelevant and provided additional means to garner more sympathy

    and heighten the value of Bowles’ life while de-valuing and dehumanizing Mr. Hanson.

           In resolving this claim the OCCA noted it disfavored name-calling, but nonetheless

    found “the evidence showed Hanson was a carjacker who carried a gun and committed at

    least one murder....” See Hanson v. State, 72 P.3d 40, 50 (Okla. Crim. App. 2003).

    However, this finding ignores that calling Mr. Hanson a “jackal” was just another means for

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    the prosecution to garner sympathy for Bowles, to inject improper victim impact evidence,

    to inflame the passions and prejudices of the jury, and to deprive Mr. Hanson of his right to

    a fair trial. See Payne v. Tennessee, 501 U.S. 808; Darden v. Wainwright, 477 U.S. 168, 191-

    94 (1986) (“The prosecutor should refrain from argument which would divert the jury from

    its duty to decide the case on the evidence, by injecting issues broader than guilt or innocence

    ... [and] should not use arguments calculated to inflame the passions or prejudices of the

    jury”); Donnelly v. DeChristoforo, 416 U.S. 637, 643-48 (1974). As such, this Court must

    issue the Writ and order a new trial because the OCCA’s decision is an unreasonable

    application of clearly established law and involved an unreasonable determination of the

    facts. See 28 U.S.C. §2254(d).

                    c.     Trouble – The Need to Vouch and Garner Sympathy for the
                           State’s Key Witness.

           Rashad Barnes was the linchpin of the State’s case that Mr. Hanson was the one who

    shot and killed Bowles. See 2001 TR. Vol. VII, 1160-65. According to Barnes, Mr. Hanson

    confessed to shooting and killing Bowles during a backyard conversation. 2001 TR. Vol.

    VII, 1156-57, 1159-64. See Arizona v. Fulminante, 499 U.S. 279, 295 (1991).17 Without



           17
                In Fulminante, the United States Supreme Court reasoned:

           A confession is like no other evidence. Indeed, “the defendant’s own
           confession is probably the most probative and damaging evidence that can be
           admitted against him.... [T]he admissions of a defendant come from the actor
           himself, the most knowledgeable and unimpeachable source of information
           about his past conduct. Certainly, confessions have profound impact on the
           jury, so much so that we may justifiably doubt its ability to put them out of

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    Barnes’ testimony, the State had no direct evidence to link Mr. Hanson to the murder of

    Bowles and the need to bolster Barnes’ credibility was of tantamount importance.

           From start to finish, the prosecution bolstered Barnes’ credibility, his altruistic

    motivation for testifying, and garnered sympathy for him. During direct examination, the

    prosecution first elicited that Barnes did not come forward and tell law enforcement about

    Mr. Hanson’s “confession” until he was subpoenaed to testify in front of the grand jury. 2001

    TR. Vol. VII, 1168. The jury then heard:


           Q. (Prosecutor)      Can you tell the ladies and gentlemen of the jury if you know
                                what the word snitch means?

           A. (Barnes)          Yes.

           Q.     What does it mean?

           A.     Just what – what people call you when you testify against somebody
                  that you call your friend or a family member, or just testify against
                  anyone basically.

           Q.     And being a snitch, does that have what I’ll call repercussions, to your
                  understanding?

           A.     Yes.... You can be killed.... You can be – people beat you up, talk about
                  you. There’s a number of things that comes with being a snitch.

                                                ***




           mind even if told to do so.” Bruton v. United States, 391 U.S. 123, 139-40
           (1968) (White, J., dissenting).



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           Q.     Mr. Barnes, do you enjoy being here and testifying today?

           A.     No.

           Q.     Why not?

           A.     ‘Cause for two years I’ve been called a snitch, and I don’t feel I’m a
                  snitch.

           Q.     Why is it that you don’t think you’re being a snitch?

           A.     He told me he killed an old lady. That’s not – that’s not what we call
                  something that’s suppose to be just okay with everybody.... I mean, she
                  couldn’t defend herself. There’s a number of reasons.

           Q.     I’m asking you to tell us what the number of reasons are.

           A.     She couldn’t defend herself. She was a elderly lady. They took
                  advantage of her, overpowered her. That’s not something I see as being
                  a man, having respect for anyone. Call me what you want.

    2001 TR. Vol. VII, 1168-72. See also O.R. 1716 (Capital Felony Report of the Trial Judge -

    Barnes’ credibility questioned based on the fact that defense counsel was not able to cross-

    examine Barnes with newly discovered evidence (Miller’s confession) and the original jury

    was not instructed on the law regarding confessions). During closing arguments, the

    prosecution once again bolstered Barnes’ credibility.

                  What stakes does Rashad have in this? None. For his testimony he’s
           been labeled a snitch. He told you he was scared to testify. He has nothing in
           this except to tell what he knows of what happened and what the defendant
           told him.

                                                 ***

                   [Barnes] got up there and he raised that hand, and he didn’t just tell you
           the truth, he became the third victim in all this. There’s two in the ground.

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           He’s out there in north Tulsa with the label of snitch around his neck and with
           them trying to convince you he was involved.

                                                ***

                  They got [Bowles] because she was old and weak, and that’s where
           even Rashad Barnes has to draw the line. He’s not a man that comes forward
           to give it up on people. But he’s got a line that says, I can’t take that. That’s
           what he told you, because that’s what’s true.

                  He let this guy live in his car behind his house where his Momma was,
           where his sisters were. This guy that could stand over an old lady and pump
           smoking rounds into her chest lived right outside his house. Could have been
           his Momma. That’s where he drew the line. And he came in here with more
           guts that a lot of people I know that folks stand in line to shake their hands.
           And he told you the truth, and he told you what he told you.

    2001 TR. Vol. X, 1724, 1747-48 (emphasis added). This was not only impermissible

    vouching, but also a personal opinion that a witness was truthful. The comment calling

    Barnes a “victim” injected impermissible sympathy for a “victim” in the guilt stage of trial.

    See Payne v. Tennessee, 501 U.S. 808 (holding victim impact evidence is proper only for

    sentencing determination); Darden v. Wainwright, 477 U.S. 168, 191-94; United States v.

    Young, 470 U.S. 1, 7-9 (noting prosecutors must refrain from interjecting personal beliefs

    into the presentation of his case); Douglas v. Workman, 560 F.3d 1156, 1179 (10th Cir.

    2009) (“[V]ouching for the credibility of witnesses is equally as improper as other methods

    of offering unsolicited personal views on the evidence”); United States v. Magallanez, 408

    F.3d 672, 680 (10th Cir. 2005) (“Argument or evidence is impermissible vouching only if

    the jury could reasonably believe that the prosecutor is indicating a personal belief in the

    witness’ credibility, either through explicit personal assurances of the witness’ veracity or

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    by implicitly indicating that information not presented to the jury supports the witness’

    testimony”). Such personal expressions that Barnes was truthful are present here. Cargle

    v. Mullin, 317 F.3d 1196, 1219-21 (10th Cir. 2003); United States v. Swafford, 766 F.2d 426,

    428 (10th Cir. 1985) (“We continue to hold that vouching by an attorney to the veracity of

    a witness is improper conduct and an error which this court will carefully review.”).

           In resolving this claim, the OCCA found that the prosecution’s arguments were “a

    reasonable characterization of [the] case” because Mr. Hanson tried “to accuse Barnes to

    save himself.” See Hanson v. State, 72 P.3d 40, 50 (Okla. Crim. App. 2003). However, this

    finding is unreasonable for three reasons. First, it ignores that the prosecution began to

    improperly vouch for Barnes well before closing argument. See Douglas, 560 F.3d at 1179-

    80; Magallanez, 408 F.3d at 680. Second, it is incorrect because the defense never accused

    Barnes of killing Bowles. Finally, it ignores that the prosecution argued that Barnes was a

    “victim” who deserves sympathy and admiration for being brave enough to testify against

    Mr. Hanson. See e.g. 2001 TR. Vol. VII, 1168-72; 2001TR.Vol. X, 1724, 1747-48. As such,

    this Court must issue the Writ and order a new trial because the OCCA’s decision is an

    unreasonable application of clearly established law and involved an unreasonable

    determination of the facts. See 28 U.S.C. §2254(d).

                  d.     Smoke and Mirrors - When All Else Fails Ridicule the
                         Defense.

           With a “win at all cost” attitude the prosecution continued its misconduct by

    deliberately casting aspersions upon defense counsel and ridiculing the defense. See Berger

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    v. U.S., 295 U.S. 78, 88 (1935); United States v. Holmes, 413 F.3d 770 (8th Cir. 2005);

    Cargle v. Mullin, 317 F.3d 1196, 1222 (10th Cir. 2003) (identifying personal attacks on

    petitioner and his counsel as part of a “wide range of improper argument.”); United States

    v. Goff, 847 F.2d 149 (5th Cir. 1988); Bruno v. Rushen, 721 F.2d 1193, 1194-95 (9th Cir.

    1983); Coulter v. State, 734 P.2d 295, 302 (Okla. Crim. App. 1987) (holding “[c]ounsel

    should refrain from casting aspersions upon opposing counsel”). Here, the prosecution began

    by telling the jury:

           Many times there’s what I call the ink defense. An octopus has no self-
           defense except an ink bag. When it’s in danger of a predator –

    2001TR.Vol. X, 1726 (emphasis added).          Defense counsel objected, the prosecution

    responded that it did not think the comment was inappropriate, and without ruling the trial

    court told the prosecutor to proceed. Id. The prosecution picked up where he left off and

    told the jury that the defense was “[h]iding from the facts.” Id. (emphasis added). Defense

    counsel promptly objected, but the court overruled the objection. Id. Undeterred, the

    prosecution continued casting aspersions. “Let’s look at the facts and let’s look to see if the

    screen can keep us from seeing the guilt of this defendant.” Id. (emphasis added). After

    the defense’s closing argument, undeterred and unrestrained, the prosecution picked up

    where it left off:

           I’ve got to point something out, folks. What he just stood up here and put
           forward as a theory is not a theory; it’s theater. A theory requires facts, not
           I think and maybe this and what if they had talked to so and so. That’s not
           a theory; that’s theater.



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           The only thing you’ve heard in here about Rashad Barnes or anybody else has
           come out of their mouths. And, folks, he told you right up front, our statement
           of the case, our information is not evidence. You know why? Because that’s
           just what we say and talk is cheap. Don’t sing it, bring it. And we brought
           it. We brought the case that proved that he’s a two-time, cold-blooded killer.
           And their X-Files rendition does not change the facts.

                                                ***

           Standing back here with a witness on the stand that’s put theirself on the line
           and taken that oath and withstood what they’ve got to withstand to come up
           here and tell what they know, that’s evidence. Standing out here waving
           documents at them and trying to make them tell you something that’s not in
           the document, that’s not evidence; that’s theater.

    Id. at 1744-45. (emphasis added). These aspersions were improper and the prosecution knew

    it. See Berger, 295 U.S. at 88; Holmes, 413 F.3d 770; Coulter, 734 P.2d at 302.

           In resolving this claim the OCCA found the prosecution’s comments were

    “inappropriate, but do not require relief.” See Hanson, 72 P.3d at 49. However, this finding

    is unreasonable because the prosecution’s arguments improperly encouraged the jury to focus

    on the conduct and role of Mr. Hanson’s attorney rather than on the evidence. See Holmes,

    413 F.3d at 775. The prosecution’s “suggestions, insinuations, and, especially, assertions of

    personal knowledge are apt to carry much weight ... when they should properly carry none.”

    Berger, 295 U.S. at 88. Prejudice in making statements of this kind can easily be determined

    to be reversible error, and this Court should grant Mr. Hanson relief on this claim. See

    Mason v. United States, 719 F.2d 1485, 1489 (10th Cir. 1983).

                  e.     End Game – Closing Arguments, A Play On Juror
                         Fears.



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           During closing argument, the prosecution improperly evoked societal alarm:

           It wasn’t going to stop with a car. It wasn’t going to stop with their lives.
           They were going to take and they were going to take and whoever they had to
           burn was going to burn, because this is their world. It’s a world where jackals
           reign. They travel in packs and they drag down the weak, and we pay the
           price.

                                                ***

           What happens if that car doesn’t break down? Who knows? Maybe they’re
           still out there. Maybe we’ve got a file of dead bodies.

                                                ***

           [A]fter they killed two people..., they went and did a robbery with the same
           guns that had killed two people.... These people matter. And it’s your vote that
           matters.

           This is your moment. Make it matter. He’s guilty, and we all know it.

    2001 TR., Vol. X, 1749-50. (emphasis added).

           The prosecution’s remarks imposed on the jury the idea that they were bound to

    support the prosecution and convict in the name of justice, and if they did not, they would

    be remiss in their duty because Mr. Hanson would be “out there ... [with] a file of dead

    bodies.” Id. This sort of urging is error. See Viereck v. United States, 318 U.S. 236, 247-48

    (1943); McCarty v. State, 765 P.2d 1215, 1221 (Okla. Crim. App. 1988). See also Jones

    v. State, 610 P.2d 818, 820 (Okla. Crim. App. 1983).

           Although the OCCA concluded that the comments complained of “are within the wide

    latitude afforded in argument,” existing case law supports a different conclusion. As such,

    this Court should grant Mr. Hanson relief on this claim. See Viereck, 318 U.S. at 247-48;

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    Berger, 295 U.S. at 88.

                  f.     Tipping The Scales – The Cumulative Effect.

           The prosecution engaged in pervasive misconduct despite being admonished several

    times throughout Mr. Hanson’s trial. However, “where the misconduct of the prosecuting

    attorney [is not] slight or confined to a single instance, but one where [the] misconduct [is]

    pronounced and persistent, with a probable cumulative effect upon the jury which cannot be

    disregarded as inconsequential[,] a new trial must be awarded.” Berger, 295 U.S. at 89;

    Darden v. Wainwright, 477 U.S. 168, 181 (1986). See also Donnelly, 416 U.S. at 646 (“The

    ‘consistent and repeated misrepresentations’ ... may profoundly impress a jury and may have

    significant impact on the jury’s deliberations”).

           Here, the OCCA failed to address the cumulative impact of prosecutorial misconduct,

    which is a separate and distinct cumulative error inquiry as argued by direct appeal counsel.

    See Brief of Appellant, pp. 46-47 (July 2, 2002) (“[T]he abuses and excuses of the

    prosecutors   so   infected   the   trial   with    unfairness   as   to   make   the   resulting

    convictions...unreliable, and Mr. Hanson’s convictions...should be vacated) (citing to

    Donnelly). Despite this argument, the OCCA failed to note that it also found error within

    Mr. Hanson’s prosecutorial misconduct claim when conducting its all encompassing

    cumulative error inquiry. Hanson, 72 P.3d at 55. As such, this Court reviews this claim de

    novo and no presumption of correctness is afforded. See Wilson v. Sirmons, 536 F.3d 1064,

    1082 (10th Cir. 2008); Cannon v. Gibson, 259 F.3d 1253, 1272-73 (10th Cir. 2001).



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           Considering the pervasiveness of the prosecutorial misconduct, this Court should find

    that the cumulative impact of the misconduct deprived Mr. Hanson of his right to a fair trial

    and should grant him relief.

           II.    Re-Sentencing – Seeking Death.

           On June 11, 2003, the OCCA reversed and remanded Mr. Hanson’s death sentence

    in Count I (the murder of Bowles) for a new sentencing hearing. See Hanson v. State, 72 P.3d

    40 (Okla. Crim. App. 2003).        During this re-sentencing, the prosecutors once again

    demonstrated a “win at all cost” attitude. See Berger v. U.S., 295 U.S. 78, 88 (1935). This

    pursuit led prosecutors to engage in misconduct designed to deprive Mr. Hanson of his right

    to a fair sentencing hearing and reliable sentence. It warrants relief. See Donnelly, 416 U.S.

    at 643-48; Woodson v. North Carolina, 428 U.S. 280 (1976); Gardner v. Florida, 430 U.S.

    349 (1977).    See also Hance v. Zant, 696 F.2d 940, 951 (11th Cir. 1983) (noting

    importantance that the sentencing phase of the [capital] trial not be influenced by passion,

    prejudice, or any other arbitrary factor).

                  a.      Inflaming the Passions and Prejudice of the Jury and
                          Garnering Sympathy.

           Having not been admonished for their inappropriate conduct the first time around, the

    prosecutors once again made a concerted effort to inflame the passions and prejudices of the

    jury and garner sympathy for the victims. See Darden v. Wainwright, 477 U.S. 168, 181, 192-

    94; Eddings v. Oklahoma, 455 U.S. 104; Berger v. United States, 295 U.S. 78, 88-89;

    Spears v. Mullins, 343 F.3d 1215, 1246-47 (10th Cir. 2003); Moore v. Gibson, 195 F.3d

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    1152, 1172 (10th Cir. 1999).

           Bowles’ sympathetic character and her life as a volunteer was one of the State’s

    themes designed to ensure the jury based its decision on emotions rather than the evidence.

    During opening statements, prosecutors informed the jurors that Bowles was seventy-seven

    years-old and a volunteer, which the prosecutor mentioned fourteen times in the first few

    moments of his opening statement. TR. 1170-74. During closing arguments, the prosecutor

    again emphasized Bowles’ defenseless and sympathetic character to garner sympathy. See

    e.g. TR.1835-37,1840, 1890. Defense counsel objected to the State’s attempt to garner

    sympathy, and the trial court sustained the objection. Id. at 1890-91. Undeterred, the

    prosecutor continued to garner sympathy for Bowles despite repeated objections and the trial

    court sustaining the objections. Id. at 1891-92, 1894. After defense counsel’s third objection

    and the trial court sustaining the objection, the prosecutor finally moved on to another topic.

    Id. at 1895-96. However, by this time the sympathy bell had been rung too many times. See

    also id. at 1903 (during rebuttal argument the prosecutor speculated that Bowles begged and

    pleaded for her life).

           In addition to garnering sympathy for Bowles, the prosecutors sought to focus the

    jury’s attention on the mental torture she suffered at Mr. Hanson’s hands despite the fact that

    the State had not alleged the heinous, atrocious, or cruel aggravating circumstance. See e.g.

    Romano v. Gibson, 239 F.3d 1156 (10th Cir. 2001); Jones v. Gibson, 206 F.3d 946, 954

    (10th Cir. 2000). In an emotional plea, the prosecutor told the jury to imagine what Bowles



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    was feeling as she was being driven to her death, how she begged for her life, and what she

    felt as each bullet entered her body. TR.1837-1840. The prosecutors tipped the scales

    further in their favor by introducing the mental state of two other victims.

           The prosecutor began by asking the jury to focus on the mental state of Jerald

    Thurman, the victim of the crime for which Mr. Hanson had already been convicted and

    sentenced. Id. at 1839. The prosecutor then asked the jury to focus on the mental state of

    Jolanda Beesley, a teller at the Tulsa Federal Employees Credit Union when it was robbed

    by Mr. Hanson and Mr. Miller. Id. at 1844.

           The prosecutor’s highly improper argument, elicited sympathy and introduced

    elements of an uncharged aggravating circumstance. It inflamed the passions and prejudices

    of the jury. As the prosecutor constantly pointed out, despite defense counsel’s repeated

    objections, Bowles was a seventy-seven year old volunteer who was“vunerable” and “weak.”

    Id. at 1835-37, 1890-92, 1894. On top of this, the prosecutor focused the jury’s attention on

    the mental suffering of Bowles, Thurman, and Beesley. Id. at 1837-1840, 1844. It is

    unrealistic to believe the jury was not affected by the prosecutor’s improper and highly

    prejudicial arguments, which were designed to inflame their passions and prejudices against

    Mr. Hanson. See Eddings v. Oklahoma, 455 U.S. 104 (The United States Constitution will

    not tolerate a death sentence imposed as a result of whim, passion, prejudice, mistake, or

    other improper influence.); Duckett v. Mullin, 306 F.3d 982, 991-92 (10th Cir. 2002)

    (condemning prosecutor’s guilt-stage closing argument was condemned because it sought



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    sympathy for a victim).

           In resolving this claim, the OCCA found:

           Hanson objected only to three of the remarks he now challenges on appeal.
           The trial court sustained Hanson’s objections each time, curing any error.

                                                ***

           Hanson maintains that the prosecutor’s appeals to the jury to consider Bowles’
           mental state in her final moments was irrelevant because the State had not
           alleged her murder was especially heinous, atrocious or cruel. It is indeed
           error for a prosecutor to encourage jurors to impose the death penalty solely
           out of sympathy for the victims. The prosecutors here ... argued Hanson’s
           callous treatment of [] Bowles was relevant to assessing his culpability.
           Because this was a resentencing trial, this jury had not made a finding of guilt.
           If the prosecutor went too far in his argument about Bowles’ mental agony in
           her final moments, Hanson cannot show that this argument affected the
           outcome.... We are not convinced that the prosecutor’s argument [] rendered
           Hanson’s resentencing trial unfair.

    Hanson v. State, 206 P.3d 1020, 1028-29. The OCCA’s analysis of this misconduct is

    completely unpersuasive, counterintuitive, and unreasonable for three reasons. First, it is

    unreasonable to believe the trial court sustaining defense counsel’s objections cured any

    error. See id. at 1028. The fact is, despite the trial court sustaining defense counsel’s

    numerous objections, the prosecutor continued on the same objectionable path. TR. 1890-92,

    1894-96.    Second, it is nonsensical that Bowles’ mental anguish was necessary to

    demonstrate Mr. Hanson’s culpability especially since the re-sentencing jury had been told

    Mr. Hanson had already been convicted of Bowles’ murder. Hanson, 206 P.3d at 1028.

    Further, “[a] person’s criminal culpability requires a showing that he acted purposefully,

    knowingly, recklessly or negligently ....” B LACK’S L AW D ICTIONARY 379 (6th ed. 1990).

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   Mental anguish of the victim does not demonstrate that someone acted purposefully,

   knowingly, recklessly, or negligently. Finally, the OCCA’s decision ignores the special

   weight jurors afford a prosecutor’s arguments. See Berger v. United States, 295 U.S. 78, 88.

   See also, Darden v. Wainwright, 477 U.S. 168, 181, 192-94 (1986). The OCCA’s decision

   is contrary to clearly established law and is unreasonable in the application of clearly

   established law and determination of the facts. See 28 U.S.C. §2254(d). As such, this Court

   must issue the Writ.

                 b.       Punishment – Death is the Only Choice.

          During closing, the prosecutor argued that if the jury did not sentence Mr. Hanson to

   death for the murder of Bowles, then Mr. Hanson would in essence be getting a “freebie,”

   given Mr. Hanson had already been sentenced to a life sentence in federal prison. TR. 1860-

   61, 1863. Defense counsel objected to this argument and the trial court sustained the

   objection. Id. at 1860-61. Undeterred the prosecutor began where he left off.

          Ladies and gentlemen, two things are clear based on the evidence. That life
          with parole is not acceptable under the facts of this crime. It shouldn’t be an
          option. The evidence is also clear that life without parole is not enough
          accountability for this defendant.

   Id. at 1863. Defense counsel objected again – that the State was arguing death is the only

   choice; however, the trial court “didn’t hear it that way” and just noted the objection for the

   record. Id. at 1863-64. This type of argument is highly improper for two reasons.

          First, the prosecutor told the jury that death is mandatory if justice is to be done. Id.

   at 1860-61, 1863. This type of argument is inappropriate because death is not mandatory and

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   because the remarks imposed on the jury the idea that they were bound to support the

   prosecution and convict in the name of justice, and if they did not, they would be remiss in

   their duty. See Sumner v. Shuman, 483 U.S. 66 (1987); See Viereck v. United States, 318

   U.S. 236, 247-48 (1943); McCarty v. State, 765 P.2d 1215, 1220 (Okla. Crim. App. 1988).

   See also Jones v. State, 610 P.2d 818, 820 (Okla. Crim. App. 1980).

          Second, the prosecutor’s argument directly undermines the jury’s ability to give

   meaningful consideration to Mr. Hanson’s mitigation because it directs the jury to impose

   death on the basis that Mr. Hanson is already serving a life sentence and that he needs to be

   punished for the murder of Bowles. See TR. 1861, 1863, 1917 (Prosecutors told the jurors

   that if they did not give Mr. Hanson death, he would not be punished for Bowles’ murder).

   Here, the weight of the prosecution’s arguments, like an improper jury instruction or statute,

   prevented the jury from considering and giving effect to Mr. Hanson’s mitigation evidence.

   See Abdul-Kabir v. Quarterman, 550 U.S. 233 (2007); Penry v. Johnson, 532 U.S. 782, 797

   (2001) (noting that the sentencer must be able to “consider and give effect to [a defendant’s

   mitigating evidence] in imposing sentence.”); Eddings v. Oklahoma, 455 U.S. 104, 113

   (1982); Lockett v. Ohio, 438 U.S. 586 (1978); Berger, 295 U.S. 88 (“It is fair to say that the

   average jury...has confidence...[in] the prosecuting attorney.... Consequently, improper

   suggestions, insinuations, and, especially, assertions...are apt to carry much weight against

   the accused when they should properly carry none.”)

          In resolving this claim, the OCCA found:



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          the trial court [did not] abuse it’s discretion in overruling Hanson’s objection
          to the [] argument that ‘life without parole is not enough accountability for this
          defendant.’ ... [And that] the prosecutor ... argued the facts and Hanson’s
          record justify a death sentence. Such argument was proper and we find no
          error.

   Hanson, 206 P.3d at 1029. The OCCA’s analysis of this misconduct is objectively

   unreasonable. While the OCCA “agreed that it is improper for a prosecutor to argue that a

   sentence less than death is meaningless and would not hold a defendant accountable for a

   victim’s death when he is already serving a life sentence,” it failed to apply that principle to

   Mr. Hanson’s case when the prosecutor made that argument. Id., see also TR 1863. The

   OCCA’s decision is contrary to clearly established law and is an unreasonable application

   of clearly established law and determination of the facts. See 28 U.S.C. §2254(d). As such,

   this Court must issue the Writ.

                 c.      If All Else Fails – Argue Facts Not in Evidence.

          During closing, the prosecutor repeatedly argued facts not in evidence when he

   referenced Bowles’ ordeal in her car, the reliability of Ahmod Henry, and Mr. Hanson’s prior

   convictions. See e.g. TR. 1494-95; TR. 1837, 1892-93, 1904-06, 1909-12.

          When garnering sympathy for Bowles, the prosecutor argued that Mr. Hanson had

   “laid on top” of Bowles for thirteen to fourteen miles, smelled her hair, and felt her frail

   bones beneath him. TR. 1837, 1892-94, 1901. Defense counsel objected to the prosecution’s

   argument that Mr. Hanson “laid on top” of Bowles, but the objection was overruled. Id. at

   1901. The State’s argument is unfounded. The State’s key witness, Barnes, did not support



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   this argument.

          Q. (Prosecutor)      What did he tell you?

          A. (Barnes)          Said they were looking for someone to carjack and they
                               seen an old lady. They approached the old lady. He put
                               her in the backseat and he got in the backseat with her,
                               and they drove to a back road where they were going to
                               let her out and someone seen them while he was trying to
                               get her out of the car.

   TR. 1347. See also O.R. 689-91, 693-95, 698, 704-06. Further, the State’s physical evidence

   indicates Mr. Hanson was driving Bowles’ car, and therefore, could not be in the backseat

   “laying on top” of her. TR. 1413-15, 1476-81, 1486-87.

          Unfortunately for Mr. Hanson, the prosecutor continued to make up facts – especially

   in regards to the credibility of Ahmod Henry. Henry was a critical witness for Mr. Hanson.

   Mr. Hanson’s co-defendant admitted to Henry that he (Miller) killed Bowles. TR.1466-67,

   1489-93. Because Henry did not testify,18 the prosecutor questioned Henry’s credibility by

   arguing that he had a “deal,” when there was absolutely no evidence Henry was offered a

   deal or asked for one. See TR. 1495-96. The prosecution argued:

          Detective Nance testified and he said that there was a guy – some four years
          after the crime occurred, a guy that was in jail on some pretty serious felonies
          who called the detectives over – the homicide detectives and said, “I want to
          give you information about a bunch of cases because I want a deal.” That’s []
          Henry.




         18
              Defense counsel did not call Henry to testify, but the Court allowed Detective
   Nance to testify as to what Henry told him because Detective Nance opened the door when
   he testified that there were no other suspects for Bowles’ murder. TR. 1465-70, 1489-91.

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   Id. at 1905. Defense counsel promptly objected, and the trial court sustained the objection.

   Id. at 1905-07. Undeterred, the prosecutor once again continued down this path:

          When – you heard Detective Nance testify. When he received information []
          Henry wanted to talk to him about a bunch of different cases and Detective
          Nance told you [Henry] wanted a deal. There was no deal given. And
          Detective Nance told you [Henry] was never given a deal.... [Henry], four
          years after the fact, wanting a deal, getting in touch with the police–

   Id. at 1907. Defense counsel objected once again, and the trial court sustained the objection.

   Id. However, by this time, the damage had already been done.

          Undeterred by the trial court’s admonitions about arguing facts not in evidence, the

   prosecutor argued:

          What they didn’t mention in their closing argument – and you recall the
          testimony when asked by [] Mr. Drummond of the expert, “Let’s talk about the
          escape because he has an escape conviction, right?” He was convicted for
          robbery, robbery and assault with intent to kill[], and he escaped. And she
          acknowledged he was convicted of escape.

   Id. at 1909. Defense counsel objected because the prosecutor was once again arguing facts

   not in evidence. Id. at 1909-10. At the sidebar, the trial court noted

          [t]he expert testified that the escape charge is based on not an escape from an
          incarcerated facility but that when a person’s out on parole and then re-
          offends, they get filed a charge of escape. So I think it’s unreasonable to argue
          that he – to imply that he escaped from a ... locked facility.

   Id. at 1910. See also TR. 1745 (“[Hanson] failed to make his appointment with his parole

   officer, as a result they filed escape on him.”) The prosecutor claimed that he had made this

   argument because he did not want to tell the jurors that serious violent offenders end up in

   halfway houses, in a case where life with parole was an option. TR. 1910-11. The court

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   sustained the objection and admonished the jury. Id. at 1912.

          Despite repeated admonitions by the trial court, the prosecutor, using the influence

   of his office, continued his campaign to interject non-supported evidence designed to inflame

   the passions and prejudices of the jury. See Berger, 295 U.S. at 88 (“It is fair to say that the

   average jury...has confidence...[in] the prosecuting attorney.... Consequently, improper

   suggestions, insinuations, and, especially, assertions...are apt to carry much weight against

   the accused when they should properly carry none.”) The prosecutor’s misconduct rendered

   Mr. Hanson’s re-sentencing trial fundamentally unfair and the resulting sentence is thus

   unreliable. See Eddings v. Oklahoma, 455 U.S. 104 (1982) (The United States Constitution

   will not tolerate a death sentence imposed as a result of whim, passion, prejudice, mistake,

   or other improper influence); Woodson v. North Carolina, 428 U.S. 280; Gardner v. Florida,

   430 U.S. 349; Darden v. Wainwright, 477 U.S. 168 (irrelevant and prejudicial evidence may

   result in a fundamentally unfair trial in violation of Federal due process); Berger, 296 U.S.

   78.

          In resolving this claim, the OCCA found that the prosecutor’s argument about Mr.

   Hanson laying on top of Bowles was supported by the record; that there exists a reasonable

   inference that Henry sought preferential treatment for his information, and that any error was

   cured by the trial court sustaining Mr. Hanson’s objections; that the prosecutor’s misleading

   argument about the escape charge was cured by the trial court sustaining the objection; and

   there was no harm because the jury rejected the continuing threat aggravator. Hanson, 206



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   P.3d at 1030.

          The OCCA’s analysis of this misconduct is an unreasonable determination of the facts

   for three reasons. First, there is no evidence that Mr. Hanson laid on top of Bowles. TR.

   1347. See also O.R. 689-91, 693-95, 698, 704-06. Further, there exists a reasonable

   inference that Mr. Hanson did not even restrain Bowles when she was in the car because Mr.

   Hanson’s fingerprints were on the driver’s seatbelt latch. TR. 1413-15, 1476-81, 1486-87.

   Second, the evidence presented demonstrated that Henry, although incarcerated, did not ask

   for a deal or preferential treatment when he contacted and gave the police his information.

   See TR. 1495-96. Further, it is nonsensical to believe the trial court sustaining defense

   counsel’s objections cured any error. See id. at 1028. The fact is, despite the trial court

   sustaining defense counsel’s objection, the prosecutor continued the same objectionable

   argument. TR. 1905-07. Finally, the OCCA failed to understand the dual implication of the

   prosecutor’s unfounded argument about the “escape.” While the argument implicates issues

   regarding continuing threat, it also suggests the argument that death is the only option. See

   id. at 1910-11. Further, the prosecutor’s rationale for overstating the “escape” charge is

   irrational because Mr. Hanson had already been convicted in Oklahoma of first degree

   murder and was unlikely to be paroled and placed in a halfway house, as he was serving life

   plus 82 years in the federal penitentiary. The OCCA’s decision is contrary to clearly

   established law, and is unreasonable in the application of clearly established law and

   determination of the facts. See 28 U.S.C. §2254(d). As such, this Court must issue the Writ.



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                 d.       The Need to Vouch for the State’s Key Witness.

          Rashad Barnes was the linchpin of the State’s case that Mr. Hanson shot and killed

   Bowles. See TR. 1346-1350. As such, his credibility was of great importance to the State,

   and the prosecution sought to bolster his credibility during rebuttal closing argument. The

   prosecutor began by telling the jury that Barnes had never been impeached and constantly

   told the truth. TR 1902. The prosecutor then followed this up by asking the jury – “why

   would he make that up?” Id. at 1904. See Ground One, addressing Barnes’ credibility, fully

   incorporated herein.

          The prosecutor’s argument was impermissible vouching designed to ensure the jury

   found Barnes credible. See United States v. Young, 470 U.S. 1, 7-8; Douglas v. Workman,

   560 F.3d 1156, 1179-80; United States v. Magallanez, 408 F.3d 672, 680; Cargle v. Mullin,

   317 F.3d 1196, 1219-20; United States v. Swafford, 766 F.2d 426, 428.

          In resolving this claim, the OCCA found that the “prosecutor’s argument concerning

   the veracity of Barnes did not constitute impermissible vouching.” Hanson v. State, 206 P.3d

   at 1030.   However, this finding is an objectively unreasonable application of clearly

   established law and involved an unreasonable determination of the facts. As such, this Court

   must issue the Writ. See 28 U.S.C. §2254(d).

                 e.       Improper Argument – What Constitutes Great Risk of Death.

          During closing arguments, the prosecution continuously pulled out all the stops in its

   effort to have Mr. Hanson sentenced to death. To ensure such an outcome, the prosecutor



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   purposefully misstated the law as to what constitutes the great risk of death aggravator. The

   prosecutor told the jury that since Thurman and Bowles were both killed within minutes of

   each other, there is “[n]o question that [Mr. Hanson] created a risk of death to more than one

   person, according to the evidence.” TR. 1854. The prosecutor concluded by assuring the

   jury:

           [t]he aggravating circumstances have been met.... We’ve alleged great risk of
           death to more than one person. There is two people dead. That’s how
           dangerous this crime spree was.

   Id. at 1905. The jury subsequently found this aggravating circumstance. Id. at 1920-21, O.R.

   1563.

           In resolving this claim the OCCA found that it “need not discuss this claim given [its]

   holding invalidating [the great risk of death to more than one person] aggravating

   circumstance other than to say that the argument ... did not render Hanson’s re-sentencing

   trial unfair.” Hanson, 206 P.3d at 1034. However, this finding is unreasonable and contrary

   to clearly established federal law. The OCCA’s finding ignores the premise that while

   prosecutors are allowed to “strike hard blows, he is not at liberty to strike foul ones.” Berger,

   295 U.S. at 88. Here, the prosecutor struck plenty of foul blows, including knowingly

   misstating the law in his effort to place “a thumb [on] death’s side of the scale.” Stringer v.

   Black, 503 U.S. 222, 232 (1992); Clemons v. Mississippi, 494 U.S. 738, 752 (1990). See also

   Hanson, 206 P.3d at 1033 (“As we have so often said, ‘it is not the death of more than one

   person which supports [the aggravator], but the defendant’s acts that create the risk of death



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   to another which are in close proximity....’”). Given the integrated nature of Oklahoma’s

   death penalty sentencing scheme, it is impossible to reliably suggest this error had no effect.

   Rather, it resulted in the finding of a aggravating circumstance, leading to the imposition of

   the death penalty. As such, this Court must issue the writ. See 28 U.S.C. §2254(d).

                  f.     A Play On Jurors’ Fears – Part II.

           During closing argument, the prosecution improperly evoked societal alarm, which

   deprived Mr. Hanson of a fair and reliable sentencing hearing. See Eddings v. Oklahoma, 455

   U.S. 104 (1982) (The United States Constitution will not tolerate a death sentence imposed

   as a result of whim, passion, prejudice, mistake, or other improper influence); Woodson v.

   North Carolina, 428 U.S. 280 (1976); Gardner v. Florida, 430 U.S. 349 (1977); Darden v.

   Wainwright, 477 U.S. 168 (1986) (irrelevant and prejudicial evidence may result in a

   fundamentally unfair trial in violation of Federal due process); Berger, 296 U.S. 78. The

   prosecutor told the jury “[m]ake this about truth, make this about accountability, and make

   this about justice.” TR. 1834, 1863. Then, in an impassioned plea, the prosecutor told the

   jury:

           And now, we’re seven years down the road and you ladies and gentlemen are
           going to write the final chapter. I want to ask you, is it going to be about
           justice? Is it going to be about accountability? ... And ladies and gentlemen,
           when you knock on that door – when you knock on that door, you’re going to
           be telling this court what justice is about in this case. You will be doing that,
           you twelve.

   Id. at 1865-66.

           The prosecution’s remarks imposed on the jury the idea that they were bound to

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   support the prosecution and impose the death sentence in the name of justice, and if they did

   not, they would be remiss in their duty. This sort of argument is error because it urges jurors

   to render a verdict out of a sense of vengeance. See Viereck v. United States, 318 U.S. 236,

   247-48 (1943); McCarty v. State, 765 P.2d 1215, 1220 (Okla. Crim. App. 1988). See also

   Jones v. State, 610 P.2d 818, 820 (Okla. Crim. App. 1980).

          Although the OCCA concluded that the comments complained of “were within the

   bounds of acceptable argument,” existing case law supports a different conclusion. Hanson,

   206 P.3d at 1031. See Viereck, 318 U.S. at 247-48; Berger, 295 U.S. at 88. As such, this

   Court should grant Mr. Hanson relief on this claim.

                 g.     Tipping the Scales – The Cumulative Effect.

          The prosecution engaged in pervasive misconduct, despite being admonished several

   times throughout Mr. Hanson’s re-sentencing hearing. However, even if none of the multiple

   instances of misconduct outlined above, viewed in isolation, necessitate reversal of Mr.

   Hanson’s sentence, the combined effect of these errors deprived him of a fair and reliable

   sentence. See Donnelly, 416 U.S. at 646 (“The ‘consistent and repeated misrepresentations’

   ... may profoundly impress a jury and may have significant impact on the jury’s

   deliberations.”).

          Before resolving this claim, the OCCA noted that it would “evaluate the alleged




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   misconduct within the context of the entire trial....” Hanson, 206 P.3d at 1028.19 However,

   at no point does the OCCA evaluate the aggregate impact of the prosecutorial misconduct

   and the effect it had on Mr. Hanson’s rights to a fair sentencing hearing and reliable

   sentence. This failure is unreasonable. Berger, 295 U.S. at 89; Darden v. Wainwright, 477

   U.S. at 181 (“The relevant question is whether the prosecutors’ comments ‘so infected the

   trial with unfairness as to make the resulting conviction a denial of due process.’”).

          Considering the pervasiveness of the prosecutorial misconduct, this Court should find

   that the cumulative impact of the misconduct deprived Mr. Hanson of his right to a fair

   sentencing hearing and a reliable sentence. Thus, Mr. Hanson is deserving of habeas relief.

          III.   Conclusion.

          From the guilt stage until re-sentencing, the prosecution committed repeated acts of

   misconduct despite being admonished numerous times in his effort to win by any means

   necessary. This misconduct, individually and cumulatively, deprived Mr. Hanson of his

   rights under the Sixth, Eighth, and Fourteenth Amendments. This Court should grant Mr.

   Hanson relief.

                                        GROUND FIVE

          INVALIDATION OF THE GREAT RISK OF DEATH AGGRAVATING
          CIRCUMSTANCE REQUIRED INVALIDATION OF THE DEATH
          SENTENCE.




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            While the OCCA recognized the cumulative impact of prosecutorial misconduct as
   a separate and distinct inquiry, it nonetheless failed to address it.

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          The Oklahoma Court of Criminal Appeals found the great risk of death to another

   person aggravating circumstance was unsupported because the two homicides in this case

   were separated by time, distance, and order of events. Hanson v. State, 206 P.3d 1020, 1033

   (Okla. Crim. App. 2009). In particular, the OCCA found that when Ms. Bowles was shot,

   “Thurman was not in jeopardy from that act.” Id. Consequently, the OCCA invalidated this

   aggravating factor.

          In Brown v. Sanders, 546 U.S. 212 (2006), the Supreme Court hoped to simplify the

   analysis to be used in determining when an invalidated aggravating circumstance invalidates

   the death sentence. The Court held:

          An invalidated sentencing factor (whether an eligibility factor or not) will
          render the sentence unconstitutional by reason of its adding an improper
          element to the aggravation scale in the weighing process unless one of the
          other sentencing factors enables the sentencer to give aggravating weight to
          the same facts and circumstances.

   Brown, 546 U.S. at 220.

          In Brown, an omnibus “circumstances of the crime” sentencing factor allowed the jury

   to give aggravating weight to the evidence offered in support of invalid special

   circumstances. Id. at 222-23. Therefore, the defendant Sanders was not entitled to relief.

          The OCCA discussed the impact of Brown on this case. Hanson, 206 P.3d at 1033-

   34. But Oklahoma does not have a comparable sentencing provision. The question was thus

   whether the evidence adduced in support for the “great risk” aggravating factor could be

   given aggravating weight under another aggravating factor. The OCCA found the evidence



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   was “properly admitted to support the separate and valid aggravating factor that the murder

   was committed for the purpose of avoiding or preventing a lawful arrest or prosecution.” Id.

   at 1034.

          This determination is undermined first by the prosecutor’s own arguments reflecting

   the evidence was adduced to establish the great risk of death aggravating circumstance. In

   opening arguments, the prosecutor detailed the evidence supporting the circumstance:

          Another aggravating circumstance the State is alleging is that the Defendant
          knowingly created a great risk of death to more than one person. You’re going
          to learn from the evidence what I have discussed with you, that there were two
          people that were murdered within that short time period. Both Mary Bowles
          and Jerald Thurman lost their lives within minutes.

          The acts that this Defendant did cause a great risk of death to more than one
          person, in fact, it did cause the death of more than one person.

                                               ***

          Evidence of great risk of death to more than one person, as I discussed, Jerald
          Thurman and Mary Bowles lost their lives . . . .

   TR. 1196-97; 1199. During the direct examination of the State’s witness Dr. DiStefano, the

   medical examiner, Mr. Hanson, objected as to the relevance of Jerald Thurman’s cause of

   death. The prosecutor responded:

          The relevance is, it goes directly to come [sic] of the aggravators, particularly
          death to more than one person. Jerald Thurman was murdered. And even Mr.
          Gordon talked in voir dire about the fact that he was responsible, first degree
          felony murder, for the death of Jerald Thurman. So it’s part of our case. Not
          only does this support that I’m entitled to put on all the evidence of the first
          days, this also goes directly to the aggravating circumstances, such as great
          risk of death to more than one person.



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   TR. 1554-55. Finally during closing argument, the prosecutor summarized the evidence

   supporting the great risk of death aggravating factor: “We’ve alleged great risk of death to

   more than one person. There is [sic] two people dead. That’s how dangerous this crime

   spree was.” TR. 1908.

          The “avoid arrest” aggravating circumstance itself should be deemed invalid for a

   variety of reasons advanced in Grounds Six and Seven. If the “avoid arrest” circumstance

   fails, so too does the rationale for withholding relief for invalidity of the “great risk”

   aggravating circumstance. This complex of error would surely require the Writ issue.

          Moreover, the Oklahoma court asked itself whether the evidence was “properly

   admitted” in support of the “avoid arrest” circumstance, not the question mandated by

   Brown, i.e. whether it could be given “aggravating weight” thereunder. Id. at 1034; Brown,

   546 U.S. at 220. In Brown, the evidence could be given full aggravating effect under the

   omnibus circumstance of the crime factor. Here, the OCCA is asserting that the evidence

   supports inferentially the finding of something else that is aggravating: Mr. Hanson’s alleged

   attempt to avoid arrest. But, the OCCA is not even suggesting that Mr. Hanson purportedly

   shot Ms. Bowles to avoid arrest for the shooting of Mr. Thurman. Rather, the OCCA

   offered that both were killed to cover up the kidnaping of Ms. Bowles and the theft of her

   car. “Miller killed Thurman to eliminate him as a witness and minutes later Hanson killed

   Bowles for the same reason.” 206 P.3d at 1034. The Thurman homicide was, even in the

   hindsight perception of the OCCA, just inferential evidence of an “avoid arrest” motive, not



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   something to be accorded aggravating weight in and of itself.       Brown holds that is not

   enough to satisfy the escape clause:

          This test is not, as Justice BREYER describes it, “an inquiry based solely on
          the admissibility of the underlying evidence.” Post, at 903-904 (dissenting
          opinion). If the presence of the invalid sentencing factor allowed the sentencer
          to consider evidence that would not otherwise have been before it, due process
          would mandate reversal without regard to the rule we apply here. See supra,
          at 891; see also n. 6, supra. The issue we confront is the skewing that could
          result from the jury’s considering as aggravation properly admitted evidence
          that should not have weighed in favor of the death penalty. See, e.g., Stringer,
          503 U.S., at 232, 112 S.Ct. 1130 (“[W]hen the sentencing body is told to
          weigh an invalid factor in its decision, a reviewing court may not assume it
          would have made no difference if the thumb had been removed from death’s
          side of the scale”). As we have explained, such skewing will occur, and give
          rise to constitutional error, only where the jury could not have given
          aggravating weight to the same facts and circumstances under the rubric of
          some other, valid sentencing factor.

   546 U.S. at 220-21 (emphasis in original).

          For all the foregoing reasons, the OCCA determination was contrary to Brown or, at

   the least, an unreasonable application thereof. This Court should issue the Writ.

                                          GROUND SIX

          ERRORS INVOLVING THE “MURDER TO AVOID LAWFUL
          ARREST OR PROSECUTION” AGGRAVATING CIRCUMSTANCE
          VIOLATED MR. HANSON’S RIGHTS UNDER THE FIFTH, SIXTH,
          EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED
          STATES CONSTITUTION.

          Mr. Hanson’s death sentence is based in large part on the jury’s finding that the

   murder of Mary Bowles was committed for the purpose of avoiding or preventing a lawful

   arrest and/or prosecution. Indeed, as previously discussed, in invalidating the “great risk of



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   death to another person” aggravating circumstance, the OCCA refrained from vacating

   Hanson’s death sentence only because it found that evidence presented in support of that

   aggravator was “properly admitted to support the separate and valid aggravating factor that

   the murder was committed for the purpose of avoiding or preventing a lawful arrest or

   prosecution.” Hanson, 206 P.3d at 1034.

          The “avoiding lawful arrest” aggravator itself is invalid as demonstrated below. The

   one beleaguered aggravator left, prior conviction of a felony involving the use or threat of

   violence, cannot sustain the viability of Mr. Hanson’s death sentence by itself. See Brown

   v. Sanders, 546 U.S. 212 (2006); Ground Five, supra. The “avoiding lawful arrest”

   aggravating circumstance is invalid for a number of reasons, and Mr. Hanson’s death

   sentence must be reversed.

          The OCCA flatly rejected Petitioner’s claims centered on the “avoiding lawful arrest”

   aggravator.   Hanson v. State, 206 P.3d 1020, 1034 (Okla. Crim. App. 2009). Its

   determinations involved both unreasonable application of clearly established federal law and

   unreasonable determination of facts in light of the evidence presented at Mr. Hanson’s re-

   sentencing. See 28 U.S.C. § 2254 (d)(1), (d)(2).

          I.     Re-presentment of this Aggravator Violated the Double
                 Jeopardy Clause.

          In Mr. Hanson’s original sentencing proceeding, the State requested that the jury find

   as an aggravating circumstance that the murder was committed for the purpose of avoiding

   or preventing a lawful arrest or prosecution. Although the jury found three other aggravating

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   circumstances and issued a death sentence, it rejected the avoiding lawful arrest aggravator.

   O.R. 542.

          Allowed the opportunity by the trial court to learn from its unsuccessful first attempt

   and try again, the State at the re-sentencing proceeding was able to obtain a finding by the

   jury that the murder was committed for the purpose of avoiding unlawful arrest. Such was

   fundamentally unfair and a violation of the Double Jeopardy Clause.

          There are two things Petitioner must do, and can do, to prevail on the instant double

   jeopardy claim. First, he must convince the Court that Judge Chapel of the Oklahoma Court

   of Criminal Appeals was correct when he stated “that the United States Supreme Court,

   through the still-unfolding Apprendi/Ring Revolution, has rejected the doctrinal basis for its

   decision in Poland [v. Arizona, 476 U.S. 147 (1986).]” Hogan v. State, 139 P.3d 907, 948

   (Okla. Crim. App. 2006) (Chapel J., dissenting). Second, Petitioner must convince the Court

   Judge Chapel was correct when he concluded “the most reasonable way to deal with an

   Oklahoma jury’s failure to check an aggravating circumstance, at least in the short term, is

   to treat it as a unanimous rejection of that aggravator, which operates as an ‘acquittal’ on that

   aggravator.” Id. at 950 (Chapel J., dissenting). In this regard, Petitioner submits that treating

   an Oklahoma jury’s failure to check an aggravator as a unanimous rejection of the aggravator

   is not only the most reasonable way to deal with it, it is required under federal Constitutional

   law.

                 a.      The Basis for the Supreme Court’s Decision in Poland v. Arizona
                         Has Been Rejected by the Court in Subsequent Decisions.

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          In Ring v. Arizona, 536 U.S. 584 (2002), the Supreme Court held that any fact finding

   about the presence of aggravating circumstances necessary for imposition of the death

   penalty is constitutionally reserved to a jury and must be found not by a mere preponderance

   of the evidence but beyond a reasonable doubt. In so ruling, the Court extended into the

   capital-punishment arena the groundbreaking shift in Sixth Amendment jurisprudence the

   Court set off two years earlier in Apprendi v. New Jersey, 530 U.S. 466 (2000).

          The vast significance of Ring and Apprendi is well documented. From Justice Scalia’s

   demarcation of a pre and “post-Ring world,” Sattazahn v. Pennsylvania, 537 U.S. 101, 112

   (2003), to Judge Chapel’s reference to the “still-unfolding Apprendi/Ring Revolution,” to

   Scalia’s reference to “Apprendi-land” in Ring itself, it is clear that the law must be viewed

   in the context of the sea change that Ring/Apprendi wrought. In the “post-Ring world,”

   aggravating circumstances are:

          the “functional equivalent” of “elements of a greater offense,” where the lesser
          offense is simply first-degree murder or “murder simpliciter,” for which the
          death penalty is not an authorized punishment, and the greater offense is
          “murder plus one or more aggravating circumstances,” for which the death
          penalty is an authorized punishment. While this shift might seem mere
          semantics to some, in fact, the change is fundamental and quite significant.

   Hogan, 139 P.3d at 948 (Chapel J., dissenting) (quoting Sattazahn v. Pennsylvania, 537 U.S.

   at 111-112).

          The state of the law was very different prior to the Ring/Apprendi Revolution, and in

   particular, the law was very different back in 1986 when Poland was decided. As Justice

   Scalia has noted, to the Poland Court, “sentencing proceedings were understood to be just

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   that: sentencing proceedings.” Sattazahn, 537 U.S. at 110 (emphasis in original). Indeed,

   to the Poland Court, aggravating circumstances were not elements of separate offenses at all,

   but mere “‘standards to guide the making of [the] choice’ between the alternative verdicts

   of death and life imprisonment.” Poland, 476 U.S. at 156 (quoting Bullington v. Missouri,

   451 U.S. 430, 438 (1981); see also Walton v. Arizona, 497 U.S. 639, 648 (1990)).

          In Poland, the defendants were convicted of first degree murder. At the capital

   sentencing proceeding, the prosecution sought the death penalty based on two statutory

   aggravating factors: that the defendants committed the offense in consideration for something

   of pecuniary value and that the offense was especially heinous, cruel, or depraved. The trial

   court found that the “heinous, cruel, or depraved” factor was present, but that the “pecuniary

   value” factor only applied to killings for hire, and thus, did not apply. 476 U.S. at 149. On

   appeal, the Arizona Supreme Court held that the evidence was insufficient to sustain the

   “heinous, cruel, or depraved” aggravating circumstance and that the “pecuniary value”

   aggravating circumstance was not limited to cases involving a contract killing. On retrial,

   defendants were again found guilty of first degree murder and were sentenced to death, this

   time on the basis of the “heinous, cruel, or depraved” and “pecuniary value” aggravating

   factors.

          The defendants argued that the Arizona Supreme Court’s finding that the evidence

   was insufficient to support the “heinous, cruel, or depraved” aggravating factor amounted

   to an “acquittal” of the death penalty within the meaning of Bullington. The Supreme Court



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   rejected what it called the “fundamental premise of petitioners’ argument, namely, that a

   capital sentencer’s failure to find a particular aggravating circumstance alleged by the

   prosecution always constitutes an ‘acquittal’ of that circumstance for double jeopardy

   purposes.” Poland, 476 U.S. at 155. Back when Poland was decided, the Supreme Court

   was simply “not prepared to ... view the capital sentencing hearing as a set of minitrials on

   the existence of each aggravating circumstance.” Id. at 155-56.

          The Poland case, however, was issued almost twenty-five years ago, long before the

   Ring/Apprendi Revolution.      It was also issued seventeen years prior to Sattazahn v.

   Pennsylvania, a case vital to a proper understanding of the current state of law in this area.

   Indeed, both the majority and dissent in Hogan recommend a “careful” review of Sattazahn.

   139 P.3d at 929, 949, 950.

          Judge Chapel’s dissent in Hogan discusses Poland’s place in history, and the

   Sattazahn case in the Ring/Apprendi Revolution. As noted by Judge Chapel, Sattazahn

   simply applied the same rule to capital-stage “hung juries” that the Court had consistently

   applied to hung juries in the guilt stage. However, from Sattazahn, it can be seen that a

   strong majority of the Court fundamentally disagrees with the doctrinal basis for Poland and

   would surely overturn it if directly presented with the issue.

          Justice Scalia is the architect of Sattazahn’s plurality decision. As noted by Judge

   Chapel, Justice Scalia begins the crucial Section III of the plurality opinion by noting that:

          “[w]hen Bullington, Rumsey, and Poland were decided, capital-sentencing
          proceedings were understood to be just that: sentencing proceedings.” As such,

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          “sentencing proceedings” were understood as different from trials “in a respect
          crucial for purposes of the Double Jeopardy Clause: They dealt only with the
          sentence to be imposed for the ‘offence’ of capital murder.” Hence the Court
          in this earlier era “continually tripped over the text of the Double Jeopardy
          Clause.”

   Hogan, 139 P.3d at 949 (quoting Sattazahn, 537 U.S. at 110) (emphasis in original).

          Judge Chapel further noted Scalia’s recognition that Ring/Apprendi changed the

   jurisprudential landscape and “illuminated this part of our jurisprudence.” Id. (quoting

   Sattazahn at 111). He then emphasized this important point from Scalia:

          We can think of no principled reason to distinguish, in this context, between
          what constitutes an offense for purposes of the Sixth Amendment’s jury-trial
          guarantee and what constitutes an “offence” for purposes of the Fifth
          Amendment’s Double Jeopardy Clause ... In the post-Ring world, the Double
          Jeopardy Clause can, and must, apply to some capital-sentencing proceedings
          consistent with the text of the Fifth Amendment.

   Id. (quoting Sattazahn at 111-112).

          In accordance with the plurality opinion of Justice Scalia, Judge Chapel concluded

   that aggravating circumstances are like minitrials on separate offenses. Id. Moreover, the

   dissenters in Sattazahn did not disagree, but rather:

          agreed with Section III of Scalia’s opinion that, in the post-Ring world, when
          a jury “acquits” a defendant on an aggravating circumstance, that aggravating
          circumstance cannot be pursued in any retrial or resentencing in the same case.
          The Sattazahn dissenters note: “This Court has determined ... that for purposes
          of the Double Jeopardy Clause, capital sentencing proceedings involving proof
          of one or more aggravating factors are to be treated as trials of separate
          offenses, not mere sentencing proceedings.”




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   Hogan, 139 P.3d at 948-50 (footnotes omitted).20

          Judge Chapel’s sharp analysis in Hogan should resonate with this Court. Adherence

   to constitutional ideals is especially important in capital cases, and here the “constitutional

   handwriting is on the wall.” Id. at 951. See also Burger v. Kemp, 483 U.S. 776, 785 (1987)

   (“‘Our duty to search for constitutional error with painstaking care is never more exacting

   than it is in a capital case.’” (internal citation omitted)).

          The pronouncement in Sattazahn is clear:

          We can think of no principled reason to distinguish, in this context, between
          what constitutes an offense for purposes of the Sixth Amendment's jury-trial
          guarantee and what constitutes an “offence” for purposes of the Fifth
          Amendment's Double Jeopardy Clause. Cf. Monge v. California, 524 U.S. 721,
          738, 118 S.Ct. 2246, 141 L.Ed.2d 615 (1998) (SCALIA, J., dissenting) (“The
          fundamental distinction between facts that are elements of a criminal offense
          and facts that go only to the sentence ” not only “delimits the boundaries of ...
          important constitutional rights, like the Sixth Amendment right to trial by
          jury,” but also “provides the foundation for our entire double jeopardy
          jurisprudence”). In the post- Ring world, the Double Jeopardy Clause can, and
          must, apply to some capital-sentencing proceedings consistent with the text of
          the Fifth Amendment.

   Sattazahn v. Pennsylvania, 537 U.S. at 111-112. Aggravating circumstances must be given

   the same treatment in the Fifth Amendment context as they are given in the Sixth

   Amendment context. As such, a jury’s findings on aggravating circumstances are like



          20
             It should be noted the facts of the instant case are more egregious than the facts in
   Hogan, as Hogan only concerned the presentment of an aggravator that had previously been
   rejected. There was an implicit acquittal of the continuing threat aggravator in both of
   Hogan’s sentencing proceedings. The instant case presents an acquittal of murder-plus-
   avoiding-lawful-arrest followed by a conviction of murder-plus-avoiding-lawful-arrest, in
   full violation of the Double Jeopardy Clause.

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   minitrials on separate offenses, and in the instant case, the jury rejected “murder plus

   avoiding lawful arrest.” It was unreasonable for the OCCA not to recognize these

   Constitutional developments and that Supreme Court law renders Mr. Hanson’s position

   inevitably correct.

          If an accused has successfully run the gauntlet as to one aggravator, there is no

   “principled” reason he should thereafter be sentenced to death based on that aggravator.

   Apprendi/Ring was a revolution, and in the post-Ring world, “findings on aggravating

   circumstances are like minitrials on separate offenses.” Hogan, at 949 (Chapel J., dissenting)

   (emphasis in original). Poland should hold no sway.


          b.     The Failure of the First Sentencing Jury to Check the Avoiding Lawful
                 Arrest Aggravating Circumstance Must Be Treated As a Unanimous
                 Rejection and “Acquittal” of That Aggravator.

          The verdict form for death penalty aggravators in regard to the death of Mary Bowles

   was the same at both Mr. Hanson’s sentencing proceedings. The form was taken from

   OUJI-CR 4-84, and stated as follows:

          We, the jury, empaneled and sworn in the above entitled cause, do upon our
          oaths unanimously find the following statutory aggravating circumstance[] or
          circumstances as shown by the circumstance or circumstances checked:

          ___ The defendant, prior to the murder, was convicted of a felony involving
          the use or threat of violence to the person;

          ___ During the commission of the murder, the defendant knowingly created
          a great risk of death to more than one person;

          ___ The murder was committed for the purpose of avoiding or preventing a

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          lawful arrest or prosecution;

          ___ At the present time there exists a probability that the defendant will
          commit criminal acts of violence that would constitute a continuing threat to
          society.

   O.R. at 542, 1563.

          In the first sentencing proceeding, the jury did not place a mark by the aggravator that

   the murder was committed for the purpose of avoiding or preventing a lawful arrest or

   prosecution, thus indicating its rejection of that aggravator as a basis for Hanson’s death

   sentence. In the instructions for this verdict form, the jury was ordered to state “specifically

   what aggravating circumstance(s) existed, if any.” OUJI 4-81, O.R. at 537.

          In regard to the “form” of the jury’s rejection of the aggravator under Oklahoma’s

   uniform instruction scheme, Judge Chapel had this to say:

          It could be argued that Oklahoma's current, capital-stage verdict forms-which
          instruct juries to simply check any aggravating circumstance(s) upon which the
          jurors unanimously agree-do not allow us to determine whether a jury’s failure
          to find a particular aggravator was a unanimous rejection of that aggravator or
          not. Yet this Court has consistently described verdicts where an aggravator is
          unchecked as a “rejection” of the unchecked aggravator(s). ... And ... without
          specific notice from a jury that it is “deadlocked,” we have no basis for
          assuming that such is the case. I conclude that the most reasonable way to deal
          with an Oklahoma jury's failure to check an aggravating circumstance, at least
          in the short term, is to treat it as a unanimous rejection of that aggravator,
          which operates as an “acquittal” on that aggravator.

   Hogan, 139 P.3d at 950 n. 94. This only makes sense in light of the Supreme Court’s

   handling of greater/lesser-included-offense double jeopardy cases and the analogy of capital

   cases being murder plus aggravator versus murder simpliciter.



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          In this regard, the case of Green v. United States, 355 U.S. 184 (1957)21 is instructive.

   In Green, the defendant was indicted on one count of arson and one count of murder in the

   first degree. 355 U.S. at 185. A jury found the defendant guilty of arson and of the

   lesser-included offense of second degree murder. Id. at 186. The jury “did not find [the

   defendant] guilty on the charge of murder in the first degree[,]” and “[i]ts verdict was silent

   on that charge.” Id. On appeal, the District of Columbia Circuit Court of Appeals reversed

   the conviction for second degree murder because it was not supported by sufficient evidence,

   and the case was remanded for a new trial. Id.

          On remand, the defendant was “tried again for first degree murder under the original

   indictment.” Id. He raised the defense of former jeopardy “based [not] on his previous

   conviction for second degree murder but instead on the original jury’s refusal to convict him

   of first degree murder.” Id. at 190 n. 11. The defendant’s double jeopardy defense was

   rejected by the trial court, and “a new jury found [the defendant] guilty of first degree

   murder[.]” Id. at 186. On appeal, the Court of Appeals “rejected his defense of former

   jeopardy ... and affirmed the conviction.” Id. The United States Supreme Court granted

   certiorari and “conclude[d] that this second trial for first degree murder placed [the

   defendant] in jeopardy twice for the same offense in violation of the Constitution.” Id. at 190.

          Green is based on two rationales. First, the Court presumed that in finding the



          21
           While Green is admittedly over fifty years old, it is still good law and was cited
   multiple times by Justice Scalia for the plurality and Justice Ginsburg for the dissent in
   Sattazahn v. Pennsylvania, 537 U.S. 101 (2003).

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   defendant guilty of the lesser offense, the jury implicitly acquitted him of first degree murder;

   second, and more broadly, the Court reasoned that jeopardy terminated on the greater charge

   when the first jury “was given a full opportunity to return a verdict” on that charge and

   instead reached a verdict on the lesser charge. Price v. Georgia, 398 U.S. 323, 328-29

   (1970) (quoting Green, 355 U.S. at 191) (jury impliedly acquitted defendant of murder by

   convicting of lesser included manslaughter offense).

          In discussing these rationales, the Supreme Court stated:

          Green was in direct peril of being convicted and punished for first degree
          murder at his first trial. He was forced to run the gantlet once on that charge
          and the jury refused to convict him.... Therefore it seems clear, under
          established principles of former jeopardy, that Green's jeopardy for first degree
          murder came to an end when the jury was discharged so that he could not be
          retried for that offense. Wade v. Hunter, 336 U.S. 684, 69 S.Ct. 834, 93 L.Ed.
          974. In brief, we believe this case can be treated no differently, for purposes
          of former jeopardy, than if the jury had returned a verdict which expressly
          read: ‘We find the defendant not guilty of murder in the first degree but guilty
          of murder in the second degree.’

   Green, 355 U.S. at 190-91. The same can and should be said about the “avoiding lawful

   arrest” aggravator in the instant case.      Though there was no “express verdict,” there

   nevertheless was an “implicit acquittal” which can be treated no differently than if the jury

   had specifically stated “we find the defendant not guilty of” the statutory aggravating

   circumstance Murder Committed for the Purpose of Avoiding or Preventing Lawful Arrest

   or Prosecution.

          This conclusion rests on a foundation of fairness as well. It is only fair after all that

   a government with all of its “resource and power” should be restrained from wearing down

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   a defendant with “repeated attempts,” or repeated bites of the aggravator apple. Green, 355

   U.S. at 187. Indeed, it is concerns such as these that form the core of the Double Jeopardy

   Clause. See e.g., McMullen v. Tennis, 562 F.3d 231,238 (3d Cir. 2009) (“In the end, the

   Double Jeopardy Clause bars the prosecution from taking the proverbial second bite at the

   apple.”).

          It is also only fair not to penalize Petitioner for the Oklahoma Uniform Jury

   Instruction’s lack of clarity. That lack of clarity is no reason to create a finding of a

   deadlocked jury where no such determination was made. See also Hogan, 139 P.3d at 950

   n. 94 (Chapel J., dissenting) (“without specific notice from a jury that it is ‘deadlocked,’ we

   have no basis for assuming that such is the case.”). For all the above reasons, the Court

   should deem the jury’s determination a unanimous rejection and acquittal of the “avoiding

   lawful arrest” aggravator. The application of this aggravating circumstance at Petitioner’s

   re-sentencing proceeding violated the Double Jeopardy Clause.

          II.    The Avoiding Lawful Arrest Aggravator is Unconstitutionally Overbroad.

          The State may not use sentencing procedures that create a substantial risk that the

   death penalty will be imposed in an arbitrary and capricious manner. Godfrey v. Georgia,

   446 U.S. 420, 427 (1980). The Eighth Amendment’s “guided discretion” doctrine requires

   that objective, standardized limitations be placed upon any aggravating circumstance that will

   serve as a basis for imposing the death penalty. Furman v. Georgia, 408 U.S. 238 (1972).

   An aggravating circumstance does not meet Eighth Amendment standards if it is vague or



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   could be applied to every defendant convicted of murder. The aggravating circumstance

   must narrow the class of those eligible for death. Tuilaepa v. California, 512 U.S. 967, 972

   (1994).

          Oklahoma’s avoiding lawful arrest aggravator fails to narrow the class of offenders

   eligible for the death penalty. For example, in operation this aggravator applies to virtually

   all defendants guilty of felony murder. See Okla. Stat. tit. 21, § 701.12(5).

          Uniform jury instructions and decisions by the OCCA purport to limit the aggravator

   to cases in which the State proves beyond a reasonable doubt (1) a predicate crime and (2)

   the defendant’s intent to eliminate a witness regarding this separate crime. Scott v. State, 891

   P.2d 1283, 1294-95 (Okla. Crim. App. 1995). The OCCA has claimed a defendant’s intent

   is “critical” to the proof required, Lott v. State, 98 P.3d 318, 348 (Okla. Crim. App. 2004),

   but in practice, essentially no evidence regarding intent is required by juries or the state

   courts to narrow or substantiate this aggravating circumstance.

          The OCCA has upheld the aggravator when it was supported by nothing more than

   the occurrence of another crime committed in conjunction with the homicide, and the

   resulting speculation that witness elimination could have been the motive. See Carpenter

   v. State, 929 P.2d 988, 995-96 (Okla. Crim. App. 1996); Pennington v. State, 913 P.2d 1356,

   1371 (Okla. Crim. App. 1995).

          The OCCA held that when the defendant and victim were acquaintances a rational

   jury could find from this fact alone that the victim was killed to avoid arrest for a preceding



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   rape. Mollett v. State, 939 P.2d 1, 13 (Okla. Crim. App. 1997). Familiarity between the

   victim and the perpetrator as a criterion for this aggravator, however, does not sufficiently

   limit application of this circumstance to survive constitutional muster. According to a study

   of homicides by victim/offender relationship published in 2007 by the United States

   Department of Justice, in only 14% of all murder cases were the victim and the assailant

   strangers.22 Thus, in 86% of homicide cases, the victim and perpetrator knew each other.

          Regarding the remaining 14%, the OCCA has also held that the mere fact the

   defendant did not try to hide his identity is evident enough of intent. When the non-identity-

   hiding cases are added in, it is obvious that the purported narrowing is illusory. See e.g.,

   Lott v. State, 98 P.3d 318, 348; Wackerly v. State, 12 P.3d 1, 15 (Okla. Crim. App. 2000).

          Indeed, of the dozens upon dozens of cases in which the OCCA has reviewed the

   jury’s finding of this aggravator, it found it invalid in only seven cases. In all seven cases,

   the aggravator failed because the predicate crime was not established.23 In no case has the

   aggravator been found to be invalid in Oklahoma due to the failure to establish the intent

   element.

          As such, the claim that narrowing of this aggravator has been accomplished rings


          22
              See J. A. Fox and M. W. Zawitz, Homicide Trends in the U.S., Bureau of Justice
   Statistics, www.ojp.usdoj.gov/bjs/.
          23
             See Mitchell v. State, 136 P.3d 671, 681 (Okla. Crim. App. 2006); Williams v. State,
   22 P.3d 702, 723 (Okla. Crim. App. 2001); Thornburg v. State, 985 P.2d 1234, 1247 (Okla.
   Crim. App. 1999); Snow v. State, 876 P.2d 291, 299 (Okla. Crim. App. 1994); McGregor v.
   State, 885 P.2d 1366, 1385 (Okla. Crim. App. 1994); Cummings v. State, 968 P.2d 821, 836
   (Okla. Crim. App. 1998); Barnett v. State, 853 P.2d 226, 233-34 (Okla. Crim. App. 1993).

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   hollow. See e.g., Ramono v. State, 909 P.2d 92, 119 (Okla. Crim. App. 1995).                 No

   appreciable narrowing of this broad-based aggravator exists.

          With application of the intent element ignored, what is left is the requirement of a

   predicate crime, which hardly qualifies as a limitation. For example, all defendants convicted

   of felony murder are eligible for the death penalty. Okla. Stat. tit. 21, §§ 701.7, 701.9. The

   “avoiding lawful arrest” aggravator, as presently applied in Oklahoma, violates both the

   Eighth and Fourteenth Amendments.

          The Supreme Court has stated it looks beyond the face of a statute, to the application

   of an aggravating circumstance in the case before it, to determine whether a state court’s

   application is “so broad as to vitiate the role of the aggravating circumstance in guiding the

   jury’s discretion.” McCleskey v. Kemp, 481 U.S. 279, 305 (1987). As presently applied, this

   aggravating circumstance is far too broad. See Ross v. Ward, 165 F.3d 793, 800 (10th Cir.

   1999) (citing Brecheen v. Reynolds, 41 F.3d 1343, 1360 (10th Cir. 1994)) (“This aggravator

   cannot reasonably be said to apply to every defendant convicted of murder – it only applies

   to a defined and limited subclass of murders, namely, those where the defendant’s conduct,

   not only resulted in murder, but also posed a significant risk of death to other individuals.”).

   Not only is such an application overly broad, it also creates a presumption of guilt, which

   places a burden on the defendant to prove his innocence. Since it is theoretically possible

   that everyone convicted of a murder coupled with a felony may have killed to eliminate a

   witness, the defendant must prove this was not his motive. A presumption in a criminal



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   case that shifts the burden of proof to the defendant is a violation of due process. See

   Sandstrom v. Montana, 442 U.S. 510, 523-24 (1979). As can be seen, the “avoiding lawful

   arrest” aggravating circumstance fails to appreciably narrow the class of those eligible for

   death and succeeds at unconstitutionally forcing defendants to prove a negative. It fails to

   pass constitutional muster both in theory and in practice.

          III.   The Evidence Was Insufficient to Support This Aggravator.

          As discussed above, Oklahoma courts examine two factors when addressing

   sufficiency challenges to this aggravating circumstance. First, the court must determine a

   predicate crime separate from the murder exists. McGregor v. State, 885 P.2d 1366 (Okla.

   Crim. App. 1994). Second, the court must determine the defendant possessed the requisite

   intent to kill the victim to avoid arrest or lawful prosecution for the predicate crime. Carter

   v. State, 879 P.2d 1234 (Okla. Crim. App. 1994). The issue of intent is purportedly

   “critical.” Powell v. State, 906 P.2d 765, 781 (Okla. Crim. App. 1995). Sufficient evidence

   must be presented to prove each aggravating circumstance alleged beyond a reasonable

   doubt. Booker v. State, 851 P.2d 544         (1993).   The Constitution imposes the same

   requirement. Gilbert v. Mullin, 302 F.3d 1166, 1182 (10th Cir. 2002).

          The only evidence pertaining to this aggravator comes from the testimony of Rashad

   Barnes, who claimed that Mr. Hanson spoke to him after the crime. According to Rashad

   Barnes, Petitioner told him he planned to let Mary Bowles go, but as he was trying to get her

   out of the car, they were seen by a witness. Victor Miller said he would handle it, shot the



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   witness dead, and then told Hanson “he knew what he had to do.” Thereafter Hanson shot

   Bowles. Tr. 1347-49. Petitioner incorporates and reurges here all the arguments made in

   Ground One as to extreme unreliability and ultimate inadmissibility of Rashad Barnes’

   testimony. And even if admissible, Petitioner submits, Rashad Barnes’ testimony is not

   substantial or convincing enough to prove the “avoiding lawful arrest” aggravator beyond

   a reasonable doubt.

          A real life demonstration of this is the fact that the first sentencing jury acquitted

   Petitioner on this aggravator. The first jury could easily have found Barnes’ testimony too

   unreliable on this issue. Or it could have plausibly reasoned that in the aftershock of just

   witnessing Victor Miller ruthlessly gun a man down, Hanson was purely motivated by fear

   of Miller, not fear of arrest or prosecution. Evidence of Hanson’s intent was not presented

   and such is as plausible a hypothesis as any. Victor Miller’s influence and perhaps Victor

   Miller’s intent may be hypothesized from evidence of his actions and statements. John

   Hanson’s intent cannot be so divined. The State’s evidence to support this aggravator was

   indirect and insufficient, both at the first sentencing proceeding as well as the second.

          The evidence on intent is circumstantial. To the extent he ever had any murderous

   intent at all, the hypothesis that Mr. Hanson’s intent was based on fear rather than witness

   elimination is eminently reasonable. Oklahoma law is strict when evaluating aggravating

   circumstances based on circumstantial evidence:

          when the State relies in part, as here, on circumstantial evidence to prove the
          existence of the aggravating circumstances, “all of the facts and circumstances,

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          taken together, must be inconsistent with any reasonable theory or conclusion
          other than the existence of the aggravating circumstances.” ... the “reasonable
          hypothesis” instruction is still the required jury instruction for aggravating
          circumstances proven, entirely or in part, by circumstantial evidence.

   Lay v. State, 179 P.3d 615, 623 (Okla. Crim. App. 2008). Hanson has a due process right to

   this standard. See e.g., Hicks v. Oklahoma, 447 U.S. at 346. Considering that no direct

   evidence was presented bearing on Mr. Hanson’s intent, it is only appropriate for the

   “reasonable hypothesis” standard to be applied to the instant claim. It is reasonable to

   believe based on the limited facts and circumstances presented that Hanson, who the

   evidence shows did not plan on murdering Mary Bowles, acted, if at all, based on fear of

   Victor Miller not fear of arrest or prosecution.

          In any event, an unreasonable inference, such as the leap the State took regarding Mr.

   Hanson’s intent, cannot support the finding of a capital aggravating circumstance. Thomas

   v. Gibson, 218 F.3d 1213, 1228-29 (10th Cir. 2000). No reasonable jury could have found

   the evidence sufficient to prove that Mr. Hanson had the requisite intent to “murder to avoid

   arrest” beyond a reasonable doubt. The evidence alleged in support of the avoiding arrest

   aggravating circumstance does not even meet the standard of Jackson v. Virginia, 443 U.S.

   307 (1979). Mr. Hanson is entitled to habeas relief.

          IV.    Conclusion

          In this “post-Ring world,” Mr. Hanson’s Double Jeopardy Clause rights were violated

   when the state unfairly received a second chance at the “avoiding lawful arrest” aggravating

   circumstance after his first jury rejected it. In addition, the overbroad application of this

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   aggravator resulted in an arbitrary application of the death penalty. See Maynard v.

   Cartwright, 486 U.S. 356, 362 (1988) (“the channeling and limiting of the sentencer's

   discretion in imposing the death penalty is a fundamental constitutional requirement for

   sufficiently minimizing the risk of wholly arbitrary and capricious action”) Finally, the

   evidence in support of the “avoiding lawful arrest” aggravating circumstance was insufficient

   under the law. See also Ground Seven (evidence additionally insufficient because State failed

   to clearly allege predicate crime). The application of this invalid aggravator to Mr. Hanson

   requires reversal of his death sentence.

                                       GROUND SEVEN

          THE STATE’S FAILURE TO ALLEGE WITH SPECIFICITY THE
          PREDICATE CRIME FOR WHICH MARY BOWLES’ MURDER WAS
          COMMITTED IN ORDER TO AVOID ARREST OR PROSECUTION
          VIOLATED MR. HANSON’S RIGHTS UNDER THE FIFTH, SIXTH,
          EIGHTH, AND FOURTEENTH AMENDMENTS.

          In Oklahoma, one of the statutorily defined aggravating circumstances is that “the

   murder was committed for the purpose of avoiding lawful arrest or prosecution.” Okla. Stat.

   tit. 21, § 701.12 (5). The elements of the murder-to-avoid-arrest circumstance are (1) there

   was a crime separate and distinct from the murder and (2) the defendant committed the

   murder with the intent to avoid being arrested or prosecuted for that other crime. Oklahoma

   Uniform Jury Instruction (OUJI), CR 2d 4-75; O.R. 1582. See also Scott v. State, 891 P.2d

   1283, 1294-95 (Okla. Crim. App. 1995). Both of these elements must be proven beyond a

   reasonable doubt in order to sustain a capital sentence. See Ring v. Arizona, 536 U.S. 584



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   (2002). The State alleged this circumstance against Mr. Hanson at his re-sentencing trial,

   and in turn, the jury found the existence of the circumstance.

          Prior to Mr. Hanson’s trial, the State filed a Notice of Evidence in Support of

   Aggravating Circumstances. O.R. 340-350. In its Notice, the State alleged four (4) theories

   of how the aggravating circumstance was satisfied: (1) “The Defendant had the purpose of

   avoiding or preventing lawful arrest or prosecution while committing the crime of Robbery

   With a Firearm of Mary Bowles by assaulting her and robbing her of her automobile;” (2)

   “Robbery With a Firearm is separate and distinct from the murders of Jerald Thurman and

   Mary Bowles:” (3) Mary Bowles was murdered to avoid arrest and prosecution for the

   murder of Jerald Thurman and the crime of “Robbery With a Firearm of Mary Bowles’

   Automobile;” and (4) “The murders of Jerald Thurman and Mary Bowles were also

   committed for the purpose of avoiding or preventing a lawful arrest or prosecution for the

   aforesaid criminal act of possession of a firearm after former conviction of a felony.”

   Because the State failed to allege a distinct predicate felony, it is not clear which crime the

   jury chose as the predicate, or if the jurors unanimously agreed as to which crime was the

   predicate.

          Mr. Hanson is aware that the Supreme Court has not imposed a jury unanimity

   requirement on the states. Johnson v. Louisiana, 406 U.S. 356, 362 (1972). However, in

   Oklahoma a jury must make a unanimous finding as to the existence of an aggravating

   circumstance. OUJI CR 2d 4-76; O.R. 1583. The State of Oklahoma has chosen to afford



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   capital defendants the structural protection of requiring juror unanimity with respect to the

   finding of aggravating circumstances. Here, Oklahoma has failed to afford Mr. Hanson those

   protections thereby violating his rights under the Due Process Clause of the United States

   constitution. Evitts v. Lucey, 469 U.S. 387, 400-01 (1985). See also Hicks v. Oklahoma, 447

   U.S. 343, 345-47 (1980).

          There are instances in which multiple theories of guilt are advanced and the lack of

   juror unanimity with respect to an individual theory is unobjectionable. See Schad v.

   Arizona, 501 U.S. 624 (1991) (general verdict finding both felony and malice theories of

   murder Constitutionally permissible as long as both theories supported by the evidence).

   However, this is not such an instance. Some of the predicate crimes alleged by the State to

   support this aggravating circumstance lack evidentiary support such that Mr. Hanson’s jury

   could not have found the elements of the murder-to-avoid-arrest circumstance beyond a

   reasonable doubt.

          The OCCA addressed this issue during post conviction proceedings. Hanson v. State,

   No. PCD-2006-614, slip op. at 9 (Okla. Crim. App. June 2, 2009). The state court held:

          At Hanson’s resentencing trial, the State argued that Hanson murdered Bowles
          to avoid a lawful arrest or prosecution for his involvement in the murder of the
          dirt pit owner only. Therefore, contrary to Hanson’s claim, the State did not
          rely on more than one predicate crime to support this aggravating
          circumstance. For this reason, he can show that neither trial nor appellate
          counsel were ineffective for failing to challenge the aggravator on this basis.

   Id. (emphasis added). The factual finding that the State only supported the aggravating

   circumstance with the murder of Jerald Thurman is an unreasonable determination of the

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   facts in light of the evidence presented at Mr. Hanson’s trial. 28 U.S.C. 2254 (d)(2). The

   State alledged multiple theories as the predicate crime to support this aggravator including,

   inter alia, robbery with a firearm of Mary Bowles, robbery of her automobile, carjacking,

   murder of Jerald Thurman, felon in possession of a firearm, and kidnaping.

          Prior to the start of trial, while discussing the matter with the court, the State didn’t

   even allege that Jerald Thurman’s death would serve as the predicate crime.

          COURT:        [I]f that is going to be part of this case, and it seems to me that
                        it’s important to - - for the jury to know that there was an
                        allegation of this robbery - - murder in the commission of the
                        robbery, what other arrests are they going to think that he was
                        avoiding?

          STATE:        Well, they’ll know from the evidence that the - - that Ms.
                        Bowles was kidnapped. I mean, I think that’s clear, based on
                        the evidence, and I think that will bear itself out in the record.
                        And, again, this is just evidence that we think there is sufficient
                        evidence to set it before a jury. We don’t know what a jury is
                        going to do with it, but we think there’s evidence to support it.
                        So I think there’s evidence to support it. So I think there’s
                        going to be evidence that she was carjacked, she was taken out
                        there, and I think that they can conclude that this happened. Of
                        course, we’ll make our argument and the evidence is there.

   TR. 1130-31. During opening argument, the State obliquely described the crimes that would

   serve as the predicate for the aggravating circumstance:

          I will expect as the evidence unfolds, as the testimony comes in, you’re going
          to learn that the reason Jerald Thurman was killed is because he saw what was
          going on with Mary Bowles. The reason Mary Bowles was killed is because
          she saw what was going on with Jerald Thurman. When you determine from
          the evidence that they were, in fact, killing people who witnessed their
          homicides, State submits that there will be proof that those murders were, in
          some part, to carry on so that they could avoid arrest and prosecution and

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          responsibility for the crimes in which they were involved.

   TR. 1198 (emphasis added). In closing arguments, the State argued that Mr. Hanson and co-

   defendant Miller intended to kill Mary Bowles from the time they took her car because they

   could have let her go at any time but did not.

                 Aggravator three. Murder to avoid arrest and prosecution. there was
          another crime separate and distinct from the murder and the Defendant to - -
          that Defendant committed the murder with the intent to avoid being arrested
          or prosecuted for another crime.

                 Next.

                 Here’s the evidence. Defendant Hanson and Miller kidnapped,
          carjacked Mary Bowles. Jerald Thurman sees them. They wanted to eliminate
          Thurman as a witness to their crime of carjacking and kidnaping. Once Ms.
          Bowles knew Thurman was murdered, she too had to be eliminated. Ladies
          and gentlemen, it’s a reasonable inference based on the evidence that both men
          had no intention of allowing Mary Bowles to live because she could identify
          them to police.

                 And again, there are choices being made by this defendant and Vic
          Miller. They could have took the car at Promenade and left Mary Bowles.
          They could have done that, decided not to. Between the dirt pit and
          Promenade, they could have let her out. Decided not to.

                  So pretty much every step of this journey from Promenade to the dirt pit
          to Peanut Road, the Defendant and Vic Miller had a choice. They had a choice
          to let her out. To let her live. They did not do that. They didn’t do that.

   TR. 1854-55. And, finally during closing rebuttal, the State again did not argue Jerald

   Thurman’s murder was the only evidence supporting the aggravating circumstance:

          So what this aggravating circumstance deals with, murder to avoid arrest or
          prosecution in this situation. “You know what you got to do now.” That’s
          what the evidence the State tells you or suggests to you, is shown by that
          sequence. Because now part of the decision-making process, as the State

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          would argue based upon the evidence, is that that drive now to Peanut Road
          to kill Mary Bowles is in large part due to what she just witnessed.

   TR. 1900 (emphasis added).

          As demonstrated above, the State did not only allege the murder of Jerald Thurman

   as the predicate crime for the aggravating circumstance. Ultimately, this inquiry becomes

   whether there was sufficient evidence to support the jury’s finding beyond a reasonable doubt

   of the aggravating circumstance. There was insufficient evidence to support the State’s

   allegations.

          “Kidnaping” could not possibly have served as the predicate crime. Mr. Hanson was

   never charged with the kidnaping of Mary Bowles, and likewise there has never been a jury

   finding that Mr. Hanson was guilty of kidnaping. The only reference in the record to

   kidnaping is in the State’s argument. Just because the prosecutors claimed Mary Bowles was

   kidnapped doesn’t equate to a finding beyond a reasonable doubt that Mr. Hanson committed

   the crime of kidnaping separate and distinct from the murder of Mary Bowles. See OUJI CR

   2d 4-75.

          Additionally, there is no evidence in the record that Mr. Hanson intended to kill Mary

   Bowles in order to avoid arrest and prosecution for the crime of robbing Mrs. Bowles. The

   evidence actually speaks otherwise; Rashad Barnes testimony was that Mr. Hanson intended

   to “let her out” on a back road in North Tulsa. O.R. 1347. Essentially, there was no

   evidence to allow the jury to find beyond a reasonable doubt that Mary Bowles was killed

   to prevent arrest and prosecution for the robbery.

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          Mr. Hanson’s jury found three aggravators to exist in his case: (1) previous conviction

   of a violent felony; (2) the murder was committed to avoid arrest or prosecution; and (3) that

   Mr. Hanson created a great risk of death to more than one person. The great risk of death

   circumstance was struck by the OCCA on direct appeal. Hanson, 206 P.3d 1020, 1032-33;

   see also Ground Five, supra.        This Court should strike the murder to avoid arrest

   circumstance, which would render Mr. Hanson’s sentence Constitutionally impermissible.

   See Brown v. Sanders, 546 U.S. 212 (2006).

          When raised during post conviction proceedings, the instant claim was styled as an

   issue of ineffective assistance of appellate counsel for the failure raise the claim on appeal.

   As argued above, this is a meritorious claim, which creates a reasonable probability that, but

   for counsel’s unprofessional error, had it been raised on appeal Mr. Hanson’s death sentence

   would have been reversed and/or modified. See Strickland v. Washington, 466 U.S. 668. See

   also Cargle v. Mullin, 317 F.3d 1196, 1202-1203 (10th Cir. 2003).

          The various errors presented here have violated Mr. Hanson’s Constitutional rights

   to Due Process, a fair and reliable sentencing, and the effective assistance of counsel under

   the Fifth, Sixth, Eighth, and Fourteenth Amendments. Petitioner respectfully request this

   Court issue the Writ.




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                                        GROUND EIGHT

             THE DEFINITION OF MITIGATING CIRCUMSTANCES
             CONTAINED IN OKLAHOMA’S UNIFORM JURY INSTRUCTIONS
             IMPERMISSIBLY LIMITS CONSIDERATION OF MITIGATION
             EVIDENCE, AND MOREOVER THE PROSECUTORS IN THIS CASE
             EXPLOITED THE INSTRUCTION IMPROPERLY TO DEADEN OR
             ELIMINATE THE JURY’S CONSIDERATION OF IMPORTANT
             MITIGATION EVIDENCE IN VIOLATION OF THE SIXTH, EIGHTH,
             AND FOURTEENTH AMENDMENTS.

             At re-sentencing, the following eleven mitigators were presented on Mr. Hanson’s

   behalf:

             1.    The defendant’s emotional history.

             2.    The defendant’s family history.

             3.    The defendant's history while incarcerated.

             4.    The defendant has an eleven year old son.

             5.    The defendant has never taken another person’s life.

             6.    No direct evidence other than Rashad Barnes has been presented that the
                   defendant ever pulled the trigger on any gun the day that Mrs. Bowles was
                   killed.

             7.    Direct evidence has been presented that Victor Miller was the person
                   who shot Mrs. Bowles and not the defendant.

             8.    The defendant is presently serving a life sentence in federal prison.

             9.    Sentence of life without parole is a significant punishment.

             10.   The defendant was dominated by Victor Miller.

             11.   The defendant was a follower.



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   O.R. 1586. Sadly, few of these eleven mitigating circumstances, if any, were considered by

   the jurors pursuant to the instructions given them.

          The trial court issued oral and written jury instructions that mitigating circumstances

   are circumstances “which in fairness, sympathy, and mercy, may extenuate or reduce the

   degree of culpability or blame.” TR. 1833; OR. 1585; OUJI-CR (2d) 4-78. This is the only

   definition of “mitigating circumstances” known to the lay people on the jury.

          Before beginning its deliberations, the jury heard closing argument from the

   prosecution that zeroed in on this definition and argued that Mr. Hanson’s proffered evidence

   did not qualify as proper mitigation as it did not reduce his moral culpability or blame.

          First, the prosecutor restated the instruction:

          Mitigating circumstances are those which in fairness, sympathy, and mercy,
          may extenuate or reduce the degree of culpability or blame. The determination
          of what circumstances are mitigating is for you to resolve....

   TR. 1857-58. Then, using the terms of the jury instruction, the prosecutor questioned

   whether any of the eleven proffered mitigating circumstances met that definition.

          I invite you to go back and discuss these mitigating circumstances with this
          question in mind: do any of these really extenuate or reduce his degree of
          culpability or blame in this case? That's the question I want you to talk about.
          Share your views with that. Do any of them really reduce or extenuate blame?

   TR. 1858 (emphasis added). The prosecutor listed some of the mitigating circumstances and

   then reinforced the instruction’s limiting definition in the context of the three sentencing

   options.

          These are choices that you have, life without parole, life with parole, and the

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          death penalty. The instructions indicate you should consider the moral
          culpability and blame of the Defendant and the circumstances and the facts of
          the case. Pretty much common sense, consider what happened. Consider
          culpability and blame of the Defendant. And you have these three choices.

   TR. 1859. As he was wrapping up his first closing argument, the prosecutor again instructed

   the jury how the State wanted it to consider the mitigating evidence.

          You need to discuss moral culpability. And ladies and gentleman, it's hard to
          imagine a set of circumstance (sic) where moral culpability could be any
          higher that the evidence you heard today. But again, I invite you to go back
          and talk about that. Talk about moral culpability and blame for this defendant.
          And talk about the mitigating evidence. Does it really mitigate? It's your
          decision. It's your decision.

   TR. 1865 (emphasis added). And in his final closing remarks, the prosecutor encapsulated

   the narrowness of the judgment the State wished the jury to make, “... it’s that man’s moral

   culpability that’s being judged here ....” TR.1917.

          The Eighth and Fourteenth Amendments require that the sentencer in a capital case

   not be precluded from considering any aspect of a defendant’s character or record and any

   circumstance regarding the offense that the defendant proffers as a basis for a sentence less

   than death. Lockett v. Ohio, 438 U.S. 586, 604 (1978) (footnotes omitted). See also Skipper

   v. South Carolina, 476 U.S. 1 (1986); Eddings v. Oklahoma, 455 U.S. 104, 113-14 (1982).

   A capital sentencing jury must consider and give effect to all mitigating evidence and nothing

   should interfere with a defendant’s ability to present any and all mitigating evidence in an

   attempt to save his life. See Penry v. Lynaugh, 492 U.S. 302, 319 (1989), overruled on other

   grounds by Atkins v. Virginia, 536 U.S. 304 (2002); Smith v. Texas, 550 U.S. 297 (2007).



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          Mr. Hanson’s jury was clearly restricted from considering and giving effect to all of

   the mitigating evidence presented. Indeed, most of the eleven circumstances were eliminated

   from the jurors’ consideration pursuant the jury instruction and argument by the prosecution.

          Petitioner submits the term “mitigating circumstance” means nothing to the average

   juror. To a lay juror, the definition of “mitigating circumstance” is whatever the Court tells

   him or her it is. The operative language of the subject jury instruction is incomplete. It

   unconstitutionally limits mitigation to material that extenuates moral culpability or blame.24

   Under the given definition, only a fraction of the eleven submitted mitigators would be

   interpreted by the average juror as having any tendency to “extenuate or reduce” Mr.

   Hanson’s moral culpability or blame for the murder of Mary Bowles.

          Nevertheless, the OCCA upheld the validity of the instruction and found that “the

   prosecutor did not unfairly limit the jurors’ consideration of the evidence offered in

   mitigation in this case.” Hanson v. State, 206 P.3d 1020, 1035. The OCCA’s determination

   is both an unreasonable application of clearly established federal law and an unreasonable

   determination of the facts in light of the evidence presented at Mr. Hanson’s re-sentencing.

   See 28 U.S.C. § 2254(d)(1), (d)(2). How the OCCA was able to come to such a discordant

   decision is more easily understood after reviewing its efforts to come to terms with




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             The words “in fairness, sympathy, and mercy,” may evoke core mitigation concepts,
   but in the context of the instruction they do not inform the jurors of categories of mitigation.
   Rather, they apply only to circumstances that “may extenuate or reduce the degree of moral
   culpability or blame.”

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   Oklahoma’s defective mitigation instructions.

                 I.     Oklahoma’s Struggle with OUJI-CR 4-78.

          The OCCA has struggled with this instruction in the past. In Harris v. State, 164

   P.3d 1103, 1113-14 (Okla. Crim. App. 2007), for example, it declined to find the subject

   instruction erroneous, but did find prosecution argument “misusing” the statutory language

   improper.

          One prosecutor did consistently argue in closing that jurors should not consider
          Harris’s second stage evidence as mitigating, since it did not extenuate or reduce his
          guilt or moral culpability. This argument improperly told jurors not to consider
          Harris’s mitigating evidence.

   Id. at 1113. The OCCA found the argument in Harris was harmless in part because another

   prosecutor “invited jurors to consider all Harris’s mitigating evidence, weigh it against the

   aggravating circumstances, and find that the death penalty was appropriate.” Id. The OCCA

   also found the jury was properly instructed on the definition of mitigating evidence and its

   duties. Since the exploited instruction was the one defining mitigating evidence, this

   determination was a non sequitur.

          The OCCA noted, moreover, it was “troubled, however, by the consistent misuse of

   the language in this instruction in the State’s closing arguments.” Harris, 164 P.3d at 1114.

   The OCCA observed it had previously allowed a limited form of such argument, but it had

   never intended to permit the abuse that was consistently occurring:

          However, we did not intend to suggest that prosecutors could further argue that
          evidence of a defendant’s history, characteristics or propensities should not be
          considered as mitigating simply because it does not go to his moral culpability or

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          extenuate his guilt. This would be an egregious misstatement of the law on mitigating
          evidence.

   Harris, 164 P.3d at 1114.

          Again, the non sequitur nature of the decision stands out. The OCCA states that it

   would be an “egregious misstatement of the law on mitigating evidence” to say evidence

   should not be considered mitigating if it does not go to moral culpability or extenuate guilt.

   Id. Yet prosecutors around the state have been able to state or infer just that. See e.g. Id.;

   Jones v. State, 201 P.3d 869, 888 (Okla. Crim. App. 2009); Le v. State, 947 P.2d 535 (Okla.

   Crim. App. 1997); Frederick v. State, 37 P.3d 908 (Okla. Crim. App. 2001) to name just a

   few. Unfortunately this was bound to continue, so long as the instruction was in effect,

   because such argument complies with the language of OUJI-CR 4-78.

          The instruction is improper and unworkable.           The OCCA would not call the

   instruction unconstitutional, but saw that it had to get rid of it just the same.

                 II.     The Significance of the Subsequent Remedial Instruction.

          In an effort to “clarify” the instruction and “discourage improper argument,” the court

   referred the matter to the Oklahoma Uniform Jury Instruction Committee (Criminal) “for

   promulgation of a modified jury instruction defining mitigating circumstances in capital

   cases.” Id. The court did not stop there. It suggested revisions squarely directed to solve the

   problem identified above. Id. The Committee proceeded to produce a uniform instruction

   precisely along the remedial lines suggested by the Court. It provides, in pertinent part:

          Mitigating circumstances are 1) circumstances that may extenuate or reduce the

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          degree of moral culpability or blame, or 2) circumstances which in fairness, sympathy
          or mercy may lead you as jurors individually or collectively to decide against
          imposing the death penalty.

   OUJI-CR 4-78 (Supp. 2008). Of course, Mr. Hanson did not receive the benefit of a proper

   jury instruction such as this one with no unconstitutional language limiting in the jury’s

   minds the concept of mitigating circumstances.

          The OCCA was at pains to contend that despite the repeated abuse of this instruction

   that “troubled” the court the prior instruction was not legally inaccurate, inadequate, or

   unconstitutional. Harris, 164 P.3d at 1114. In this regard, however, it is important to

   remember the United States Supreme Court’s recognition that the labels a state court uses are

   not necessarily dispositive. See Ring v. Arizona, 536 U.S. 584, 602.

          Conversely, the Supreme Court has held the remedial measures state courts perform

   on instructions are at least some indicia the prior instructions were infirm. Mills v.

   Maryland, 486 U.S. 367, 382 (1988) (“We can and do infer from these changes at least some

   concern on the part of that court that juries could misunderstand the previous instructions as

   to unanimity and the consideration of mitigating evidence by individual jurors.”) (emphasis

   in original). Here, there is also an open admission the instruction was being consistently used

   to foster improper prosecutorial arguments that constituted “egregious misstatement[s] of the

   law on mitigating evidence.” Harris, 164 P.3d at 1114.

          The Supreme Court has recognized similar arguments exacerbate faulty instructions.

   In Penry v. Lynaugh, the Court observed the prosecutor’s argument, which stressed that the



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   jurors had taken an oath to follow the law and that they must follow the instructions they

   were given, could have convinced the jury “there was no vehicle for expressing the view that

   Penry did not deserve to be sentenced to death based upon his mitigating evidence.” 492

   U.S. 302, 325-26 (1989). See also Smith v. Texas, 543 U.S. 37, 48 n.5 (2004) (involving

   prosecutor who cashed in on “follow the law” promises elicited on voir dire).

          As noted above, the OCCA has found prosecutors’ arguments on this jury instruction

   improper. See e.g., Jones v. State, 201 P.3d 869, 888 (Okla. Crim. App. 2009) (“This

   argument, just like the one in Harris, improperly told jurors not to consider mitigating

   evidence”). Experienced prosecutors across the State have “misused” the instruction.

   Presumably, in their experiential view, it was a persuasive and effective argument. Napue

   v. Illinois, 360 U.S. 264, 270 (1959). The OCCA’s conclusion it was harmless stands in stark

   contrast to the implied judgment of a group of prosecutors very successful in obtaining death

   sentences.

          Further, the type of misconduct at issue is one that invades specific constitutional

   rights. See e.g. Caldwell v. Mississippi, 472 U.S. 320 (1985). The rights at issue include the

   right to have the sentencer consider all mitigating evidence. Prosecutorial misconduct

   impinging a specific right demands strict scrutiny. Id.; Donnelly v. DeChristoforo, 416 U.S.

   637, 643 (1974); Paxton v. Ward, 199 F.3d 1197, 1217-18 (1999). The OCCA’s ruling was

   thus contrary to law as well.

          The advent of the subsequent remedial jury instruction underscores the seriousness



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   of the error caused by the improper jury instruction itself, not to mention the prosecution’s

   compounding of the error. Application of proper scrutiny to this error demands relief.

                 III.    Conclusion.

          A reasonable likelihood exists that jurors understood the definition of mitigating

   circumstances contained in OUJI-CR(2d) 4-78 as foreclosing consideration of Mr. Hanson’s

   character and record, thereby depriving him of full consideration of his mitigating evidence

   in violation of the Eighth Amendment. Penry v. Johnson, 532 U.S. 782 (2001) (citing Boyde

   v. California, 494 U.S. 370, 380 (1990)). See also Hitchcock v. Dugger, 481 U.S. 393,

   (1987) (holding juries cannot be instructed in such a way that precludes them from

   considering all pertinent mitigation). This likelihood was heightened by the prosecutors’

   arguments questioning whether Petitioner’s proffered mitigation was “really” mitigation

   evidence at all.

          The instruction “create[d] the risk that the death penalty [was] imposed in spite of

   factors which may call for a less severe penalty” and “[w]hen the choice is between life and

   death, that risk is unacceptable and incompatible with the commands of the Eighth and

   Fourteenth Amendments.” Lockett v. Ohio, 438 U.S. 586, 605 (1978). Whether for the infirm

   instruction itself, the prosecutions’ exploitation, or the combination of these infirmities, the

   Writ should issue.




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                                         GROUND NINE

          THE CUMULATIVE EFFECT OF ERRORS AT BOTH PHASES OF
          TRIAL DEPRIVED MR. HANSON OF HIS CONSTITUTIONAL
          RIGHTS UNDER THE EIGHTH A N D FOURTEENTH
          AMENDMENTS.

          Even if none of the aforementioned errors viewed in isolation necessitate reversal of

   Mr. Hanson’s conviction and sentence, the combined effect of these errors deprived him of

   a fair trial and requires his conviction and/or sentence be reversed. Cargle v. Mullin, 317

   F.3d 1196, 1200 (10th Cir. 2003); United States v. Rivera, 900 F.2d 1462, 1469 (10th Cir.

   1990). Specifically, the cumulative effect of all the errors and omissions at the guilt phase

   of Mr. Hanson’s original trial resulted in the violation of his federal Constitutional rights and

   require the granting of a new trial. Further, the cumulative effect of all of the errors and

   omissions during the re-sentencing trial resulted in a sentence of death, which is unreliable.

   See Darks v. Mullin, 327 F.3d 1001, 1018 (10th Cir. 2003) (finding that when assessing

   cumulative error, only first stage errors are relevant to the conviction, but all errors are

   relevant to the ultimate sentence).

          It is well established a reviewing court, presented with established errors at trial, must

   consider the cumulative impact of those errors in light of the totality of the evidence properly

   presented to the jury. Gonzales v. McKune, 247 F.3d 1066, 1077 (10th Cir. 2001) (vacated

   on grounds of exhaustion); Rivera, 900 F.2d at 1471. The purpose of the cumulative error

   analysis is to evaluate the effect of errors, not the cumulative effect of non-errors. Cargle,

   317 F.3d at 1196. While non-errors do not count in the cumulative analysis, error plus

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   whatever form of prejudice or harm associated with that particular error obviously need not

   be established for a violation to count in cumulation. Where error plus prejudice is present

   in the case of an individual error, relief would be warranted for that error alone. Cargle, 317

   F.3d at 1207. The Tenth Circuit has explained the “cumulative-error analysis merely

   aggregates all the errors [] found to be harmless, and therefore not reversible, and it analyzes

   whether their cumulative effect on the outcome of the trial is such that collectively they can

   no longer be determined to be harmless.” Hamilton v. Mullin, 436 F.3d 1181, 1196, (10th

   Cir. 2006) (quoting Workman v. Mullin, 342 F.3d 1100, 1116 (10th Cir. 2003)). Controlling

   authorities permit a reviewing court to apply the cumulative error analysis to such legally

   diverse claims as ineffective assistance of counsel and prosecutorial misconduct claims.

   Cargle, 317 F.3d at 1206-07.

          Here, to name a few, are some of the errors that could have at a minimum cumulated

   to deprive Mr. Hanson of his Constitutional guarantees to a fair trial and reliable sentencing

   hearing: trial counsel’s deficient performance during both the first and second stage; denial

   of an adequate opportunity to confront the State’s key witness when the trial court admitted

   testimonial hearsay; the jury’s consideration of an invalid aggravating circumstance; lack of

   sufficient evidence to support the jury’s finding beyond a reasonable doubt that the murder

   was committed for the purpose of avoiding lawful arrest or prosecution; Oklahoma’s jury

   instruction limits consideration of mitigation evidence by the jury; and prosecutorial

   misconduct.



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          In disposing of Mr. Hanson’s cumulative error claim the OCCA found:

          although his resentencing trial was not error free, any errors and irregularities,
          even when considered in the aggregate, do not require relief because they did
          not render his resentencing trial fundamentally unfair, taint the jury’s verdict,
          or render his sentence unreliable. Any errors were harmless beyond a
          reasonable doubt, individually and cumulatively.

   Hanson v. State. 206 P.3d 1020, 1035 (Okla. Crim. App. 2009). Further, when Mr. Hanson

   raised the issue in state post-conviction, the OCCA found:

          We have determined that Hanson is not entitled to a new trial on the basis of
          newly discovered evidence. We have further find that neither trial nor
          appellate counsel were ineffective. There is no cumulative error.

   Hanson v. State, PCD-2006-614 (Okla. Crim. App. 2009) (unpublished) (internal citation

   omitted). The OCCA’s decision, when it has made a decision, is contrary to and an

   unreasonable application of clearly established law and an unreasonable determination of the

   facts as Mr. Hanson has demonstrated in his Petition by showing the violations and their

   importance.

          If this Court finds none of the errors set forth in this Petition, when considered

   individually, necessitates the granting of habeas relief, the Court should find the cumulative

   effect of all the errors described herein deprived Mr. Hanson of his Constitutional right to

   a fair trial and reliable sentence. This Court should grant the Writ.

                   Preliminary Statement Concerning Procedural Default

          Oklahoma’s procedural default rule should not be applied. First, Oklahoma’s

   procedural default rules are not applied even handedly and are not applied independent of



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   federal law. See Ake v. Oklahoma, 470 U.S. 68, 75 (1985) (because Oklahoma’s procedural

   bar depends on an antecedent ruling on federal law, the state-law prong of the court’s holding

   is not independent of federal law); Valdez v. State of Oklahoma, 46 P.3d 703 (Okla. Crim.

   App. 2002) (Oklahoma Courts are not bound by procedural rules but may grant relief for

   substantial or Constitutional violations notwithstanding the procedural posture of the case).25

   As such, Oklahoma’s procedural rules cannot be the basis to bar federal review of these

   claims. Andrews v. Deland, 943 F.2d 1162, 1188, n.40 (10th Cir. 1991) (procedural rules

   must be applied regularly, consistently, and even handedly to establish a bar to federal

   review; they must also operate independent of federal law).

          Ms. LaFortune’s involvement in this case as both an initial, albeit limited, ineffectual

   evaluation of Mr. Hanson and then as the effective gatekeeper for professional evaluations

   at all levels of OIDS creates both adequacy deficiencies and cause for overlooking any

   default and also implicates conflict principles. Ms. LaFortune’s ability to stand in the door

   to proper evaluation of Mr. Hanson and to any incidental critique of her own failures tainted

   the proceedings throughout.

          Second, prior counsels’ failure to raise the ineffective assistance of counsel claim with




          25
            See also Slaughter v. State of Oklahoma, 108 P.3d 1052 (Okla. Crim. App. 2005)
   (Oklahoma Court of Criminal Appeals conducted a merit review on a second post-conviction
   application); Malicoat v. State of Oklahoma, 137 P.3d 1234 (Okla. Crim App. 2006)
   (Oklahoma Court of Criminal Appeals granted review on third post-conviction application);
   Torres v. State, 120 P.3d 1184 (Okla. Crim. App. 2005) (Oklahoma Court of Criminal
   Appeals granted evidentiary hearing and reviewed third post-conviction application).

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   respect to the inadequate mental health investigation should not result in a procedural bar as

   there exists cause and prejudice to excuse the default. See Moore v. Reynolds, 153 F.3d

   1086, 1104 (10th Cir. 1998). The ineffective assistance of counsel claims presented here have

   merit and present a reasonable prospect for relief. See Neill v. Gibson, 278 F.3d 1044, 1057

   n.5 (10th Cir. 2001); Freeman v. Lane, 962 F.2d 1252, 1258-59 (7th Cir. 1992).

          Mr. Hanson has presented compelling grounds for relief that challenge both his

   conviction and sentence and warrant relief by this Court.

                         MOTION FOR EVIDENTIARY HEARING
                              AND BRIEF IN SUPPORT

          Mr. Hanson requests an evidentiary hearing pursuant to Rule 8 of the Rules Governing

   Section 2254 Cases in the United States District Courts. Mr. Hanson requests an evidentiary

   hearing in his effort to assist this Court with some of the issues presented in this petition, and

   in accordance with the Court’s Scheduling Order (Doc. 12). See Townsend v. Sain, 372 U.S.

   293, 312 (1963), overruled on other grounds by Keeney v. Tamayo-Reyes, 504 U.S. 1 (1992).

          Mr. Hanson believes the claims contained in his petition are matters of law warranting

   relief without a hearing, and/or that the undisputed facts before this Court warrant the issue

   of a Writ of Habeas Corpus. Alternatively, he is requesting an evidentiary hearing on the

   following ground and on all related factual contentions because those matters are capable of

   proof at such a hearing and would warrant relief.

          AN EVIDENTIARY HEARING IS REQUESTED WITH RESPECT TO
          MR. HANSON’S FOLLOWING GROUND FOR HABEAS RELIEF:



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             Ground Two: An evidentiary hearing is necessary to demonstrate the ineffective

   assistance of trial, appellate, and ostensibly post-conviction counsel. Numerous instances

   of prior counsels’ ineffectiveness are detailed in Ground Two of this Petition for Writ of

   Habeas Corpus. If granted an evidentiary hearing, Mr. Hanson can demonstrate inter alia:

   multiple omissions of trial counsel were not tactical or borne out of strategy; trial counsel’s

   mitigation presentation was unreasonable in light of the wealth of mitigating evidence

   available had a Constitutionally adequate investigation been conducted; appellate and

   ostensibly post conviction counsel rendered ineffective assistance through their failures to

   conduct a mental health investigation independent of trial counsel’s and then raise

   appropriate legal claims. Prejudice is apparent from prior counsels’ shortcomings, because

   had they pursued these issues, Mr. Hanson would have had powerful evidence to present in

   mitigation which may have spared him from receiving the death penalty. Mr. Hanson

   respectfully requests an evidentiary hearing to establish prior counsel were ineffective.

             BRIEF IN SUPPORT OF GRANTING AN EVIDENTIARY HEARING

             In Townsend v. Sain, 372 U.S. 293 (1963), the United States Supreme Court held that

   an evidentiary hearing is mandatory under conditions which Mr. Hanson has met. The Court

   stated:

             We hold that a federal court must grant an evidentiary hearing to a habeas
             applicant under the following circumstances: if (1) the merits of the factual
             dispute were not resolved in the state hearing; (2) the state factual
             determination is not fairly supported by the record as a whole; (3) the fact
             finding procedure employed be the state court was not adequate to afford a fair
             and full hearing; (4) there is substantial allegations of newly discovered

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          evidence; (5) material facts were not adequately developed at the state court
          hearing; or (6) for any reason it appears that the state trier of fact did not afford
          the habeas applicant a full and fair hearing.

   Id. at 312-13.

          In Mr. Hanson’s case, the grounds identified, if proven, warrant habeas corpus relief.

   During direct appeal proceeding pursuant Rule 3.11 (B) (3) (b), Rules of the Oklahoma Court

   of Criminal Appeals, Mr. Hanson requested, but was denied, an evidentiary hearing. Hanson

   v. State, 206 P.3d 1020, 1032 (Okla. Crim. App. 2006); See Barkell v. Crouse, 468 F.3d 684,

   692-94 (10th Cir. 2006) (“Habeas applicants who have not received an evidentiary hearing

   in state court may be entitled to an evidentiary hearing in federal court.”). There has been

   no adequate hearing in which these matters have been considered, Mr. Hanson has presented

   substantial allegations of Constitutional violations, and the Oklahoma Court of Criminal

   Appeals did not afford Mr. Hanson a full and fair fact determination.

          For these reasons, Mr. Hanson respectfully requests this Court conduct an evidentiary

   hearing so that he may establish these facts.

                    MOTION FOR DISCOVERY AND BRIEF IN SUPPORT

          Mr. Hanson requests leave of the Court to conduct discovery pursuant Rule 6 of the

   Rules Governing 2254 Cases in the United States District Courts and the Federal Rules of

   Civil Procedure, Rules 26-38.

                                          DEFINITIONS:

          The terms “State,” “Government,” “District Attorney’s Office,” “Authorities,” or



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   “Police” refer, without limitation to the Tulsa County District Attorney’s Office, the Tulsa

   Police Department, Muskogee Police Department, the Federal Bureau of Investigation,

   United States Attorney’s Office for the Northern District of Oklahoma, the Oklahoma State

   Bureau of Investigation, as well as any other agencies or entities involved in the investigation

   and prosecution of Mr. Hanson’s case.

          The term “case” refers, without limitation, to Tulsa County Case No. CF-1999-4583,

   and all subsequent appeals and collateral proceedings wherein Petitioner and co-defendant

   Victor Miller were charged and convicted of the homicides of Mary Bowles and Jerald

   Thurman.

          The terms “documents,” “records,” and “things” refer, without limitation, to reports,

   writings, drawings, graphs, charts, photographs, photographic negatives, photographic

   positives, films, video recordings, audio recordings, records, electronic data, physical items,

   and copies or reproductions thereof in the possession, custody, and control of the above

   mentioned entities.

                                      BRIEF IN SUPPORT

          Two State’s witnesses testified under questionable circumstances. Phyllis Miller, the

   wife of co-defendant Victor Miller, testified at both of Mr. Hanson’s trials, but despite her

   arguable criminal liability in the various robbery offenses surrounding the subject homicides,

   she was never criminally charged with any of those offenses. Also critical State’s witness,

   Rashad Barnes, testified at Mr. Hanson’s first trial, and then because of his death, Barnes’



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   transcript testimony was read into the record at Mr. Hanson’s second trial. Co-defendant

   Victor Miller’s testimony at his own trial, inculpated Barnes in the instant homicides as well

   as the string of robbery offenses surrounding the homicides. Materials in the State’s

   possession and unknown to petitioner may establish that Phyllis Miller and/or Rashad Barnes

   received deals from the State in exchange for or were otherwise pressured for their testimony.

          Rule 6(a) of the Rules Governing Federal Habeas Cases expressly permits this Court

   to grant discovery for “good cause.” See Rules Governing Section 2254 Cases R. 6(a).

   “Good cause” is demonstrated “where specific allegations before the court show reason to

   believe that the petitioner may, if the facts are fully developed, be able to demonstrate that

   he is confined illegally and is therefore entitled to relief....” Harris v. Nelson, 394 U.S. 286,

   300 (1969) (citing 28 U.S.C. § 1651); Bracy v. Gramley, 520 U.S. 899, 908-909 (1997)

   (“good cause” requirement was met when there was an inference the materials sought might

   help establish a petitioner’s detention was illegal); see also LaFevers v. Gibson, 182 F.3d

   705, 723 (10 th Cir. 1999).

          The need for discovery in capital cases is particularly critical. Where a person’s life

   is at stake, the Supreme Court has repeatedly insisted upon higher standards of reliability and

   fairness. See e.g., Beck v. Alabama, 447 U.S. 625, 637 (1980) (need for heightened

   reliability); Lockett v. Ohio, 438 U.S. 586, 604 (1978) (the penalty of death is quantitatively

   different from any other sentence and requires a heightened degree of reliability); Woodson

   v. North Carolina, 428 U.S. 280 (1976); Banks v. Reynolds, 54 F.3d 1508, 1521 (10th Cir.



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   1995) (“Our duty to search for constitutional errors with painstaking care is never more

   exacting than it is in a capital case.”).

          Petitioner Hanson’s discovery requests, detailed below, meets the “good cause”

   standard within the meaning of Rule 6(a) and Bracy.

          Rule 6(b) provides that this discovery request be accompanied by a list of requested

   documents and proposed interrogatories, which follow:

   REQUEST FOR PRODUCTION No. 1:

          Produce all files relating to this case held or maintained by any government entity.

   REQUEST FOR PRODUCTION No. 2:

          Produce any documents, recordings, or things related to Phyllis Miller’s involvement

   in this case, to include any documents reflecting promises/deals made or considered to

   withhold prosecution whether implicit or explicit.

   REQUEST FOR PRODUCTION No. 3:

          Produce any documents, recordings, or things related to Rashad Barnes’ involvement

   in this case, to include any documents reflecting promises/deals made or considered to

   withhold prosecution whether implicit or explicit.

   INTERROGATORY No. 1:

          Provide a description of the substance of all oral communications between law

   enforcement and Phyllis Miller.

   INTERROGATORY No. 2:



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         Provide a description of the substance of all oral communications between law

   enforcement and Rashad Barnes.

                                       CONCLUSION

         Mr. Hanson respectfully requests this Court grant discovery to ensure the facts of his

   case can be fully developed.

                                            Respectfully submitted,

                                            s/ Robert S. Jackson
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on the 6th day of December, 2010, I electronically transmitted the
   attached document to the Clerk of Court using the ECF System for filing and transmittal of
   a Notice of Electronic Filing to the following ECF registrant:

          Robert L. Whittaker
          Assistant Attorney General

                                              s/Robert S. Jackson
                                              Assistant Federal Public Defender




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                              INDEX OF ATTACHMENTS


   Attachment No.          Document

   1                Affidavit of Jack E. Gordon, Jr.

   2                Affidavit of Stephen Hanson

   3                Declaration of Marsha Hollingsworth

   4                Affidavit of Marilyn Wright

   5                Declaration of Sylvia Ann Waldon

   6                Psychiatric Evaluation conducted by Dr. Donna Schwartz-Watts

   7                Dr. Donna Schwartz-Watts - Curriculum Vitae

   8                Affidavit of Tremaine Wright

   9                Social History - Risk Assessment Report by Dr. Jeanne Russell

   10               Affidavit of Jamie D. Pybas

   11               Affidavit of Robert W. Jackson

   12               Opinion Denying Post Conviction Relief, Hanson v. Oklahoma, PCD-2002-
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   13               Opinion Denying Post Conviction Relief, Hanson v. Oklahoma, PCD-2006-
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                                          Attachment 1
           Affidavit of J ackE. Gordon,
                                                                   Jr.
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.,,




                                            AFFIDAVIT OF JACK E. GORDON, JR.


      STATE OF OKLAHOMA                                    )
                                                           )             SSe

      COUNTY OF ROGERS                                     )


              I, Jack E. Gordon, Jr., being of legal age and sound mind, do solemnly swear and
      state as follows:


      1. I am an attorney in private practice in Claremore, Oklahoma. I was appointed to
                  represent John Hanson in both his 2001 capital murder trial and his re-sentencing
                  trial in 2006, Tulsa County Case No. CF-99-4583.

      2. At the 2001 trial, Mr. Hanson was convicted of
                                                                        the murders of Jerald Thurman and
                  Mar Bowles for which he received life without parole and death sentences,
                  respectively. On direct appeal, the Oklahoma Court of Criminal Appeals reversed
                  the death sentence and ordered a re-sentencing hearing in which a jury could
                  assess punishment for the murder of Mar Bowles.

      3. I retained Dr. Jeane Russell as an expert at re-sentencing specifically for the
                  purpose of rebutting the continuing threat aggravating circumstance which had
                  been alleged by the State.

      4. Dr. Russell prepared a Social History - Risk Assessment report on Dec. 31, 2004,
                  prior to her testifying at Mr. Hanson's re-sentencing triaL. Dr. Russell concluded
                  that Mr. Hanson would not pose   a continuing threat to society.

      5. I was excited about Dr. Russell's conclusion; however, I failed to recognize that
                  her report contained numerous indicators of mental ilness and brain dysfunction.

      6. After receiving Dr. Russell's report, I did not pursue additional testing or retam
                  another expert to conduct a general psychological/psychiatric examination or a
                  neuropsychological examination. I had no strategic
                                                                                     reason for not investigating
                  Mr. Hanson's mental                   ilness or brain dysfunction.




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  7. I have tried ten (10) capital murder trials and believe in taking the "everyhing but
             the kitchen sin" approach in presenting mitigating evidence. In a capital case,
             my number one priority is to save my client's life. Mental health evidence is
             extremely important and the type of mitigating evidence that could persuade a jury
             to impose a non-death sentence.

   8. After receiving Dr. Russell's report, I should have noticed that Mr. Hanson
              exhibited signs of mental ilness. Had I noticed, I would have pursued the issue
              and retained the appropriate experts. Undoubtedly, I would have presented
              resulting mental health diagnoses to Mr. Hanson's jury.

   9. One of the hotly contested issues at re-sentencing was whether or not the State
         would be permitted to introduce Rashad Barnes transcript testimony from the
              original 2001 murder triaL. Mr. Hanson had supposedly confessed his role in the
              murders to Mr. Bares, whose testimony was the strongest evidence implicating
              my client as the shooter of Mar Bowles. Mr. Bares was unavailable because he
              had been shot in an ume1ated incident outside a Tulsa nightclub and died prior to
              the 2006 re-sentencing triaL.

   10. I vigorously objected to the admission of
                                                            Mr. Barnes' prior testimony. The basis
              for my objection was new evidence that became known after Mr. Hanson's
              original trial for which I had no opportnity to cross-examine Mr. Bares. The
              new evidence was a confession to the murder of Mar Bowles by the co-defendant
              in the case, Victor Miler.

   11. At the time of re-sentencing, there was an additional basis for challenging the
               admission of Mr. Barnes' testimony. Victor Miler had testified in his own
               defense at his trial which occurred subsequent to Mr. Hanson's original triaL. Co-
               defendant Miler's testimony refuted many of the facts testified to by Mr. Bares.
               In fact, Mr. Miler directly implicated Bares in the homicides and various other
               crimes.

   12. I did not inform the trial court of co-defendant Miler's testimony as a basis for
               objecting to the admission of Mr. Barnes' prior testimony. I had no strategic
               reason for this omission. I was not aware of the content Mr. Miler's testimony,
               nor had I reviewed the transcripts of his triaL.




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   13. Had I been aware that co-defendant Miler's testimony at his own trial called into
              serious question the testimony of  Mr. Bares, I would have certainly pointed that
              out to the trial court in lodging my objections.
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   FURTIR AFFIA SAYETH NOT'~¡rÁd~
                                                  , ack E. ordon, Jr.


   Subscribedandsworntobeforemethis 8 day                         of ~010.
                                                         NOTARY PUBLIC




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                            Attachment 2
              Affidavìt of Stephen Hanson
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                           AFFIDAVIT OF STEPHEN HANSON



  STATE OF OKLAHOMA                         )
                                            )       ss.
  COUNTY OF TULSA                           )




  I, Stephen Hanson, of lawful age and being duly sworn upon oath, depose and state the
  following:

               1. I am the oldest child of Charlotte Hanson (aka Ward) and Elmer
                      Hanson. My parents had two other children: my brother John,
                      and my sister Charyn.

               2. My father, Elmer, was a long haul eighteen wheel trck drver.
                     He was on the road a lot and not around very often. My mother,
                     Charlotte, worked a full timejob, so John, Charmyn and I were
                     left on our own at home.

               3. Because I was the oldest, my mother put me in charge of
                     taking care of John and Charyn when she was at work.

              4. John was an impatient kid. He always wanted to do or wanted
                     to have the things that I had. John didn't understand that I was
                     two years older and had more experience. For example, my dad
                     taught me how to use a rod and reel, and John had to use a pole
                     to fish. This would upset John because he would not get to use
                     the rod and reel until I taught him how to use it.

              5. It think John wanted Dad to look at him the way he looked at
                     me.

              6. John and I were devastated by the death of our dad. If Dad had not
                     died, then John wouldn't be on death row today.
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                    7. I was more of a leader and John was more of a follower. He
                               wanted to be accepted and liked by me because I am older and
                               not a punk.

                   8. Victor Miler and I were cell mates. Victor is dangerous.
                               John is the tye of guy Victor could get to do anything.




                                                                                     c?~ Stephen Hanson



                                                                                     /"'Îh
        Subscribed and sworn to before me this L day of
                                                                                              November, 2010.


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                             Attachinent 3
        Declaration of Marsha Hollingsworth
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                                    DECLARATION OF MARSHA HOLLINGSWORTH

         Pursuant Section 1746 (2) of              the United States Code, I, Marsha Hollngsworth,
                                                          Title 28 of


         declare under penalty of perjury that the following is true and correct.

         1. John Hanson is my cousin. John's father, Elmer, and my mother were twins.


         2. I was really close with John and         his brother Steve when they were growing up. Our
                     relationship was more like being brothers and sisters than cousins.

         3. I used to babysit John all the time. I remember him coming home from the hospital
                     after he was born.

         4. I first took care of John when he was stil in diapers. I was 9 years old at the time.
                     I stopped babysitting John when he was about 10 years old.

         5. I would usually take care of John and Steve in the afternoons when their mom,
                     Charlotte, was at work. I would also watch them in the evenings when Aunt Charlotte
                     was busy with her bowling league. It seemed like Aunt Charlotte was usually bowling
                     3 or 4 nights a week.

         6. I really loved my Uncle Elmer, he was a kind and generous man. Elmer was on the
                     road a lot because of              his work as long-haul truck drver, but when he was around, he
                     spoiled John and Steve rotten.

         7. Elmer bought his sons whatever they wanted - motorcycles, a boat, fancy toys, and
                     electronics. I thnk Elmer felt bad about always being on the road and his marage
                     failing, which may be the reasons he spoiled the boys with material things.

         8. Sometimes our grandmother, Flossie Hanson, would be around. Flossie was a strong
                     and smart woman. She seemed tokeepthewliole family                     up    the
                                                                                                 under   her   through


                     family businesses and controllng everyone's finances. Flossie did ru everybody's
                     life or at least wantedto.

         9. I knew Victor Miler when he was a little kid. I never liked Victor, and always
                     thought he was a shrewd, rude, and mean person. When John was about 7 years old,
                     Victor brought over some cigarettes, and I caught him, John, and Steve smoking in
                     the garage.




I.
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   10. Watching John grow up, I realized he was a follower and not a leader. Others,
        especially his brother Steve, could get him to do things he wouldn't have done on his
        own. Sometimes 1'd have to tell John not to be listening to Steve - he didn't have any
               business runnng anybody.

   11. John was devastated by Uncle Elmer's death. John was never much of a sharer, but
               his whole personality changed and he became real stand-offish after his dad's passing.
                                                                                                                          had
    12. Uncle Elmer took care of everyhing for John and Steve. When Elmer died, they

               no idea how to fend for themselves or even how to put in a day's work. I think John
               and Steve got caught up in crime because they had no skills or other means of
               supporting themselves.


    13. Once Elmer had passed away, John
                                                                            had his brother Steve to look to for a role modeL.
                This was a bad deal for John, because Steve was caught up in all kinds of criminal
                stuff. Steve didn't ever teach John anything good.

    14. Steve had gone out to California in the early 1980's and found out about the Crips
                gang. When Steve came back to Tulsa he had blue bandanna tied around his head,
                and started the Crips gang there.

     15. I love my cousin John and would have been happy to testify for him at his re-
                sentencing, but I was never asked by his trial attorneys.




                                                                    Z) ~cation: Portland. Oregon




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                       Attachnient4
                Affidavit of Marilyn Wright
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                                  AFFIDAVIT OF MARILYN WRIGHT


   STATE OF OKLAHOMA                                            )
                                                                )     SS.
   COUNTY OF TULSA                                              )


          I, Marilyn Wright, being of legal age and sound mind, do solemnly swear and state
  as follows:


        1. Since 1965 Charlotte Ward and I have been good friends. We met while
               working together as secretaries at areal estate company in Tulsa, Oklahoma.

        2. I was around Charlotte all the time when her children were growing up..
               Charlotte's kids even call me Aunt Marilyn.

        3. About the time Charlotte and Elmer got divorced, John's personality seemed
               to change. I think John was about 10 years old. John became depressed, he
               also developed some anger for his mother.

        4. A big reason for the divorce could have been Charlotte's mother in law,
               Flossie Hanson. For whatever reason, Flossie just didn't like Charlotte.
               Flossie would do things to poison Elmer and Charlotte's relationship. Flossie
              made up a story and told Elmer that John was
                                                                        not his son. She would also buy
              things for Steve, but not for John.

        5. Elmer was a big rig truck drver and was not around the boys much before or
              after he and Charlotte divorced. Charlotte seemed to be at a loss when it came
              to everyday interactions with the boys. She was easily overwhelmed over
              normal things that parents are supposed to do. I can remember her callng me
              to come over and discipline her boys for ordinar things kids would do. I
              would go to her house and  just talk to John and Steve, firmy and fairly. All
              they really needed was some direction and guidance. They responded well and
              would usually go apologize to their mom for whatever had happened to make
              her feel overwhelmed.

       6. John would sometimes confide in me. He didn't like ms step-dad, Houston
              Ward, because John felt like Mr. Ward took Charlotte
                                                                                away from John. John


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                    thought Houston favored his kids over John and Steve. John felt like because
                    Charlotte had allowed these changes, she didn't love him.

         7. I remember going with Charlotte one time to visit John at the prison in
                    Hominy, Oklahoma. When we got there, it turned out John had only put me
                    on his visiting list, so Charlotte had to wait in the car. I asked John why, and
                    he said Charlotte didn't love him.

        8. John stayed with me for a little while in the early '90's when he got out of
              prison. One time Charlotte came by and John wouldn't pay any attention to
                   her. I had to tell John to go say "Hi" to his mother, which he did. Charlotte
                   told John she loved him and his response was only to shrg his shoulders.


        9. I would have testified for John at either of
                                                                                       his trials, but I was never contacted
                   by his attorneys.



  FURTHER AFFIANT SAYETH NOT.
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                                                                          Marifyn wri t


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  Subscribed and sworn to before me this J day of Alavt:dlk,,                                        , 2010.
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                                                      DECLARATION OF SYLVIA                                  ANN       WALTON




     Pursuant            Section       1746 (2) öfTitle 28 of                        the    United    States Code, I, Sylvia Walton; declare                under
    penalty         of      peijur      that       the following               is treand correct.


     1. I ainJohnHanson's.patemal.cousin. . John's.fatherElmer Hansön Was iny.mother's twin
                   brother.           My        mother'            s name is FlossieJr. Elmer Hanson and                         Flossie Jr.      are the children
                   Flossie Harson Sr.

    2. MostofinycotitactwithJOM occurredwhel1hewas a teenager.lvyUncle Ehnerwould
                   bring Johnand his brother Steven to our grandiother's(Flossie Sr.) horne.

    3. Atthistiine, JOM'smotherand fatherweredivörced. . JohImainlylived with                                                                           his mother
                  . ai.d?l1lysa.~.hisfathera1Jout?ncea inonth:His fallerw.asa cross cOuntry truckdriver
                   and  was gone alot. John's father stayed with his mother, Flossie Hanson Sr., when he
                   Was in toWti.

    4. I neVer                       saw JohI alone. He Was always with his bröther, Steven. Steven wås more
                   outgoing than John. It was like JOM was iI the background. He was                                                           quiet.

    5. There            Was a familyruinörthafJohn was       nOt Elmer's son. My grandmother seemed    to
                  favor Steve.. I would hear her compliment Steven and say that Steven looked just like
                  Elmer in front of J OM. I thiIi that hurt J OM. She only did things. like that when Elmer
                  was in another rooin. Idoti't think Elmer knew all of this was going On.

    6. I don't krow if                                   accepted JohI. Shê showed favoritisin towards
                                                    my grandmother really

                                                                          it wasn't right that she treated
                  Steven so Often, that I confronted her aboUt it. I told her

                  SteVen better. Flossie seemêd to ignore.JohI.

                ... . My gtandmotheroften complained                                       that ElmerWåsted his in()neyonhisKiasj;-Ojfetim~r--~=~
                  remeinber Eliner heard her talking about it. He Was upsetaid asked her why she was
                  talking abOut him behind his back.

    8. When Elinefdied itwas. å shock to the entire family. IthiIi his death wouldhavebeeii
                  devastating to JOM and. Steven becaUse they were so close to their                                                    father .

    9. SOinetiite                      around             Elmer'        s futieral,Charlotte, JohI'sinom, cönfrontedourgrandm?ther.
                  Charlotte           said "Yournöt going                      to cheat my kids out ofan)rhing that is owed to them." .

    10. AftefElmer's fueral,                                        Steven visited our grandmother a few times but notJohn.

                  WïthoútElmer being                               there tóget JOhnand Stevetito us,OurfamiIy lost contaètwith
                  thern.
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     12. Looking back, I now see that there was a lot of       tension and conflict between John's
                mother, Charlotte, and our grandmother. Since getting older I now realize this was going
                on even when Charlotte and Elmer were married.

     13. When Charlotte and Elmer were together we never had family get togethers. I do not
               remember an occasion when our grandmother, Charlotte, Elmer and the boys were at the
               same place together.

     14. Our grandmother was a very controlling person. She used money to control her family. I
               experienced this personally and it was very painfuL.

     15. I do not know what John's life was like when he was at his mother's.


     16. Sometimes I wonder if John feels like no one really cared.




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                   Attachment 6
         Psychiatric Evaluation conducted
           by Dr. Donna Schwartz-Watts
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                               Psychiatric Evaluation of John Fitzgerald Hanson
                                Conducted by Dr. Donna Schwartz-Watts, M.D.


        DOD: 4/8/1964
        DOE: 10/21/2010
        POE: Pollock Federal Prison
        Date of Report: 11/29/2010


        Identifying Information:
                    Mr. John Hanson is a 46-year-old male evaluated pursuant to a request
        from his attorney, Robert Jackson, Assistat Federal Public Defender,
        Capital Habeas Unit for the Western District of Oklahoma.

        Purpose of the Evaluation:
             Mr. Hanson was convicted of two counts of first-degree murder in
        Oklahoma in Tulsa County. He was sentenced to the Death Penalty for the
        murder of Ms. Bowles and life in prison for the murder of Mr. Thuran.
        This general psychiatrc evaluation was conducted for puroses of Mr.
        Hanson's federal habeas proceedings, because it is not believed he has
        previously had such an examination. Mr. Hanson was examined in Pollock,
        LA at USP Pollock on October 21,2010.

        Summary:
                    Mr. Hanson suffers from multiple mental illnesses, Dysthymia, Major
        Depressive Disorder, Cognitive Disorder, and Post Traumatic Stress
        Disorder, and a personality distubance, Paranoid Personality Disorder. He
        was genetically predisposed to develop a mood disorder due to his mother's
        history of depression. He was a quiet child. Because of his conditions, he
        does not have any long-term relationships, except for his son and a cousin.
        He was most attached to his father and began to develop delinquent behavior
        when his father wasn't around as much due to divorce combined with his
        father's job as a long distance trck driver. He became depressed after his
        father's death. His attachment was then to his antisocial brother. He had a
        period of illegal behavior, which subsided once he became a father and was
        attched to Ledocia Warror. At the time of     Mr. Hanson's offenses, he was
        alone. Ms. Warrior asked Mr. Hanson to leave when he became
        unemployed. He eventually became homeless and was living in a car. Then
        he became reacquainted with Victor Miller and paricipated in varous

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        criminal offenses which eventually resulted in charges being filed against
        Mr. Hanson and Miler for the deaths of                 Mary Bowles and Jerald Thurman.

        Qualifications of Examiner:
                    Donna Schwartz-Watts, M.D. is a physician licensed to practice
        medicine. She is a Board Certified General Psychiatrist and has Added
        Qualifications in Forensic Psychiatr. She has been qualified as an expert in
        Forensic Psychiatry in US Distrct Courts, South Carolina General Sessions,
        Mississippi State Court, North Carolina State Cour approximately 750
        times. See attached Curculum Vitae.

        Sources of Information:
        1. May 17, 2001 letter from Gilda Kessner, Psy.D. re: proposed
                    testimony
        2. Affidavit of Gilda Kessner, Psy.D., dated June 28, 2002
        3. Social History - Risk Assessment by Jeane Russell, Ed.D.
        4. Transcript of Proceedings dated Januar 23, 2006 - Dr. Russell
                    testimony
        5. Affidavit Stephen Hanson 11/5/2010
        6. Declaration Marsha Hollingsworth 11/14/2010
        7. Declaration Sylvia An Walton 10/28/2010
        8. Affidavit of                   Tremaine Wright 11/5/2010
        9. Affidavit of                   Marilyn Wright 11/5/2010
        10. Telephone Interview Charlotte Ward 11/23/2010
        11. Telephone Interview Marsha Hollingsworth 11/24/20 1n
        12. Medical records Charlotte Ward St. Johns Medical Center 2003-2007
        13. Investigation Memo concerning interviews of Charlotte Ward and
                   Houston Ward, dated June 23, 2010, conducted by Bob Jackson,
                   AFPD, Ken Lee, AFPD and Scott Kenna, Investigator, FPD
        14. Investigation Memo concerning second interviews of Charlotte Ward
                   and Houston Ward, dated August 4,2010, conducted by Bob Jackson,
                   AFPD and Scott Kenna, Investigator, FPD
        15. Investigation Memo concerning interview of Houston Ward II, dated
                   September 6, 2010, conducted by Ken Lee, AFPD and Scott Kenna,
                   Investigator, FPD
        16. Investigation Memo concerning interview of Charlotte Hanson Ward,
                   dated September 3, 2010, conducted by Ana Wright, Investigator,
                   FPD and Bob Jackson, AFPD
        17. Internal Memo concernng interview of Ledocia Anette Waror
                   interview, dated July 19,2010, conducted by Bob Jackson, AFPD and
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                           Scott Kenna, Investigator, FPD
                18. Internal Memo concernng interview of Marsha Hollingswort in
                      Portland, Oregon, dated July 28-30, 2010, conducted by Bob Jackson,
                      AFPD and Scott Kenna, Investigator, FPD
i:"
~~ r            19. Internal Memo concerning interview of Tremaine Wright, dated
                           September 22, 2010, conducted by Bob Jackson, AFPD and Scott
                           Kenna, Investigator, FPD
               20. Internal Memo concernng interview of Houston Ward III, dated
                     August 23,2010, conducted by Bob Jackson, AFPD and Scott Kenna,
                           Investigator, FPD
               21. Internal Memo concernng interview of Marilyn Wright, dated
                     September 24, 2010, conducted by Bob Jackson, AFPD and Scott
                           Kenna, Investigator, FPD
               22. Jon Hanson Life History - CPC memo
               23. Memo of Interview of Tremaine Wright 4/21/2003
               24. Presentence Investigation Report by Todd Brian Gollihare 4/28/2000


               Developmental History:
                           According to a telephone interview with Mr. Hanson's mother
               Charlotte Ward, there were no problems durg his pregnancy or delivery.
               Mrs. Ward states she was 21 years old and cared him to term. She states
               his achieving developmental milestones as normaL. The records and Mr.
               Hanson report he had a bike wreck as a child that left him "bald mouthed."
               He got a parial plate when he was 1 0 years old.
                      At the age of 8, his mother and father separated. His mother maried
               Houston Ward when he was 15 years old. His father was unfaithful, and Mr.
               Hanson reports he was aware of  his infidelity. Mr. Hanson also reported that
               he knew his mother dated the Tulsa police chief, who was maried. His
               father died when he was 18 years old in 1982.
                      His mother, his mother's frend Marlyn Wright, his brother Stephen,
               and Marlyn Wright's son, Tremaine Wright and his cousin Marsha
               Hollingsworth all note a change in John's mood after his father died. His
               cousin, Marsha, describes him as a child "who kept to himself." She also
               described him as a follower of his brother.
                     Mr. Hanson had little contact with his father's family after his death.
               He reports he felt like "Houston's kids and his brother and sister were loved
               more" than him. Mrs. Ward confirms his paternal grandmother loved
               Stephen more than John. Marsha confirmed that her grandmother did show
               favoritism to the first-born grandchildren. .
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        School History:
              Mrs. Ward reports that John was a good student, yet school records
        indicate he had numerous absences in grades 7 through 9, and his junior high
        and high school grades were poor, bordering on mediocre. He attended Tulsa
        Public Schools from 1969-79. There were no public school records from
        1970-72. Mr. Hanson reports he attended Holy Family Catholic School
        during that period. He transferred to Broken Arow School in October 1979.
        There was no evidence of any repeats or resource classes in his records.
        There was no evidence that he had IQ testing. His grades were not good
        from seventh grade on. He quit school in the twelft grade and reports he
        eared his GED in prison.

        Occupational History:
              Mr. Hanson held numerous jobs for short periods of time. Although
        various family members and friends described him as intellgent, his jobs
                                   labor. Below is a list of his various jobs. Note
        consisted primarily of manual


        that his most consistent employment spaned the four years that he was in a
        relationship with Ledocia Waror, from 1994-1998.

        Carpentry through Job Corps (early 80's)
        Pizza Hut 4/26/1981 to 5/13/1981
        Everclean Jantorial8/1990 to 9/1990
        Goldies Patio Grill          9/1990
                                        9/1990 to


        Bennigans 1990-1991
        Rev. Wright's Air Conditionig Service 6/1992
        Sheridan Lanes Bowling 1994-1995
        Crest Foods 1995..1996
        First Ice 1996-1999
        Express Personnel/igh Country Utilities 1998
        Seal-Rite Construction - 4/1999
        Blue-Bell Creameries - 3/1999 - 7/1999
        Orderly for prison administration- present

        Family History of Mental Illness:
              Review of Charlotte Ward's medical records from St. John's Hospital
        in Tulsa, Oklahoma reveal she has been diagnosed with Major Depressive
        Disorder. She has been treated with antidepressants, anti-aniety agents and
        antipsychotic medication. The record revels she has had complications of
        psychosis from her depressions. His mother has also been diagnosed with
        obsessive-compulsive traits, bipolar disorder, panic disorder with

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        agoraphobia, generalized anety disorder, and post part depression. Her
        symptoms have included ruminations, depression, aniety, insomnia, mood
        swings, poor concentration, blank periods, confused thoughts, isolation, fear
        of snails/slugs, and a fear of going places.

        Medical History:
              Mr. Hanson reported a history of two closed head injuries as a child.
        He states he was in a bicycle wreck which resulted in his front teeth being
        knocked out. He describes another head injury with an associated loss of
        consciousness when he ran into a wall.
               He has a history of asthma, and an allergy to penicillin(I. He had a
        tonsilectomy age 13. He reports he had tuberculosis while incarcerated in
        Beaumont. He states he had a fever for 30 days and "tried to sweat it out."
                   He has a history of migraine headaches, which he reports have
        improved over time. His roommate and friend, Tremaine Wright noted that
        prior to his curent charges, Mr. Hanson's migraines were debilitating. He
        reported that Mr. Hanson "was always takig Tylenol.(I"
               Mr. Hanson reported eating red clay as a child and adult because he
        liked the taste and for health reasons.

        Psychiatric History:
              Although his family and frends report he became depressed after the
        death of his father, Mr. Hanson has no history of inpatient or outpatient
        psychiatric treatment. His first interaction with mental health specialists
        occured when he was charged in this case. He was evaluated by Dr. Gilda
        Kessner, Psy. D. on 4/3/01 and 5/16/01. Her evaluation was specifically
        limited to performing a risk assessment to be used as mitigation in his capital
        triaL. In her report issued 5/17/2001, she confirmed that Mr. Hanson      was
        treated differently by his paternal grandmother because she did not believe
        he was her son's child. She also noted that when his mother married
        Houston Ward, he and Stephen were asked to. leave the home. She also
        noted that he dropped out of high school in the 12th grade due to racial
        tension.
                   He was not seen again until 2004 when he had another social history-
        risk assessment by Jeanne Russell Ed. D. completed on 12/31/04. Similar to
        Dr. Kessner, this evaluation was limited to a risk assessment and social
        history for Mr. Hanson's sentencing. Dr. Russell noted that his mother had
        mental illness during his triaL. She noted he was in a stable relationship with
        Ledocia Warror from 1994-98. When he was unable to maintain

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        employment, Ms. Warrior asked him to leave. He was homeless at the time
        of his offenses.
                As part of her evaluation, Dr. Russell administered an abbreviated IQ
        test, the Wechsler Abbreviated Scale of Intelligence, which showed a 34-
        point difference between his Verbal and Performance IQ. This discrepancy
        in scores is important, given a I5-point difference is considered signficant
        for underlying brain dysfuction/organicity. No follow-up testing was
        completed. None of   Mr. Hanson's medical history, including his history of
        closed head injures was listed.
                   There were signficant featues of Dr. Russell's mental status
        examination that were not pursued by Mr. Hanson's trial attorney such as:
        "he has difficulty staying on tasks with circumstantial speech." Such an
        observation is consistent with cognitive dysfunction.
              Dr. Russell also noted themes of paranoid thinkng: "He is guarded
        and acknowledges he trusts no one, believing most people mean him harm or
        fail to understad the world as it really is.. .at the very least he exhibits
        paranoid thoughts which impair his ability to trst." She additionally noted
        symptoms consistent with a mood disturbance. "His mood is pessimistic
        with affect reactive to mood." Dr. Russell administered MMI testing and
        noted:
                   "Although Mr. Hanson agreed to take the MMI-2, he
                   frequently questioned the content of the items, analyzing what
                   they really meant and expressing suspiciousness regarding what
                   the authors were tring to find out. He refused to accept these
                   were standardized items and that the questions were not
                   intended to trck him."

                   "Mr. Hanson's MMI-2 profile indicates some confusion and
                   personality deterioration. Content analysis indicates he is
                   preoccupied with bizarre ideas and abstract thoughts. He tends
                   to project blame onto others and appears to withdraw into
                   fantasy in an attempt to deal with his distress. In an interview,
                  .he is likely to be circumstantial, tangential, and disorganized."

                   "He has endorsed a number of items suggesting that he is
                   experiencing low morale and a depressed mood. He may feel
                   somewhat estranged and alienated from people. He is
                   suspicious of the actions of others, and he may tend to blame
                   them for his negative frame of mind. He reports some antisocial
                   beliefs and attitudes, admits to rule violations, and

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                   acknowledges antisocial behavior in the past. He views the
                   world as a threatening place, sees himself as having been
                   unjustly blamed for others' problems, and feels that he is getting
                   a raw deal out of life."

                   "He endorsed a number of extreme and bizarre thoughts,
                    suggesting the presence of delusions. and/or hallucinations. He
                   apparently believes that he has special mystical powers or a
                    special "mission" in life that others do not understand or
                   accept."

                   "The defendant feels socially inadequate, has very poor social
                   skills, avoids close relationships, and views others as unfriendly
                   or threatening. He is fearful and suspicious of other people.
                   Many individuals with ths profile type are unable to develop
                   loving relationships and never trst anyone enough to marr."

        The results of             Dr. Russell's testing should have alerted his counsel to obtain
        a psychiatrc consultation.

        Substance Use History:
                   Mr. Hanson reports he dran alcohol and smoked marijuana from
         1980-1997. He also reports using PCP, as well as dipping tobacco and
        marijuana cigarettes in embalming fluid. He reports an ounce of marijuana
        would tyically last him one week.


        Social History:
              Mr. Hanson has no contact with his mother. He has refused her visits
        in the past. His only attchments are to his former wife, his son, and to his
        cousin, Marsha Hollngswort. He did not have any long lasting stable
        relationships. He was with his wife for four years.
                   Mr. Hanson did live with Tremaine Wright for a number of years. Mr.
        Wright reports that Mr. Hanson lived with him until he married, and     then he
        became homeless. Mr. Wright reports he knew Mr. Hanson was sleeping in
        a car before his crimes and before his relationship with Victor Miller.
                   Mr. Hanson's mother reported she was placed in home for unwed
        mothers, and that Elmer Hanson's mother introduced them. She retired from
        Ford after 27 years of employment. Mrs. Ward had a sister Janet who died
        from AIDs.


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                           Mr. Hanson's older brother Stephen has a history of being
               incarcerated. Stephen spent some time in Southern Californa in the mid
                1980's, and he was reported to be the originator of       the CRIPS gang to Tulsa.

               Trauma History:
                     Mr. Hanson denies any childhood trauma, other than the death of his
               father. He specifically denied being injured while in juvenile custody.
               However, he did admit to witnessing violence once he was confmed. He
               reports he has seen, people beaten in the head with locks. He states he saw
               an inmate stabbed in the thoat.
                     Mr. Hanson reports that he has been stabbed three times and reports
               flashbacks whenever he thins about it. He reports he has had a gun to his
               head thee or four times and shot at four times. He states he deals with his
               anxiety by acting like "Spock from Star Trek." He states he tries to be
               logical and unemotionaL.

               Relationship History:
                     Mr. Hanson has not had many long-term frendships outside of his
               cousin, Marsha Hollingsworth. He reports a high opinion of his son's
               mother, Ledocia Warrior. He reports she was "the best woman," and that
               she took care of him. He described her as "compassionate." Tremaine
               Wright reported Mr. Hanson would "isolate himself' from Ledocia which
               would cause problems.
                     Mr. Hanson knew his codefendant, Victor Miller since childhood. His
               cousin Marsha stated that Victor was older and she caught him giving John
               and Stephen cigarettes. She states Mr. Miller was around ten and Mr.
               Hanson was 6. When asked to describe their relationship, Mr. Hanson
               reported: "I let my guard down. I made the wrong choices."

               Legal History:
                           The onset of Mr. Hanson's delinquency coincided with his leaving
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               school in 1980. He was placed in DHS custody on June 3, 1980. He was
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 It
               sent to the Oklahoma Children's Center, went AWOL on June 28, 1980~ and
               was eventually placed in the Boley and Helena juvenile facilities. He denied
               being abused there but did not deny abuse was happening. He was
               adjudicated delinquent for using his grandfather's credit cards and stealing
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t~
               his mother;s car.
                     In the same year that his father died, Mr. Hanson commtted an
               Ared Robbery and Aggravated Assault (12/82). He was sentenced to 10
               years on 8/29/83. Records indicate another Ared Robbery in 1990,
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        however this looks to be for a probation violation on the earlier robbery
        sentence.
              He was not charged with any crimes while living with Ledocia or
        Tremaine Wright. Mr. Hanson's immediate legal troubles occurred when he
        became homeless:

        1/9/99          Robbery Apache Junction Liquor Store
        8/21/99         Robbery neighborhood liquor store
        8/22/99         Smoke Shop
        8/23/99         Apache Junction
        8/24/99         F ox Run Liquor Store
        8/25/99         Dreamland Video
        8/28/99         Grapevine
        8/30/99         Western
        8/31/99         Promenade mall carjacking resulting in homicides
        9/7/99          Signature loan
        9/8/99          Tulsa Federal Employees Credit Union
        9/9/99          Apprehended at Muskogee, Oklahoma Econolodge

        Mental Status Examination:
              Mr. Hanson was pleasant but guarded. He was pre-occupied with the
        prison and the "games they play when guests are here all the time." He
        related to the examiner in a paranoid and hypervigilant maner. His thought
        processes were circumstatiaL. He was also grandiose. He referred to the
        prison as a "nursery schooL." He stated: "they are the Flintstones and I am
        the Jetsons."
               Mr. Hanson's hypervigilance was evident by his reports of seeing
        flare guns, machine guns and all of the different cultures of inmates he had
        to be careful not to offend. He admitted to daily aniety attacks. He reports
        his aniety is situational and he tries "to get out of the situation" before his
        anxiety overwhelms him. He also admitted chronic insomnia, reporting he
        sleeps four to five hours at night. He admits to depression, beginning at age
        16. He states he is "emotional about things, never felt loved and was never
       hugged." He described a ruminating thought that he will die while confined
       in Pollock.
              On formal cognitive testing, he was alert and oriented. His
       performance was above average on tasks of verbal fluency. He performed
       below average on reproducing visual designs. He had difficulty with serial
        seven subtractions. He was able to abstract similarities between objects. He


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        was able to register and recall thee items after five minutes. He used visual
        cues for recall.

        Diagnoses:
                    The fourh edition of the American Psychiatrc Association's
        Diagnostic and Statistical Manual          of Mental Disorders, Text Revision
        (DSM- TR) is the official nomenclature used by psychiatrsts and other
        physicians to diagnose mental disorders. The DSM uses a multi-axial
        system of assessment. There are five axes, which help clinicians plan
        treatments and outcomes.
              Axis I Disorders are for major mental illnesses and other conditions
        that are the focus of clinical attention. If an individual has more than one
        Axis I disorder, they should be recorded separately.
               Axis II Disorders are personality distubances and mental Retadation.
        The listing of personality disorders or Mental retardation prevents these
        conditions from being overlooked, especially when patients suffer from Axis
        I disorders at the same time.
                    Axis III is for General Medical Conditions. Medical conditions can
        affect the management and course of       Axis   I and Axis II illnesses.
                    Axis IV codes psychosocial and environmental problems that can
        affect the diagnosis, treatment and prognosis of mental disorders. A
        psychosocial problem can be a negative life event, an environmental
        difficulty, familial or interpersonal stress, or an inadequate social support.
               Axis V is a global assessment of fuctioning. The Global Assessment
        of Functioning (GAF) is the clinician's judgment of the patient's overall
        level of fuctioning. The GAF scale is divided into ten ranges of
        functioning. The scale has two components: symptom. severity and level of
       functioning. A single value is picked that best reflects the individual's
       functioning. The ratings range from 0 to 100, the lower the rating, the
       higher the level of danger and inability to fuction. The higher the rating,
       the less likely one is to suffer any symptoms of mental illness or have
       impairment in functionig. A GAF of 50 represents serious symptoms of
       mental illness or serious impairment in fuctionig.

        The following is the DSM- TR multi       axial assessment for Mr. John Hanson:

        Axis I (major mental illnesses):

                     1. Dysthymic Disorder, early onset
                     2. Major Depressive Disorder, recurrent, mild in parial remission
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                     3. Post Traumatic Stress Disorder, chronic
                     4. Cognitive Disorder, Not Oterwise Specified


        Axis n (personality disturbances): Paranoid Personality Disorder


        Axis in (general medical conditions): Asthma, Headaches, History of
                    closed head injuries

        Axis iv (psychological and environmental problems): Lack of        family
                    support, incarceration

        Axis V (GAF scale); 50

        Discussion of diagnoses:

        1. Dysthymic Disorder is a chronically depressed mood that occurs most
        days for at least two years. Durig the period of depressed mood, at least
        two additional symptoms must be present. Mr. Hanson reports a long history
        of insomnia and has low self-esteem, although he attempts to appear
        grandiose. The onset of Mr. Hanson's depression appears to prior to the
        death of his father, at age 16. His mother, brother, frends, Marilyn and
        Tremaine Wright, his cousins Marsha Hollingsworth and Sylvia Waldon
        confirm his mood changed. Major Depressive Disorders may be
        superimposed on Dysthymic Disorders. In such cases, a "double
       depression" is diagnosed (p.377, DSM'-TR). His disorder is characterized as
       early onset since he did report symptoms of depression before age 21.

       2. Major Depression is a depressed mood for at least two weeks with at
       least four additional symptoms. His additional symptoms include decreased
       appetite, insomnia, fatigue, a sense of worthlessness, and suicidal ideation or
       suicide attempts. His friend Tremaine Wright described discrete periods of
       time where Mr. Hanson would not fuction. He would lie still àld not move
       even after Tremaine had come home from work. In my interview, Mr.
       Hanson admitted to insomnia, morbid thoughts of death. Additionally, his
       mother has history of' treatment for depression. He had a genetic
       predisposition to ínerit depression due to his mother's ilness.

       3. Post Traumatic Stress Disorder is an aniety disorder. In order to meet
       the diagnostic criteria for Post Traumatic Stress Disorder, six criterions must
       be met. First, the person must have been exposed to a     traumatic event that
                                                                      11
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        involved actual threatened death or serious injur, or a threat to his physical
        integrity and his response to such a threat involved helplessness, horror or
        intense fear. Mr. Hanson does report witnessing and being the victim of
        trauma during periods of his confinement. He also states he has been
        stabbed thee times and shot at three or four times.
                 The second criterion for Post Traumatic Stress Disorder involves
        persistently re-experiencing the traumatic event in the form of recurrent,
        intrusive thoughts, recurent dreams of the event, feeling as if the traumatic
        event is reoccurng, intense psychological distress at exposure to internal or
        external cues that symbolize or resemble an aspect of the traumatic event or
       physiological reactivity when exposed to internal or external cues that
        symbolize or represent an aspect of                                  the traumatic event. Mr. Hanson reports
        flashbacks daily.
                 The thrd criterion for Post Traumatic Stress Disorder involves
       persistent avoidance of stimuli associated with the trauma and numbing of
        general responsiveness by efforts to avoid thoughts, feelings or
        conversations about the trauma, efforts to avoid activities or places
        associated with the trauma, inability to recall important aspects of the
        trauma, markedly diminished interests in activities, feeling detached or
        estranged from others, restricted range of affect and a sense of foreshortened
        futue. Mr. Hanson is very guarded and gives little detail about the violence
       he has experienced and witnessed.
               . The fourt symptom consists of increased arousal as indicated by
       difficulty sleeping, irritability or outbursts of anger, difficulty concentrating,
       hypervigilance or exaggerated starle response. Mr. Hanson reports difficulty
       sleeping and is very hypervigilant as noted in his mental status examination.
                 The fift criterion requires the duration of the above symptoms for
       more than a month. Mr. Hanson has experienced these symptoms for years.
                                             his evaluation with Dr. Russell.
       He was noted to be guarded at the time of


            Finally, the disorder must cause signficant distress or impairent in
        social, occupational or other importt areas of fuctioning. Mr. Hanson
        does not Ihteract with other inates or maintain relationships with                                       his
       immediate family.

       4. Cogntive Disorder Not Otherwise Specified
           According to the DSM- TR (p. 179), this category is for disorders
       characterized by cognitive (brain) dysfuction presumed to be the direct
       physiologic effect of a general medical condition that does not meet criteria
       for delirium or dementia, yet does indicate organicity. . .
                 Mr. Hanson was tested by Dr. Russell and found to have a significant.
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        split on verbal and performance subscales of IQ testing. He also has other
        clinical symptoms associated with cogntive dysfuction including migraine
        headaches, difficulty reproducing visual designs and problems with
        concentration.

        5. Paranoid Personality Disorder is a pattern of pervasive distrust and
        suspiciousness of others such that their motives are interpreted as
        malevolent. These individuals assume others will exploit, har or deceive
        them, even if no evidence exists to support this expectation. They often feel
        that they have been deeply and ireversibly inured by another person. They
        are preoccupied with unjustified doubt about the loyalty or trstwortess
        of their friends and associates. Individuals with ths disorder are reluctant to
        confide in or become close to others because they fear that the information
        they share will be used against them. In Mr. Hanson's case, his excessive
        suspiciousness is apparent by a quiet aloofness. He appears to be cold. He
        had prior personality testing which confirmed his paranoia. Persons with
        this disorder can decompensate and have brief bouts of psychotic behavior.
        His personality testing conducted by Dr. Russell revealed some bizare and
        psychotic thought processes. His pre-sentencing report noted he has a tattoo,
        which states: "Trust no 1 but God," such a statement reinforces the existence
        ofMr. Hanson's paranoia.

        Opinions:
          1. Based on my review of Dr. Russell's report, there was evidence that
             Mr. Hanson suffered from a mood disorder, paranoid personality
             disorder, and brief periods of psychotic thinking. This information
             should have prompted the attorney to obtain a psychiatric consult for
                diagnostic puroses.
             2. It is flear that Mr. Hanson suffers from a chronic and superimposed
                 acute mood disorder and has a maternal history of mood disorder.
             3. It is clear that Mr. Hanson suffers from Paranoid Personality Disorder
                 and that evidence was available to support this finding at the time of
                 his hearing.
             4. Based on review of Dr. Russell's report, there was evidence that Mr.
                Hanson suffered impaired cogntive fuction. He had a significant
                split in the verbal and performance subscales on his intellectual
                testing. She reported he was confused, distracted, and had difficulty
                staying on task, all clinical signs of cogntive impairment. This
                information should have prompted neuropsychological testing to
                determine the extent of lus cognitive dysfunction (organicity).
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           5. Mr. Hanson has a history of closed head injuries, headaches and
                fuher signs of cogntive impairment including difficulty reproducing
                visual designs which are further evidence of cognitive impairment.
           6. These diagnoses were available at the time of    the trial had appropriate
                consultations been ordered.
           7. Additiönally, Mr. Hanson has been exposed to life threatenig trauma
                and has a resultat aniety disorder. Unfortately, he is too paranoid
                to discuss these traumas in more detaiL.
           8. Mr. Hanson was sufferig from depression at the time of   his offenses.
                He was homeless and had no social supports. Persons with depression
                can be irritable, impulsive, and use poor judgment. His cognitive
                 disorder was also present at the time of his offense and would have
                 contributed to his impulsivity and poor judgment.




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        Donna Schwartz-Watts, M.D.
                                                                            Date:
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        Consulting Forensic Psychiatrist




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                              Attachment 7
                 Dr. Donn.a Schwartz-Watts-
                          Curriculum Vitae
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                                                   Curriculum Vitae
                          DONNA MARIE SCIIWARTZ-WATTS, M.D.


         DATE OF BIRTH: May 29,1963
         PLACE OF BIRTH: Camp Lejeune, North Carolina

         PRESENT POSITIONS:
                            Senior Psychiatrist (certified)
                           Bryan Psychiatric Hospital

                           DMH Clinical Professor of Psychiatry
                           University of South Carolina School of       Medicine
                            Department of         Neuropsychiatry and Behavioral Science




          PROFESSIONAL LICENSURE:

                            Diplomate, Psychiatry, (Board Certification #40726), January 1995,recertified
                            7/05
                            Added Qualifications in Forensic Psychiatry, July 1996 #471, recertified 7/06
                            South Carolina Medical License # 16574
          EDUCATION:
tl

          1981 - 1985       B.A. Psychology
                            Furman University
                            Greenville, South Carolina

          1985 - 1989       Doctor of Medicine
                            University of South Carolina School of Medicine
                            Columbia, South Carolina
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                                                                                Donna Schwartz-Watts, MD
                                                                                         Curriculum Vitae

    POSTGRADUATE FELLOWSHIPS AND RESIDENCY POSITIONS:

     1989 - 1993        Resident in General Psychiatry
                        Wiliam S. Hall Psychiatric Institute
                        Columbia, South Carolina

     1993 - 1994        Fellowship in Forensic Psychiatry
                        Wiliam S. Hall Psychiatric Institute
                        Columbia, South Carolina

     ACADEMIC POSITIONS/EMPLOYMENTIUNIVERSITY APPOINTMENTS:
     7/2006-7/2010
                        Professor of Clinical Psychiatry
                        Director, Forensic Psychiatry Services
                        University of South Carolina School of       Medicine
                        Department of          Neuropsychiatry and Behavioral Science
                        3555 Harden Street Extension, Suite 102
                        Columbia, South Carolina 29203
                        (803) 434-4698 (803) 434-2367 (fax)


                        Consulting and Treating Forensic Psychiatrist
                        South Carolina Department of Juvenile Justee

                        Consulting and Treating Forensic Psychiatrist
                        South Carolina Department of Corrections




     11/98-6/2009       Consulting and Treating Forensic Psychiatrist
                        Behavioral Disorders Treatment Program
                        (Sexually Violent Predator Program: SC 44-48-110)
                        South Carolina Department of Mental Health

     6/1997- 7/2006     Associate Professor
                        Director, Forensic Services
                        Department of Neuropsychiatry
                        University of South Carolina School of Medicine

     1 /2004~ 7 /2004   Acting Assistant Director, Psychiatry Residency Program
                        University of South Carolina School of Medicine
                        Department of          Neuropsychiatry and Behavioral Science


     7 /1996 - 6/1997   Psychiatrist C Wiliam S. Hall Psychiatric Institute
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                                                                                               Donna Schwartz-Watts, MD
                                                                                                        Curriculum Vitae
                           Residential Treatment Director ofNGRl Unit

    1/1995 - 6/1996        Teaching Psychiatrist II Wiliam S. Hall Psychiatric Institute
                           Out-patient Forensic Psychiatrist

     1/1995 - 12/1997      Assistant Professor University of South Carolina SchoolofMedicine
                           Department of  Neuropsychiatry

    7/1994 -6/1995         Instructor University of South Carolina School of                   Medicine
                           Department of          Neuropsychiatry

    7/1994 - 12/1994       Teaching Psychiatrist I Wiliam S. Hall Psychiatric Institute
                           In-patient and Out-patient Forensic Psychiatrist

    MEDICAL STAFF APPOINTMENTS
    Bryan psychiatric Hospital (current)
     South Carolina Department of Corrections (courtesy)
     South Carolina Department of Juvenile Justice (inactive 7/2010)
    William S. Hall Psychiatric hstitute
    Palmetto Health Richland Memorial Hospital (courtesy)
    Palmetto Health Baptist Medical Center (courtesy)


     UNIVERSITY 1 MEDICAL STAFF COMMITTEES:
     2007-2010      Member, Appointments and Promotions Committee
     2002- 2009      Member, Alumni Committee, USC School of Medicine
     1996- Present          Member, Residency Selection Committee
     1995- Present          Member, Residency Training Committee
     2002- 2003             Member, Search Committee, Chairman of  Neuropsychiatry
     2000-2001              Member, Committee on Women USC
     1997                   Member, Traditions Committee USCSM
     1997                   Member, Search Committee, Director Rehabilitation Counseling
     1997                   Physician Advisor, Environment of Care
     1996                   Member, Search Committee Chair of                  Departnent of     Neuropsychiatry and
                            Director of Hall Institute
     1996                   Member, Finance Committee, University Specialty Clinics
     1994-1996              Member, Infection Control Committee
     1993-1994              Member, Research Committee

     HONORS AND AWARDS:

     2007                  Outstanding Female Physician Mentor Award

     2004-2005              Outstanding Forensic Teaching Award
                                   Presented by the USC SOM Forensic Fellowship Training Program

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                                                                                                     Donna Schwartz-Watts, MD
                                                                                                              Curriculum Vitae

     1992                                Rappeport Scholarship in Forensic Psychiatry
                                                  Presented by the American Academy of Psychiatry aiù the Law
     1989                                Neurology Award, School of   Medicine
     1985                                  Cum Laude Graduate, Furman University
                                           Phi Beta Kappa, Furman University
                                           Alpha Epsilon Delta, Furman University

    MEMBERSHIPS AND OFFICES IN PROFESSIONAL ORGANIZATIONS:

    2002-2009               American Board of Psychiatry and Neurology
                            Forensic Certification Committee

     1999-Present American Board of                         Psychiatry and Neurology
                            1999-Present Board Examiner


     1997-2003 Group for the Advancement of                                   Psychiatry (GAP), General Member
                            1999 Chair
     1992- Present American Academy of                           Psychiatry and the Law (AAPL)
                             1995-2000 Rappeport Committee (President appointed)
                             1995-2000 Education Committee (President appointed)
                             1998-2000 Program Committee (President appointed)
                             1999 Program Chair
                             1995-97 Mentor to Rappeport Fellow

     1989-1998 American Psychiatric Association, General Member

     1989-1998 South Carolina Psychiatric Association
                             1995-1998 Federal Legislative Representative (President appointed)
                             1995- 1 999 Executive Council
                             1996- 1 998 Secretary-Treasurer

     1997 NAMI Advisory Board Physician Representative

     PUBLICATIONS:

     Schwartz-Watts DM: "Commentary: Stalking Risk Profile." The Journal of                              the American Academy
                 of   Psychiatry and the Law, 34:455-457, 2006.

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                 Mosby, Inc affiliate of             Elsevier, Inc 2005.

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                                                                         Human Immunodeficiency Virus
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     Internet Chat Rooms: Who Solicits Children? R. Gegg Dwyer, MD, EdD, Donna Schwart~Watts MD,
     Willam Burke, PhD, American Academy of Psychiatry and the Law 3~ Annual Meeting, Seattle, W A
     October, 2008



     PRESENTATIONS:
     "Stalking in the New Milennium": Department of                                Mental Health Day Long CME, Colmbia SC,
     October 2009

     "Internet Predators": South Carolina Psychiatric Association Annual Meeting, Myrtle Beach, South
     Carolina, 1/2009


     "Internet Predators": Panel Speaker, South Carolina Bar Association Annual Meeting, Myrtle Beach
     South Carolina, 1/2009


     Internet Predators: ICAC Quarterly Meeting, Columbia, South Carolina 11121/2008

     Project Safe Childhood, Advanced Online Child Exploitation SeminarNational Advocacy Center
     Columbia, SC, July 29, 2008

     "Violent Crimes and the Commitment of Sexually \1olent Predators, MUSC Judges and Attorneys
              Substance Abuse and Ethics Seminar, Charleston, South Carolina, December 7, 2007


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    "Autistic Spectrum Disorders and Corrections" South Carolina Department of Corrections Mental
    Health Seminar, Columbia, South Carolina, December, 2007

    "Pitfalls in Sex offender Commitment Hearings" Panel Speaker, American Academy of Psychiatry
              and the Law 38th Annual meeting, Miami, Florida, October 22, 2007

    "Treating the Untreatable" Panel Spea1er, American Academy of
                                                                                               Psychiatry and the Law 3Sli
              Annual Meeting, Miami, Florida, October 19,2007

    "Risk Assessment in General Psychiatry: Department of
                                                                                        Mental Health Annual Day Long CME,
    Columbia, SC September 21, 2007

    "Mitigation        in Noncapital Cases" SC Public Defender's Conference, Myrtle Beach, SC October 2007.

    "Nuts and Bolts of Sexually Violent Predator Proceedings" SC Bar CLE, Columbia, South Carolina
    July 27, 2007

     University of South Carolina School of                         Medicine Founder'sDay Speaker for Woman in Medicine,
     Columbia, South Carolina, April                   2007.

     "Autistic Spectrum Disorders and Mitigation," Washington DC March 2007

     "Sex Crimes and their Aftermath II" Panel Discussion and Presentation, Jack Swerling
             Moderator, South Carolina Bar Association Conference, Charleston, SC, January 25,
                    2007

     "Psychiatry for the Briliant Fact Finders" Invited Speaker, South Carolina Judges Conference,
            Greenville, SC, May 12,2006.

     "Sex Crimes and their Aftermath" Panel Discussion and Presentation, Jack Swerling Moderator,
            South Carolina Bar Association Conference, Charleston, SC January 27, 2006.

     Habeas Institute, Guest Faculty Teaching for the Federal Defenders, US Department of Justice
            National Institute of Trial Advocacy, Atlanta Georgia, June 45, 2005

     Habeas Institute, Guest Faculty Teaching for the Federal Defenders, US Department of Justice
            National Institute of Trial Advocacy, Atlanta Georgia, June 56, 2004

     Habeas Institute, Guest Faculty Teaching for the Federal Defenders, US Department of Justice
            National Institute of Trial Advocacy, New York, New York, June 2G21,2003

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     South Carolina Probation, Paroles and Pardons Annual Conference. "A State of
                                                                                                                Mind". Myrtle

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                Beach, SC. November 11,2002.

    American Academy of Psychiatry and the Law, "Diffcult Case? Consult your Colleagues."
                Newport Beach, California. October 26,2002

     South Carolina Public Defender's Conference, "Issues and Concerns Regarding the Sexually Violent
            Predator Statue" Litchfield Beach, South Carolina, September 30, 2002

     Habeas Institute, Guest Faculty Teaching for the Federal Defendlrs, US Department of Justice, New
                York, New York, June 28-30-2002.

     American Academy of Psychiatry and the Law, "Death Penalty" Boston, MA, October 28, 2001

     American Academy of Psychiatry and the Law, "Ask the Expert" and "The Difficult Case" Panel
                Discussions. Boston, MA, October 28,2001

     Habeas Institute, Guest Faculty Teaching for the Federal Defenders, US Department of Justice, New
            York, New York, June 14-17-2001.

     Annual Capital Defense Training Seminar, "The Importance of Timing in the Presentatin of Your
            Client's Story: Frontloading Mitigation" with John Blume, Attorney, Jekyll Island, Georgia,
            February 9, 2001

     University of Texas, Department of Psychiatry Grand Rounds "Profie of a Stalker" San Antonio,
            Texas, December 19,2000

     Willford Hall Medical Center, Lackland Air Force Base, Texas, "Death Penalty Evaluations,"
                December 18, 2000.

     Wilford Hall Medical Center, Lackland Air Force Base, Texas,"Texas Sexually Violent Predator
                 Statute," December 1 8, 2000

     American Academy of        Psychiatry and the Law, " Juveniles Who Carry Weapons on School Grounds"
                  Baltimore, Maryland, October 15, 1999

     American Academy of       Forensic Science, Workshop Presenter, San Francisco, 1998 "Classification
                 and Typology of Stalkers."

     Kansas City, Western Missouri Fcrensic Department, 1997 "Evaluation of Stalking."

     University of South Carolina School of             Medicine Women's Month Featured Presenter, 1997
                 "Stalkers: The South Carolina Experience."


     American Academy of                 Psychiatry and the Law, Denver, CO, 1997 "Psychotic ~rsus Nonpsychotic
                 Stalkers."
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    American Academy of               Psychiatry and the Law, Denver, CO, 1997 "Harassing Telephone Callers."

    Anierit:an Academy of     Psychiatry and the Law, Denver~ CO, 1997 Panel on M(lintaining Competence
                spunsored by Education Committee

    American Academy of               Psychiatry and the Law, Puerto Rico, 1996 "Violent Versus Nonviolent
                Stalkers" ,

    American Academy of               Psychiatry and the Law, Puerto Rico, 1996 "Capital Versus Noncapital
                Murderers"

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          Across the United States."

     William S. Hall Psychiatric Institute Forensic Forum, 1996 "Evaluation and Treatment of Sexual
                Offenders. "

     Georgia Regional Forensic Forum, 1996 "Evaluation and Treatment of Sexual Offeclers."

     American Academy of              Psychiatry and the Law, Seattle, Washington, 1995 "Stalkers: The South
                 Carolina Experience"

      South Carolina Psychiatric Association, Hilton Head Symposium, 1995 "What General Psychiatrists
            Need to Know About Forensic Psychiatiy."

     American Academy of              Psychiatry and the Law Annual Conference, San Antonio, Texas 1993
                 "Seroprevalence of       HI V Among Inpatient Pretrial Detainees"




      American Medical Association, North Carolina 1 990 "Tertiary Metastases Presenting As
           Panhypopituitarism"

     Present Research:

     Schwartz-Watts D. "Death Penalty"


     Schwartz-Watts D, Barth E, Morgan D. "Harassing Telephone Callers"

     Schwartz-Watts D, Morgan D. "Psychotic Versus Nonpsychotic Stalkers"

     Schwartz-Watts D, Morgan D. "Comparing Stalkers to the criminally Domestic Violent."

      Schwartz- Watts D, Bloom J, Sloan C. "Psychiatric and Legal Perspectives of Stalking."

     Present Grants:
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                                                                                   Curriculum Vitae
    Co-author w R. Gregg Dwyer et al Internet Predators

    Co-author w Alicia Hall, PhD, Harry Wright, MD Autistic Spectrum DislJders and Corrections (


    (Revised 12/1/1 0)




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                             Attachment 8
               Affidavit of Tremaine Wright
-,
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                                                          AFFIDAVIT OF TREMAINE WRIGHT


             STATE OF OKLAHOMA                                                      )
                                                                                    )                          ss.
             COUNTY OF TULSA                                                        )


                         I, Tremaine Wright, being of legal age and sound mind, do solemnly swear
                                                                                                                                               and state as
             follows:


             1. John Hanson's mom, Charlotte Ward, and my          mother, Marlyn Wright, were best frends.
                        John and I met through our mothers and we becáme really tight frends. We refer to each
                        other as cousin.

            2. WhenJohn got                      out of

                        We lived together on and off
                                                            prison in 1992, he stared living with me and m~QtJe¡ 18F&Îiic. '
                                                                   for about 7 years.
                                                                                                                                             ~
            3. John was a good roommate. He would give me my space. Some days John was cool and on
                        others he wouldn't talk and                 just kept to himself. John spent most of                         his time watching TV,
                        reading, and sleeping.

            4. John would get really down on himself                                    for being an ex-felon and having trouble keeping a
                       job.

            5. Even though I was 7 years younger than John, I would help him with job applications as well
                       as other day-to-day things. John just didn'thave the life skils to get by, because he had
                       spent so much time in                prison.

            6. John didn't talk about his family much, but he did tell me about some problems. John felt
                       like   his   mom and step-dad, Houston Ward, didn't
                                                                                                 kids. John
                                                                                                     treat     him as good as Houston's

                       would have to call and ask permission before he could go to his parents' house, but
                       Houston's kids could go over any time... This really hurt John and made him feel
                                                                                                                                                 left out.

            7. John moved to Oklahoma City for a little while and had a son, Marquelle, with Annette
                   Warror. Things didn't work out with Annette and John moved back to Tulsa and stayed
                  with me.




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       8.     John loved Marquelle and would talk about him all the time. John would get so excited on
              the few occasions that Marquellecame to visit. John would get really down every time
              Marquelle left.

       9.     John got really depressed. He would talk about suicide and how he felt no one cared about
              him. John slept a lot, sometimes for two days straight. I can remember him getting up, going
              to the bathroom, taking a shower, then going right back to sleep.

       10.    John would be sleeping and I would go to work and he would stil be in the same spot when
              I got home. I had to tap him to make sure he was stil alive. John would say he was just
              thinking.

       11.    John complained about his head hurting a lot, and would take Tylenol all the time.

       12.   John was always respectful when he stayed with me. I can remember John's brother Steve
             coming over sometimes. He would be acting like a thug in my house. John somehow got
             the message to Steve to act right or stop hanging around us. Steve didn't come over much
             after that.



       13.   Not long before John moved out in 1999, he told me his old cell-mate, Victor Miler, had
             gotten out of jaiL. I only met Victor one time, and I got a really bad feeling about him. I told
             John not to be bringing Victor around my house, and John respected my wishes, but
             continued seeing Victor.

      14.    John would go hang out with Victor and then I wouldn't see him for a couple of days.

      15.    About the time John             started hanging out with Victor, my girlfrend and I asked John to move
             out, because we were getting              marred and it just didn't work to have John living with us.

      16.    I found out later that John was living in a cr~ashad Bares' house. I felt awful
             about this. It must have been terrble for John who was such a clean person. When I found
             out, I would let John come over and take a shower or eat when my girlfrend wasn't around.


      17.    It is terrble that John got caught up in the murders. I feel         like I gave him some strctue and
             rules to live by when he was staying with ine. I don't think any of this would have ever
             happened to John ifhe had stayed living with me.




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   18. I would have testified at John's trial, but I was never asked by his attorneys.



   FURTHER AFFIANT SAYETH NOT.

                                                               ~~Tremaine Wright

                                                               í~ /
  Subscribed and sworn to before me this ~ day oj' Á/li/t' /1 be c                   ,2010.

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                                                   Attachinent9
               Socìal Hìstory-Risk Assessment
                                                                        Report
                                                by Dr. Jeanne Russell
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                             SOCIAL HISTORY - RISK ASSESSMENT

      NAME:                       Hanson, John (Jon) Fitzgerald
      DATE OF BIRTH:              4/8/64
      CASE NUMBER:                CF-994583
      DATE OF REPORT:             12/31/200$
      COUNTY:                     Tulsa
      QEFIEWdEAtFORNEY:           Jack Gordon, Jr.
      EXAMINER:                   Jeanne Russell, Ed.D.
                                  Licensed Psychologist #632

      REASON FOR REFERRAL: Mr. John Fitzgerald Hanson was tried by jury and
      convicted of Count 1, First Degree Malice Murder and sentenced to death. On June 11,
      2003 the Oklahoma Court of Criminal Appeals remanded this case for resentencing.
      Based on this opinion, Mr. Hanson was referred by his defense attorney, Jack Gordon,
      Jr., for completion of a social history and risk assessment. This report was requested to
      provide information to the court regarding the defendant's background and potential risk
      for violence while incarcerated.

      DESCWtPTlON OF RISK ASSESSMENT AND SOCIAL HISTORY: A risk assessment
      involves a systematic review of past aggressive behavior, looking specifically at the
      antecedents of the behavior, as well as the degree of harm and context in which the
      behavior occurred. In completing this assessment, it is important to note that mental
      health professionals tend to over predict aggression. Whether a person will behave
      aggressively is a function of a variety of factors that include history, and situational
      variables that cannot all be known in advance. Despite these limitations, it is possible to
      consider the available historical and situational data to identify potential risk.

      PROCEDURES:
      Interviews

        mfendant:
        July 16, 2004             Tulsa County Jail           2.0 hours
        August 13,2004            Tulsa County Jail           2.5 hours
        August 27,2004            Tulsa County Jail           2.5 hours
        September 2,2004          Tulea County Jail           3 hours
        September 17.2004         Tulsa County Jail           4.0 hours
        November I1,2004          Tulsa County Jail           2.0 hours
        November 20,2004          Tulsa County Jail           2.0 hours

        Defendant's mother and ste~father.Mrs. Charlotte Ward and Houston Ward Jr.:
        December17,2004        Office                     1 hour
        December 20,2004       mice                       1.5 hours

        Defendant's exgi-d        and mother of his son, Ms. Led& Wanior:
        December 20,2004          Telephone                 1.0 hour
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            Violence Risk Assessment for Capital Sentencing Report completed by Gilda
            Kessmr, Psy.D. on 5/16/01
            Presentence Investigation Report dated May 24,2000 completed by U.S.
            Probation Officer, Todd 6. Gollihare, Northern District of Oklahoma.
        *   Oklahoma Department of Corrections Records 1982 - 1982 (Summary of Records
            Reviewed)
               o Misconduct Reports
               o Parole Summaries
               o Certificates
                         GED-1.1122189
                         Award of Honor - Adult Perlormance Level Program 11/7/85
                         Competency Certificate - Masonry - 6115/90
               o OSBl 111011991
               o FBI 4/21/83
               o Pardon and Parole Investigation Reports
               o Chronological Records - Probation and ParoleIPre-Parole

      PsvcholoqicalAssessment

            Minnesota Muhiphasic Personality Inventory - second edition (MMPI-2) completed
            11120/04
        e   Weschler Abbreviated Scale of Intelligence (WASI)
            Hare Psychopathy Checklist - Revised PCL-R

      RELEVANT BACKGROUND INFORMATION:

      Overview: The information contained in this section is a compilation of official reports,
      interviews with the defendant and others noted above.

      Family History:

        Childhood: Mr. Hanson was born on April 8,1964 in Tulsa, OK to Elmer Hanson and
        Charlotte Ward (current name). He has one older brother and two younger sisters.
        His parents divorced in 1974 when he was approximately 10 years of age. Mr.
        Hanson remained with his mother as his father's truck driving profession required a
        great deal of travel.
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        Following their divorce, Mrs. Hanson married Houston Ward to whom she remains
        married at this time. Both Wards are retired and living in Tulsa. Mr. Ward states that
        he knew the defendant and his father for most of Jon's life. Both Mr. and Mrs. Ward
        describe Jon as doing well in school until he turned 16. His father became ill with
        cancer and died when Jon was 17. Both Wards and Jon recall this period as hard on
        Jon as he idolized his father and resented his mother for divorcing him and marrying
        Houston Ward.

        The Wards described Jon as being treated different from his older brother Stephen by
        both Jon's father and his paternal grandparents. They believe this had a significant
        impact on Jon's development as he loved and craved attention from his father.
        Although Ms.Ward stated she tried to make up the difference, this did little to relieve
        the emotional pain inflicted by the discrimination between the two boys.

        Father: Mr. Elmer Hanson worked as a professional truck driver prior to his death in
        1982. The defendant states he loved his father and believes things would have been
        different if his father had lived. Mr. Hanson believes he would not have been in
        trouble but grown into a responsible member of society.

        Mother; Mr. Hanson remembers his mother as stern and distant. He does not
        believe she cared about him as much as the other children. His mother on the other
        hand describes Jon as her favorite as she believes he "is most like her." Ms. Ward
        said she testified for Jon in the first trial but was so traumatized by the proceedings
        and cross-examination that she had a "nervous breakdown". She recalls being
        placed in a hospital for two weeks and remains on psychotropic medications at this
        time. Mr. and Mrs. Ward said her psychiatrist has advised her not to testify during the
        second trial due to the trauma associated with the first trial.

        Both of Mr. Hanson's parents and his stepfather have led productive lives. The
        Wards state they have maintained employment until retirement and deny any
        problems with the law. Mr. Ward remains protective of his wife, stating he tries to
        take care of her as she cannot handle the stress of the trial and possible outcomes.

        Adolescence: Mr. Hanson began getting in trouble as an adolescent. According to
        his mother he was reised on the north side of Tulsa and both he and his brother
        began running with the wrong crowd in high school. She moved to Broken Arrow in
        an effort to break up these associations but states both sons would return to the north
        side to see their friends. Mr. Hanson recalls being the only African American in many
        of his classes in the Broken Arrow schools and believes he was discriminated against
        based on his race.

      Substance Abuse History: Mr. Hanson reports that he tried Marijuana at the age of 16
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      and smoked it everyday or whenever he could get it for the next 23 years. He recalls
      trying alcohol but didn't realty like the taste or "effect"it had on him. He admits to trying
      other drugs at an early age but reports not liking any drug except Marijuana. He states
      he was arrested at the age of 18 for Possession of Controlled Drugs but that these
      belonged to his brother and there is no history of a conviction on this charge. He
      further reports one misconduct while serving time in the federal penitentiary for
      possession of drugs which he reports he was holding as a favor for another inmate. His
      parents report he did not use drugs while growing up but admit his brother Stephen
      developed a drug problem for which he is presently incarcerated

      Education: Mr. Hanson reports compbting the 1lth    grade and earning his GED in
      prison. Department of Corrections records verify that he completed his GED and
      earned a Masonry Certificate during his incarceration.

      Medical History No significant medical pmblems were reported.

      Relationships: Mr. Hanson has never been married and reports only one significant
      relationship in his life, with Ledocia Wamior, the mother of his son. Ms. Warrior has a
      Masters degree in Child Development and maintains contact with Mr. Hanson through
      occasional letters. Ms. Warrior reports that their son receives regular letters from Mr.
      Hanson (2 or 3 letters a month) and writes back to him at least once a month.

      Ms. Warrior was interviewed on 12l20104 and provided the following information. She
      reported she met Mr. Hanson in 1094 and they remained together until 1998 when Mr.
      Hanson returned to Tulsa to find work. Ms. Wamor stated several times that she didn't
      know the man that was in trouble as he never showed this side to her or her family.
      She describes him as a "wonderful, wonderful, father who adored their son." She
      recalls he nursed and took total care of both her and her son after he was born. "He
      cooked and cleaned, ironed all their clothes and held a job. He never took anything
      from me and was never violent. He didn't hang with people after work but always came
      home." Ms.Warrior further states "My family loved Jon. Even the nurses at the
      hospital where our son was born saw him as an ideal father - they wanted to use him
      for a model." Ms. Warrior's family credits him (as does her niece) with saving her
      niece's life by counseling and supporting her when she was suicidal. Other family
      members wrote affidavits in Jon's support following his first trial.
      Ms.Warrior stated Jon left in 1998 because he had been laid off his job and couldn't
      find work due to his record. Ms. Warrior initiated the break-up asking Jon to leave until
       he found work. She recalls he cried when they broke up as she was the only one he
      could talk to. She recalls he was very depressed at that time and returned to Tulsa.
       Ms.Warrior believes their relationship wouM have worked out if he could have
       remained employed, Ms. Warrior recalls everyone was laid off at the company where
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      he was working and she does not fault him for the loss of this job.

      Employment: Mr. Hanson has spent the majortty of his working life in prison. He
      reports prior to coming to Tulsa to wait resentencing, he had an inmate job in the
      federal prison. Mr. Hanson mports working at the age of 16 in a Pizza Hut for 2 or 3
      months. He describes numerous other short term jobs including Job Corps (6 months),
      Everidean Janitorial in 1090 (3 months), Franks Country Inn, 1992 (3 months), Sheridan
      Lanes Bowling Alley (3 months), Crest Discount Foods, 1996 (5 months), First Ice
      Company, 1906 (2.5 years), High Country Utilities, Red River, New Mexico through
      temporary services, Tulsa, OK, 1998 (4 months), Blue Bell, Coweta, OK, 1999 (4
      months). Mr. Hanson reports he was unable to find work in 1009 which he attributes to
      his prison record and eventually began lhng on the streets. He reports being on the
      streets for approximately 5 months, during which time he was unable to bathe
      regularly, sleep or eat on a routine basis. He describes feeling humiliated when asking
      agencies for help and betrayed when turned down. It was during this time perid that
      he ran into his codefendant, Mctor Miller, with whom he had previously served time.
      He states he began committing crimes with Victor which eventually resulted in his arrest
      and conviction on his current charges.

      Psychological:

      BEHAVIORAL OBSERVATIONS AND MENTAL STATUS: Mr. Hanson is a 40 year old
      African American male who stands 6'0" and weighs approximately 160 pounds. He
      appears his stated age, neatly groomed with good personal hygiene. Motor behavior is
      neither increased or decreased with normal mannerisms and posturing

      Speech is of low volume. He has difficulty staying on tasks with circumstantial speech.
       Mr. Hanson's content of thought focuses on global problems rather than those of
      immediate concern such as his case. He spends a good deal of time testing this
      examiner to ensure she understands his concerns and point of view in relation to the
      world. He is guarded and acknowledges he trusts no one, believing most people mean
      him harm or fail to understand the world as it really is.

      His mood is pessimistic with affect reactive to mood. Both recent and remote memory
      are intact. At the vety least he exhibits paranoid thoughts which impair his ability to trust
      anyone. He denies homicidal or suicidal ideation and there is no evidence of
      hallucinations. Judgment and insight are poor as evidenced by his unwillingness or
      difficulty in focusing on his defense in this case.
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      PROFILE VALIDIW

      Although Mr. Hanson agreed to take the MMPI-2, he frequently questioned the content
      of the items, analyzing what they really meant and expressing suspiciousness regarding
      what the author8 were trying to find out. He refused to accept these were standardized
      items and that the questions were not intended to trick him, Despite these reservations,
      Mr. Hanson completed the test and the clinical profile appears valid. The defendant's
      responses to the MMPI-2 validity items suggest that he cooperated with the evaluation
      enough to provide useful interpretive information. The resulting clinical profile is an
      adequate indication of his present personality functioning. However, it is important to
      remember that these results are only one source of personality assessment.

      SYMPTQWlSITH=PATTERNS

      Mr. Hanson's MMPI-2 profile indicates some confusion and personality deterioration.
      Content analysis indicates he is preoccupied with bizarre ideas and abstract thoughts.
      He tends to project blame onto others and appears to withdraw into fantasy in an
      attempt to deal with his distress. In an interview, he is likely to be circumstantial,
      tangential, and disorganized.

      In addition, the following description is suggested by the content of the defendant's item
      responses. He has endorsed a number of items suggesting that he is experiencing low
      morale and a depressed mood. He may feel somewhat estranged and alienated from
      people. He is suspicious of the actions of others, and he may tend to blame them for
      his negative frame of mind. He reports some antisocial beliefs and attitudes, admits to
      rule violations, and acknowledges antisocial behavior in the past. He views the worid as
      a threatening place, sees himself as having been unjustly blamed for others' problems,
      and feels that he is getting a raw deal out of life.

      He endarsed a number of extreme and bizarre thoughts, suggesting the presence of
      delusions andlor hallucinations. He apparently believes that he has special mystical
      powers or a special "mission" in life that others do not understand or accept.

      Interpersonal Relations: Disturbed relationships are characteristic of individuals with
      this profile type. The defendant feels socially inadequate, has very poor social skills,
      avoids close relationships, and views others as unfriendly or threatening. He is fearful
      and suspicious of other people. Many individuals with this profile type are unable to
      develop loving relationships and never trust anyone enough to marry.
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      The content of this defendant's MMPI-2 responses suggests the following additional
      information concerning his interpersonal relations. He appears to be an individual who
      has rather cynical views about life. Any efforts to initiate new behaviors may be colored
      by his negativism. He may view relationships with others as threatening and harmful.

      WASI: The WAS1 is an abbreviated reliable measure of intelligence consisting of four
      subtests which have a strong association with general cognitive abilities.

      Mr. Hanson's Verbal Intelligence Quotient (VIQ) is comprised of the vocabulary and
      similarities subtests. The Vocabulary subtest scare is a measure of an individual's
      verbal knowledge and fund of knowledge and is considered a good measure of
      crystallized abilrty. The Similarities score IS a measure of the individual's ability to see
      relationships between objects or concepts and to generalize the relationship into a
      single concept. It is a measure of verbal concept formation, abstract and verbal
      reasoning, and general intellectual ability. Mr. Hanson's score of 119 on the VIQ place
      him in the ~ 0 percentile
                       '         when compared to others taking this test.

      Mr. Hanson's Performance lntelli ence Quotient (PIQ) is comprised of the Block Design
                                        7
      and Matrix Reasoning subtests o the WASI. 'The Block Design performance taps
      abilities related to spatial visualization, spatial reasoning, and perceptual organization.
      Matrix Reasoning performance reflects the individual's ability to mentally manipulate
      abstract symbols and to perceive the relationship among them. It is a measure of
      nonverbal fluid reasoning and general intellectual ability Mr. Hanson's PIQ was
      substantially lower with a score of 95 and a percentile of 37.

      Using all four subtests, Mr. Hanson had a full scale 18 of 108 which places him at the
      7othpercentile when compared to others completing this test.

      -
      PCL-Rr  The PCL-R a rating scale for
                           is                    assessment of psychopathy in male and
                                                the
      female forensic populations. Using this scale,      with psychopathy are described
                                                      persons
      as grandiose, seR-centered and manipulative. When describing their emotions they
      are seen as shallow, lacking in empathy, guilt, or remorse. In terms of their behavior
      they may exhibit impulsivity and sensation seeking activities. Persons rarely have all
      traits associated with psychopathy and scores on this instrument are best understood
      by assessing where a p e r m falls along a continuum with scores ranging between 0
      and 40.

      Low scores on this measure are associated with reduced rates of aggression in the
      community where high scores are often associated with violent behavior. Intuitively,
      this makes sense. A person lacking in guilt and interested only in meeting their own
      needs does not feel badly when acting out toward others. The presence of impulsivity
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      and sensation seeking behavior places these individuals in high risk situations where
      they act in self-serving ways without thinking of the consequences. It should be noted
      that the items on the PCL-R are rated on an individuals' lifetime functioning and not
      solely on the basis of an individuals' present state. A total score of 40 is possible, with
      a cut-off of 30 recommended for assessing the presence of psychopathy.

      Mr. Hanson's overall score of '20 on the PCL-R falls at the 47th percentile rank with
      53% of male offenders scoring equal to or higher than the defendant. In summary Mr.
      Hanson has some traits associated with psychopathy but fails to meet the suggested
      cut-off score of 30 associated with a classification of this disorder.

      Court and Institutional History:

      Juvenile History There is no record of criminal history prior to the age of 16. According
      to official records, Mr. Hanson was first adjudicated In Need of Supervision by the Tulsa
      Juvenile Court on May 27, 1980. This was subsequent to his quitting school, taking his
      mother's car, and using his grandfather's credit card. On June 20, 1980, he received a
      Delinquent Petition for Breaking and Entering. On June 23, 1980, he was placed in the
      custody of the Oklahoma Department of Human Sewices (DHS) and on June 25,1980,
      he was placed by DHS in the Oklahoma Children's Center (OCC). On June 28, 1980
      he ran away and was listed as Absent Wrthout Leave (AWOL). He was caught but left
      on three other occasions before being placed in the Boley State School for Boys. On
      February 23, 1981, he was paroled and returned to his mother. On August 1I,1981,
      he was adjudicated delinquent after shoplifting merchandise from Safeway. On August
      21, 1981, Hanson was placed in the Helena State School for boys.

      Adult History: On 12/3/82 (Age 18) Mr. Hanson was arrested for Robbery in the First
      Degree (CRF-82-6248).On 2/7/83 he pled guilty and was sentenced to ten (10) years
      in the custody of the Oklahoma Department of Corrections to run concurrently with a
      second charge of Robbery in the First Degree and Assault with a Deadly Weapon with
      Intent Po Kill (CRF-82-6249) which occurred on 12/4/82. Mr. Hanson had two
      accomplices during each crime and involved Mr. Hanson snatching women's purses
      after knocking them down. Following the second offense, Mr. Hanson and the
      accomplices were pursued by a witness in a car and as the witness was closing in, Mr.
      Hanson was convicted of firing a round from a revolwer through the windshield of the
      pursuer's vehicle.

      On 7/3/90, Mr. Hanson was released from Mack Alford Correction Center and placed
      on Pm-Parole. On 10/8/90, he failed to keep a scheduled appointment with his parole
      officer and escape charges were filed. He was returned to prison where he served an
      additional two years. Mr. Hanson discharged to intensive supervision on 4/27/92. He
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     remained out sf trouble successfully discharging the reminder of his parde. On 3/7/86
     (Age 31), Mr. Hanson was charged with taking five packages of Q-Tips from Homeland
     Grocery Store in Tulsa.

     There is no record of additional arrests until September Q, 1999. According to a federal
     presentence investigation, he was charged with 17 counts on case number 99-CR-125-
     002-C including Conspiracy, Interference with Interstate Commerce and Aiding and
     Abetting, Possession of a Firearm During a Crime of Violence and Aiding and Abetting,
     Bank Robbery and Aiding and Abetting, and Possession of Firearm After Conviction of
     a Felony (1 count). The presentence officer in accordance with federal guidelines
     recommended 1284 months (107 yeam) to be served in the federal penitentiary on 12
     of the 17 Counts. Mr. Hanson reports he is currently serving three 25 year sentences
     plus 984 months. Based on the federal sentencing guidelines he is nut eligible for
     probation.

     Institutional Behavior: Records indicate Mr. Hanson was incarcerated in juvenile and
     adult facilities from the age of 16 to the age of 28 spending only brief periods in the
     c~mmunity.Each of these periods resulted in his getting in trouble again and being
     returned to incarceration. Mr. Hanson did significantly better in structured settings.
     Prison records showed numerous misconducts during his early 20's which declined
     significantly as he aged. He had two battery write-ups when he was 22 and 23 with
     numerous minor misconducts from age 19 through 23. These decreased significantly
     with age as is typically seen with male inmates.




     Below is a list of misconducts by date, age, and category.
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     SUMMARY:

     Mr. Hanson has undergone a number of interviews and psychological tests since being
     charged and convicted of the shooting death of Mary Bowles. Assessment instruments
     used have validity scales to assess the veracrty of his responses; the result of which
     have indicated he has responded to these tests in an honest manner. In other words,
     Mr. Hanson has not tried to fake responses to make his self look better or worse in
     order to make a more sympathetic defendant. This is important to note in order to
     determine the weight to give self-report items that could not be verified through other
     sources.

     Social Historv.
     Mr. Hanson's social history reflects a normal childhood prior to his parent's divorce
     when he was 10 and the death of his father from cancer when he was 17. The
     defendant's mother and stepfather (Houston and Charlotte Ward) along with Jon agree
     these events had a profound effect on Mr. Hanson's life. Mr. Hanson recalls feeling
     depressed and wanting to die for several years fallowing his father's death. The Wards
     believe he was mistreated emotionally by his father and his paternal grandmother as
     they believe his older brother was clearly favored.

     The Wards describe Mr. Hanson as intelligent but very sensitive, easily getting his
     feelings hurt. They also describe him as loyal to peers who paid attention to him past
     the point that they feel is warranted. Mr. Hanson and his mother recall him doing well in
     school. He states he liked school, especially art, but became disgruntled when he was
     for& to leave Central High School and attend school in Broken Arrow. He began
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     skipping school and eventually dropped out altogether. He was first arrested at the age
     of 16 and spent the majority of his next 16 years in juvenile and adult institutions.

     Mr. Hanson had one period of his life where he lived a pro-social life. He recalls
     meeting Ledocia Annette Warrior in January 1993. Ms. Warrior has a master's degree
     in child development and is a teacher. She has never married. During their time
     together, Mr. Hanson worked and established a close relationship with her family. She
     recalls his helping her niece to work through her depression when she was
     contemplating suicide. Ms. Warrior states Jon was newer violent and recalls he was a
     "wonderful, wonderful father." Ms. Warrior recalls feeling shocked as did her family
     when they read about Jon's arrest. During our interview she stated several times that
     she and her family newer knew the man that committed these robberies as i4 was so
     opposite the man they knew. The relationship developed problems when Mr. Hanson
     lost his job even though she does not fault him for the layoff. He returned to Tulsa to
     find work and eventually ended up living on the streets. After fnre months, he met up
     with Victor Miller and admits to committing a string of robberies.

     The couple have a son, Maquelle Hanson who Mr. Hanson describes as smart and
     maintains contact with through letters. Ms. Warrior feels it is important for her son to
     continue contact with his father if only through letters. She explained that it was only
     recently she tdd him about his father's charges at which time he cried and asked about
     the victim, Mary Bowles.

     Psvcholoqical Testingr Results; Mr. Hanson's overall intelligence is above average with
     significant strengths in verbal abilities. These results suggest he has the ability to use
     his intellectual reasoning to problem solve unless impaired by psychological problems.
     Psychological testing suggests he is experiencing low morale and a depressed mood. It
     further suggests he feels estranged and alienated from people and is suspicious of the
     actions of others. Mr. Hanson admits to some antisocial beliefs and attitudes, rule
     violations, and acknowledges antisocial behavior in the past. He views the world as a
     threatening place, sees himsetf as having been unjustly blamed for others' problems,
     and feels that he is getting a raw deal out of life. He endorsed a number of extreme
     and bizarre thoughts, suggesting the          nce of delusions andor hallucinations. He
     apparently believes that he has special mystical powers or a special "mission" in life
     that others do not understand or accept.

     It is important to note that Mr. Hanson has not been previously diagnosed with a mental
     illness nor does he believe he suffers from any such illness. This cannot be ruled out at
     this time and if present does not rise to the level of impairing his ability to appreciate the
     serious nature of his charge or to work with his attorney in mounting a defense. Mr.
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     Hanson's score on the PCL-R does not reach the level associated with psychopathy but
     is equivalent to scores attained by approximately 50% of incarcerated males.

     Risk Summaw Mr. Hanson's criminal history involves a number of robberies including
     firearms. He generally has a weapon (gun) and all crimes have been cornmit4ed with
     accomplices. Mr. Hanson's current federal sentence is equivalent to life and therefore
     risk assessment is limited to situational factors which occur in a prison setting.

     & Mr. Hanson is 40 years of age. Research indicates that the younger inmates tend
     to be more aggressive in a prison setting with higher rates of serious rule infractions.
     Significant declines in serious rule infractions occur as the inmate ages (30-40).This
     pattern is clearly present in Mr. Hanson's history of misconducts. He had one battery at
     the age of 22 and a fight with another inmate at age 23. He had two incidents of
     possessing weapons, one at age 20 and 22, however there is no record of his having
     used a weapon in prison. The following chart shows a decrease in misconducts as he
     ages.
                                    Mlsconducts by Age




                                                                               Mlsconducl
                                                                              lAge




     Nature of Misconducts: There has been no aggression toward juvenile or prison staff
     during his approximate 16 years of incarceration. The majority of his misconducts
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     include minor acts such as being late to school and problems at work. Mr. Hanson
     reports one misconduct for possession of drugs during his past five years in the federal
     penitentiary. He denies any misconducts during his stay in the Tulsa County Jail.

     Based on this pattern of prison conduct, Mr. Hanson presents as a low risk for future
     vioience in a prison setting. Unlike the community, a prison provides rules and
     structure which serves to contain Mr. Hanson's antisocial behavior. He has learned to
     exist in this environment as opposed to a community setting.

     Submitted bv.



                 Russell, Ed.D.
                  Psychologist # 632
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                             Attachment 10
                 Affidavitcof Janiie D. Pybas
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                                          AFFIDAVIT OF JAMIE D. PYBAS


   STATE OF OKLAHOMA                                                     )
                                                                         )                   SS.

   COUNTY OF CLEVELAND                                                   )



          I, Jamie D. Pybas,being oflegal age and.sound mind, do solemnly swear and state as
   follows:

    1. I am employed as an Attorney in the Homicide Direct Appeals Unit of the Oklahoma
          Indigent Defense System (aIDS). I represented John Hanson on direct appeal from
          both his original trial and re-sentencing, Oklahoma Court of Criminal Appeals Case
          Nos. D-2001-717 and D-2006-126, respectively.

    2. During the course of preparing the appeal in Hanson I, I considered retaining a
          neuropsychologist to examine Mr. Hanson.

    3. At the time, the procedure for retaining an expert at aIDS consisted of: (I) submitting
           a Request for Professional Services to our in-house Head of
                                                                                                   Psychological Services,
          Kathy LaForte, Ph.D.; (2) Ms. LaForte or an assistant would then conduct a
           "screening" to determine ifthe use of an expert was warranted; and (3) Ms. LaForte
           would either recommend approval or denial ofthe Request based on the results of
                                                                                          her
           screening.

    4. In my experience, a negative recommendation from Psychological Services generally
           results in an attorney dropping their Request for Professional Services. Ultimately,
           however, the Executive Director makes the final decision on whether to expend funds
           on professional services. If an attorney felt strongly enough about the need for an
           expert he or she could appeal a negative recommendation by Ms. LaForte to the
           Executive Director. I am unaware of any attorney at aIDS successfully disputing a
           negative recommendation from Ms. LaFortne.

    5. The process of retaining an expert has traditionally been one of the most frustrating
          parts of my job. In fact, during the tenure of the past Executive Director, I am aware
           of attorneys being termnated   from employment with aIDS due in part to disputes
           over the retention of professional experts.



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   6.         When preparing Hanson I, I contacted Kathy LaFortune about retaining a
              neuropsychologist. Prior to the 200 i trial, Ms. LaFortne had conducted a screening
              examination of Mr. Hanson. This screening consisted of a basic mental status exam,
              a Minnesota Multiphasic Personality Inventory (MMPI), and an abbreviated IQ test.
              Ms. LaFortne's   opinion was that a neuropsychologist should not be retained based                  .("
                                                                                                                 ',c"
                                                                                                                  -:~'
              upon her recollection of her screening.                                                            ;t



   7. Based upon my experiences and aIDS' policy for the retention of experts, I did not
              pursue the prospect of retaining a neuropsychologist after Ms. LaFortne advised me
              not to retain one.

   8. After pursuing the issue in Hanson I, I did not again request to retain a
              neuropsychologist in Hanson II after already being denied on one occasion.

   9. OIDS'should have retained a neuropsychologist in Mr. Hanson's case. I had no
              strategic reason for not doing so. In my approximately 20 years of experience
              handling capital cases, I have become familiar with mental health issues and their
              indicators in capital clients; the circumstances of
                                                                                          hiring
                                                                                   Mr. Hanson's case warranted


              a mental health professional with expertise in neuropsychology. I am aware that
              mental health issues have proven to be winnng issues in numerous capital cases and
              must be dilgently pursued.



   FURTHER AFFIANT SAYETH NOT.

                                                                        ~Pt0e-
                                                                        Ja. .jl

    Subscribed and sworn to before me this~D4day of ~~ 2010.
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                             Attachment 11
              Affidavit of Robert W. Jackson
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                                             AFFIDAVIT OF ROBERT W. JACKSON


       STATE OF OKLAHOMA                                                      )
                                                                              )                 ss.
      COUNTY OF CLEVELAND                                                     )


                  I, Robert W. Jackson, being oflegal age and sound                              mind, do solemnly swear and state
      as   follows:

                                                                                                   "
      I. I am an attorney employed by the Oklahoma Indigent Defense System. I was assigned
                  to represent         John Hanson in the fiing of                       his Application for Post Conviction Relief
                  in case no. PCD-2006-614.

      2. Whle preparing Mr. Hanson's application, I did not attempt to                                       retain a mental health
                 professional - psychologist, psychiatrist, neuropsychologist, or the like.

      3. By the time I began work on Mr. Hanson's case, it had already been through the
                 process of a trial, direct appeal, post-conviction, re-sentencing hearing, and second
                 direct appeaL.


      4. I didn't pursue any mental health investigation while preparing Mr. Hanson's case,
                 because I believed, and my thought process was, that previous defense teams had
                 already investigated those issues, including my colleagues at OIDS.

      5. Only              one expert, Dr. Jeanne Russell, was retained at the time of                          the re-sentencing
                 trial, she only covered one limited aspect, futue risk assessment. Mr. Hanson's
                 mental health issues were not appropriately or adequately covered while preparing his
                 Post Conviction case.

     6. I shouldhave attempted to retain a                                mental health professional to evaluate Mr. Hanson.
                 Had Ireceived mental health and/or cognitive impairment diagnoses, I would have
                 argued related claims in Mr. Hanson's Post Conviction Application.




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      7. I had no strategic reason for not attempting to retain a mental health professional or
            raising a related proposition in Mr. Hanson's Application for Post Conviction Relief.
            In fact mental health issues are something regularly dealt with during Post Conviction,
            and something I should have sought to investigate.


      FURTHER AFFIANT SAYETH NOT.


                                                R~n
      Subscribed and sworn to before me this /7+~ay of AtI¿:II8tl ,2010.




                                        ~~      NOTARYPUBL C
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                             Attachment 12
       Opinion Denying Post Conviction Relief,
         Hanson v. Oklahoma, PDC-2002-628
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                                                                                   FILED
                                                                         IN COURT OF CRlMlr.Al APPEALS
                                                                          STAT.E OF OI(LAHO~IA

           IN THE COURT OF CRIMINAL APPEALS OF THE STATE d~tbld&OÕMA
                                                                             MICHAEi S. RICHIE
                                                                                    C.LERK
         JOHN FITZGERALD HANSON,                          )
                                                          )
                       Appellant,                         )
               v.                                         )      Case No. PCD-02-628
                                                          )
         STATE OF OKLAHOMA,                               )
                                                          )
                      Appellee.                           )

                                                     ORDER


               John Fitzgerald Hanson was tred by jury and convicted of Count I, First

        Degree Malice Murder in violation of 21 0.S.1991, § 701.7(A), and Count II,
        First Degree Felony Murder in violation of 21 0.8.1991, § 701.7(B), in the
        Distrct Court of Tulsa County, Case No. CF-99-4583.1 As to Count I, the jur

        found three aggavating circumstances: (1) Hanson was previously convicted of

        a felony involving the use or threat of force; (2) there existed a probabilty that
        Hanson would pose a continuing threat to society, and (3) that Hanson
        knowingly created a great risk of death to more than one person. As to Count

        II, the jury found two aggavating circumstaces: (1) Hanson was previously
        convicted of a felony involving the use or threat of force; and (2) there existed a

        probabilty that Hanson would pose a continuing threat to society. In
        accordance with the jury's recommendation the Honorable Linda G. Morrssey
        sentenced Hanson to death (Count I) and life without the possibilty of parole



       1 Hanson was charged in the altemative with malice or felony murder in both counts. The jury
       acquitted him of malice murder on Count II.


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            (Count II). On appeal, this Court remanded the case for a Resentencing

            hearing on Count 1.2

                        On June 9, 2003, Hanson fied an Application for Post-Conviction Relief

            and a Motion for Evidentiary Hearng. Hansen's Application is mooted by
                                                                                                              our
            disposition of his direct appeal and is DISMISSED. Hanson may re-fie his
            Application for Post-Conviction Relief, along with any appropriate

            accompanying motions, after the resentencing hearing is concluded. At that
           time Hanson may raise all post-conviction issues allowed under the Post-
           Conviction Procedure Act,3 including issues resulting from the gult-innocence,

           or conviction, phase of trial as well as those raised in the resentencing hearng.

                      IT is SO ORDERED.
                      WITNESS OUR HADS AND THE SEA OF THIS ~OURT this r~day

           of-S~e.                                        ,2003.


                                                                     ~
                                                                   CHAES A. JOHNSON, Presiding Judge

                                                                   ~L~
                                                                   ST LIL i Judge
                                                                                                         r-

                                                                                     LUMPKIN, Judge

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          2 Hanson u. State, 2003 OK CR 12, _ P.3d _'
          3 22 0.8.2002, § 1089.


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                            Attachment 13
      Opinion Denying Post Conviction Relief,
        Hanson v. Oklahoma, PCD-2006-614
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      IN THE COURT OF CRIMINAL APPEAL FOR THE STATE OF OKLAHOMA

     JOHN FITZGERALD HANSON,

                          Petitioner,                                                    NOT FOR PUBLICATION

                   -vs-                                                                  No. PCD-2006-614
                                                                                                                                    FILED
      STATE OF OKLAHOMA,                                                                             IN COURT OF CRIMINAL APPEALS
                                                                                                           STATE OF OKLAHOMA
                          Respondent.                                                                                    JUN .. 2' 2009

                           OPINION DENYNG APPLICATION FOR                                                         MICHAEL S. RIQHli
                                       POST.                  CONVCTION RELIEF QL.I"K'
      A. JOHNSON, VICE.PREIDING JUDGE:
             Before the Court is Petitioner John Fitzgerald Hanson's original

       application for post conviction relief. Hanson and his co-defendant Victor

       Miler were originally charged in the District Court of Tulsa County, Case No.

       CF-99-4583, with two counts of first degree murder for the deaths of Mary

       Bowles (Count 1) and Jerald Thurman (Count 2).1 Their cases were severed
       for trial and a jury convicted Hanson of First Degree Malice Aforethought

       Murder for Bowles's death in violation of 21 O.S.Supp.1998, § 70L.7(A)

       (Count 1), and First Degree Felony Murder for Thurman's death in violation of
       21 O.S.Supp. 1998, § 701. 7(B) (Count 2). The jury sentenced Hanson to death

       for Bowles's murder in Count 1 and fixed punishment of life imprisonment

       without the possibilty of parole for Thurman's murder in Count 2. Judgment
       and Sentence were imposed by the district court in accordance with the jury's


      1 Hanson and Miler were charged in the alternative with malice afotethought murder and
      felony murder in both counts.
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    verdict and Hanson appealed. We affrmed both Hanson's conviction and

    sentence for Thurman's murder. We affrmed his conviction for Bowles's

    murder, but vacated his death sentence and remanded the matter for a new
    sentencing proceedin'g in Hanson v. State, 2003 OK CR 12, 72 P.3d 40. At
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    Hanson's resentencing jury trial, before the Honorable Caroline E. Wall, a
    jury again sentenced him to death for Bowles's murder. We affrmed

    Hanson's death sentence in Hanson v. State, 2009 OK CR 13, _P.3d_.

         Hanson raises three propositions of error in his application for post-

   conviction relief. None of these claims have merit. Under the Capital Post-
   Conviction Procedure Act, the only claims that may be raised are those that


   "(w)ere not and could not have been raised in a direct appeal" and that also

   "(s)upport a conclusion either that the outcome of the trial would have been
   different but for the errors or that the defendant is factually innocent." 22
   O.S.Supp.2006, § 1089(C)(I) and (2). "This Court wil not consider issues

   which were raised on direct appeal and are barred by res judicata, or tssues
   which have been waived because they could have been, but were not, raised on
   direct appeaL." Cummings v. State, 1998 OK CR 60, , 2, 970 P.2d 188, 190.

   The burden is on the applicant to show that his claim is not procedurally

   barred. See 22 O.S.Supp.2006, § 1089(C).

                                      1.

         In Proposition I, Hanson claims, as he did on direct appeal, that this

   Court erred in granting the State a writ of prohibition reversing the district


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          court's decision overturning his conviction for the death of Mary Bowles and

         granting him a new trial based on newly discovered evidence.

                       Five days before Hanson's resentencing trial was scheduled to begin, he

         learned that his co-defendant, Victor Miler, had made a statement to another
         inmate taking responsibilty for the murder of a woman.2 He fied an
         application for post-conviction relief in the district court based on this newly

         discovered evidence. The district court granted Hanson's application for post-

         conviction'       relief and ordered a new trial on Hanson's malice aforethought

         murder conviction for Bowles's death. The district court stayed the
         proceedings for the State to appeal its ruling. The State appealed the district
        court's ruling in two separate forms: 1) it fied an Emergency Application to

        Assume Original Jurisdiction and Petition for Writ of Prohibition or in the
        alternative a Writ of Mandamus (Case No. PR-2005-350); and 2) it fied an
        appeal from the district court's ruling on Hanson's post-conviction application


        (Case No. PCD-2005-351). We treated the latter pleading as a motion for
        extraordinary writ and consolidated the appeals for review. Hanson v. State,
        Case No. PR-2005-350 (April 26, 2005). We granted the writ and held that the

        district court did not have jurisdiction to adjudicate Hanson's post-conviction

        application         because only this Court has the power to consider post-conviction



        2 The inmate to whom Miler allegedly confessed told a Tulsa police detective that Miler said he
        was committng robberies with the friend he was arrested with at a hotel and that he (Miler)
        kiled the "bitch." Miler appeared to be referring to a woman he and Hanson robbed, the
        implication being it was Bowles.


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       applications in a capital case.                         The district court's order granting Hanson a new

       trial was vacated and held void and the matter was remanded to the district
       court to conduct the resentencing trial ordered by this Court in Hanson, 2003
       OK CR 12, 72 P.3d at 55.

                   The issue of whether or not the district court had jurisdiction to
       adjudicate Hanson's application for post-conviction relief prior to his
       resentencing trial was decided in Hanson v. State, Case No. PR-2005-350 (April

       26, 2005).                  On direct appeal we declined to review our ruling in that
       extraordinary writ appeal, noting our cases holding this Court wil not review a

       claim or issue previously decided in an extraordinary writ appeal because of
       the doctrine of collateral estoppel. See, e.g., Brown v. State, 1998 OK CR 77, ir

       10,989 P.2d 913,921; Wilson v. State, 1998 OK CR 73, , 11,983 P.2d 448,

       456.        We acknowledged, however, that the "law of the case" doctrine, barring
       relitigation of the same issue in successive appeals in the same case, was the
       more appropriate doctrine and                           applied it in upholding our prior ruling resolving

       the issue.3 Likewise because of the settled law-of-the-case doctrine, we wil


       3 The "law of the case" doctrine prevents relitigation of the same issues within successive stages
       of the same suit. In Dean v. Multple Injury Trst Fund, the Oklahoma Supreme Court stated:
                  The settled-Iaw-of-the-case doctrine bars relitigation of issues settled by an
                  appellate opinion. This doctrine is a rule of judicial economy designed to prevent
                  an appellate court from twice having to decide the same issue. Whether the issue
                  was wrongfully or rightfully decided is not to be determined; once settled on
                  appeal, the appellate court wil not review               the issue on the. second appeaL.


                  This doctrine does have an exception: it is not applied if the prior decision is
                  palpably erroneous and this Court is convinced that failure to reverse it wil
                  result in a gross or manifest injustice.
      2006 OK 78, 1M 6 and 7, 145 P.3d 1097, 1100 (citations omitted).


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   not revisit our previous decision here. The issue was fully considered in the

   extraordinary writ appeal and we are not convinced that our decision there,
   finding the district court to be without jurisdiction to decide Hanson's post-
   conviction application, was clearly erroneous or wil result in gross or manifest


   injustice.

             We must now consider on the merits whether Hanson is entitled to a new

   trial based on newly discovered evidence that Miler told another inmate that
   he kiled a woman.4 We review this claim de novo without deference to the

   district court's ruling' because the district court was without jurisdiction to
   adjudicate the issue and its decision has been held void.


             To determine if a defendant is entitled to a new trial on the basis of newly

   discovered evidence, we consider: (1) whether the evidence is material; (2)
   whether the evidence could have been discovered before trial with reasonable
                                    ,

   dilgence; (3) whether the evidence is cumulative; and (4) whether the evidence
   creates a reasonable probability that, had it been introduced at trial, it would
   have changed the outcome. Ells v. State, 1992 OK CR 45, 1f 50, 867 P.2d 1289,

   1303. Miler's statement was not presented during Hanson's original trial and
   'the parties agreed it was not discoverable through reasonable dilgence before
                                                                                           -
   defense counsel raised the issue days before Hanson's resentencing trial was to

   begin. (M.Tr.03/02/05 at 12)


   4 We found in Hanson's direct appeal that his claim that newly discovered evidence required a
   new trial was the proper subject of a post-conviction appeaL. Hanson, 2009 OK CR 13,
   _P.3d_
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        .... ...                 .... ...              '-'" ...                  '. .
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          Our decision here is limited to whether the statement is material an.d, if

   so, whether there is a reasonable probabilty that had the staternent been

   admitted the outcome of ~Hanson's original trial would have been different.

          Hanson contends that under Oklahoma law, a defendant in a malice

   murder case must be shown beyond a reasonable doubt to have either kiled

   the victim or personally intended the death of the victim and aided and abetted
   with full knowledge of the intent of the perpetrator. See Johnson v. State, 1996
   OK CR 36, 1f 20, 928 P.2d 309, 315. Hanson argues that, based on Miler's

   statement, a jury could find first that he was not the triggerman who shot
   Bowles, and second that he did not share Miler's intent to kil. Thus, he

   concludes a jury, with Miler's statement before it, could find him not guilty of
   malice aforethought murder for the death of Mary Bowles. We disagree.

         We recently overruled the language in Johnson v. State, supra, requiring

   proof that one who aids and abets a murder must personally intend the death

   of the victim and aid and abet with full knowledge of the intent of the
   perpetrator to be guilty of malice aforethought murder. See Williams v. State,

   2008 OK CR 19, , 85 n. 18, 188 P.3d 208, 225 n. 18. To prove that a
   defendant aided and betted an intentional murder, and so is guilty as a
   principal, the State need prove only that the defendant procured the crime to
   be done or aided, assisted, abetted, advised or encouraged the commission of

   the crime. ¡d. at 1f 87, 188 P.2d 226.




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           Evidence at trial showed that Hanson and Miler kidnapped Bowles, stole

   her car, restrained her in the back seat, and drove her to an Owasso dirt pit in

   an isolated area. When Jerald Thurman, the dirt pit owner, happened to see
   them circling through the dirt pit, Miler used the gun he routinely carried to
    shoot him, eliminatinE him as a witness. The pair then drove a short distance

    away. According to Rashad Barnes, the person to whom Hanson confessed,
    Miler told Hanson he knew what he had to do and in response Hanson shot
    Bowles. A finding that Hanson intentionally shot and kiled Bowles is well
    supported by the evidence.

           The State argues that Miler's jailhouse confession to a fellow inmate is

   inherently unreliable and is inadmissible. For our purpose here, however, we

   wil assume the fellow inmate's account of Miler's confession that he shot "a

   woman" was admissible to show that Miler, not Hanson, was the trigger man
   in the murder of Mary Bowles, and with that assumption consider whether

   there is a reasonable probability that the admission of the confession, through

    the testimony of a fellow inmate would have changed the outcome of the first
    stage of triaL.

           The evidence showed Mary Bowles was shot and kiled with Hanson's
                                   i

                                       -

   gun, one that he had routinely carried and used during the time he and Miler
                                                              i

   were partners in the commission of multiple crimes. That evidence supports

   the conclusion that even if Hanson had not actually pulled the trigger, he had
   given Miler his gun to use, knowing Miler would kil Bowles, as he had kiled


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      the dirt pit owner moments before. Such evidence would support a finding that
      Hanson assisted Miler in committing murder with malice aforethought, and
      that he did so with the intention of causing the death, and, further aided and
      abetted Miler fully aware of his intention. The evidence satisfies both the
      Johnson and Wiliams test of necessary evidence of aiding and abetting for First

      Degree Malice Aforethought murder and we are convinced that no reasonable

      jury would find Hanson guilty of anything other than First Degree Malice

      Aforethought murder for the death of Mary Bowles. And we find no reasonable
      probability that, had Miler's statement been introduced in the first stage of
      Hanson's trial, the outcome would have been any different.

            We now consider the impact of Miler's statement on punishment. The
      statement was admitted at Hanson's resentencing trial through the testimony

      of Detective Nance. Hanson was consequently allowed to argue that he was not

      the triggerman as a mitigating circumstance.       The district court submitted

      OUJI -CR2d 4-71 that provides:

            In determining whether a person found guilty of murder in the first
            degree shall be punished by death, imprisonment for life without
            the possibility of parole, or imprisonment for life with the
            possibility of parole, you are required to give individualized
            consideration to the defendant's degree of participation and focus
            on the defendant's individual culpabilty in the kiling.


            You are further instructed that you may not impose the death
            penalty unless you determine beyond a reasonable doubt that the
            defendant either: 1) kiled a person, 2) attempted to kil a person,
            3) intended a killng to take place, 4) intended the use of deadly
            force, or 5) was a major participant in the felony committed and
            was recklessly indifferent to human life.


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               Hanson's resentencing jury was properly instructed and in fact was

         allowed to consider the newly discovered evidence in deciding punishment. For

         these reasons, Hanson's claim that he is entitled to a new trial based on newly
         discovered evidence is denied.

                                                2.

               In Proposition II, Hanson argues trial and appellate counsel were

         ineffective. He maintains his attorneys should have challenged the aggravating
         circumstance that he murdered Bowles to avoid a lawful arrest or prosecution

         on the basis that his jury was not required to unanimously agree on the

         particular predicate crime which led him to kil Bowles to avoid arrest. Prior to
         Hanson's original trial, the State fied a Notice. of Evidence in Support of

         Aggravating Circumstances, detailing the evidence it believed supported the

         alleged aggravating circumstances. (O.R. 340) That notice included evidence

         supporting the aggravating circumstance that Bowles and Thurman were
         murdered so that Hanson and Miler could avoid a lawful arrest or prosecution.

         At Hanson's resentencing trial, the State argued that Hanson murdered Bowles

         to avoid a lawful arrest or prosecution for his involvement in the murder of the

         dirt pit owner only. Therefore, contrary to Hanson's claim, the State did not
         rely on more than one predicate crime to support this aggravating

         circumstance. For this reason, he can show that neither trial nor appellate
         counsel were ineffective for failing to challenge the aggravator on this basis.

         This claim is denied.

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                                                                    (3.



               Hanson claims in his final proposition that the accumulation of error on
                \



    appeal and in post-conviction requires relief. "No authority allows this Court to

    consider, on post-conviction, errors raised on direct appeal which were not also

    raised as error in the post-conviction claim." aarrs v. State, 2007 OK CR 32, ,
    20, 167 P.3d 438, 445. We have determined that Hanson is not entitled to a
                      i

    new trial on the basis of newly discovered evidence. We have further found

    that neither trial nor appellate counsel were ineffective. There is no cumulative
    error to consider.

                                                                   DECISION

                Hs.ving reviewed Hanson's application for post-conviction relief, we
    conclude: (1) there exist no controverted, previously unresolved factual issues
    material to the legality of Hanson's confinement; (2) Hanson's grounds for
    review have no merit or are barred from review; and (3) the Capital Post-
    Conviction Procedure Act warrants no relief in this case. Accordingly,

    Hanson's Application for Post-Conviction Relief is DENIED. Pursuant to Rule

    3.15, Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.18, App.

    (2009), the MANDATE iscRDERED' issued upon the delivery arid
                                                                               filing oflhis..

    decision.




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    ATTORNEYS FOR PETITIONER:                      ATTORNEYS FOR THE STATE:

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    NORMAN, OK 73070




    OPINION BY: A. JOHNSON, V.P.J.
    C. JOHNSON, P.J.: Concur
    LUMPKIN, J.: Concur
    CHAPEL, J.: Concur in Result
    LEWIS, J.: Concur

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